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                       EXHIBIT A
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Transcript of Craige Roberts, Ph.D.
                            Date: December 7, 2021
         Case: Sandmann, et al. -v- NBCUniversal Media, LLC, et al.




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1                UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF KENTUCKY
2               NORTHERN DIVISION AT COVINGTON
3
4    -------------------------------X
5    NICHOLAS SANDMANN, by and       :
     Through his parents and natural
6    Guardians, TED SANDMANN and     :
     JULIE SANDMANN,
7                      Plaintiff,    : Case No.
                  V                    19-CV-00056-WOB-CJS
8    NBCUNIVERSAL MEDIA, LLC,        :
                       Defendant.
9                                    :
10   ------------------------------ X
11   NICHOLAS SANDMANN, by and       :
     Through his parents and natural
12   Guardians, TED SANDMANN and     :
     JULIE SANDMANN,
13                    Plaintiff,     : Case No.
                   V                   20-CV-00023-WOB-CJS
14                                   :
     THE NEW YORK TIMES COMPANY
15   D/B/A THE NEW YORK TIMES,       :
                      Defendant.
16
     -----------------------------        X
17
     NICHOLAS SANDMANN, by and       :
18   Through his parents and natural
     Guardians, TED SANDMANN and     :
19   JULIE SANDMANN,
                        Plaintiff, : Case No.
20                 V                   20-CV-00024-WOB-CJS
                                     :
21   CBS NEWS, INC., et al.,
                        Defendants. :
22
     ------------------------------ X
23   Job No.: 416134
24   Pages 1 - 224
25   Reported by:     Lisa M Barrett
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                         Transcript of Craige Roberts, Ph.D.
                          Conducted on December 7, 2021                  2

1    (continued caption)
2    ------------------------------- X
3    NICHOLAS SANDMANN, by and       :
     through his parents and natural
4    Guardians, TED SANDMANN and     :
     JULIE SANDMANN,
5                      Plaintiff,    : Case No.
                         V             2:20-CV-00025-WOB-CJS
6                                    :
     ABC NEWS, INC., et al.,
7                      Defendants.   :
8    ------------------------------- X
9    NICHOLAS SANDMANN, by and       :
     Through his parents and natural
10   Guardians, TED SANDMANN and     :
     JULIE SANDMANN,
11                     Plaintiff,    : Case No.
               V                       2:20-CV-00026-WOB-CJS
12
     GANNETT CO.,INC. AND GANNETT            :
13   SATELLITE INFORMATION NETWORK,
     LLC,
14                      Defendants.          :
15   ------------------------------- X
16   NICHOLAS SANDMANN, by and       :
     Through his parents and natural
17   Guardians, TED SANDMANN and     :
     JULIE SANDMANN,
18                     Plaintiff     : Case No.
               V                       2:20-CV-00027-WOB-CJS
19                                   :
     ROLLING STONE, LLC, et al.,
20                     Defendants.   :
21   ------------------------------- X
22             Deposition of CRAIGE ROBERTS, Ph.D.
23             Conducted in-person and virtually
24         Tuesday, December 7, 2021 at 9:30 a.m.
25

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                         Transcript of Craige Roberts, Ph.D.
                          Conducted on December 7, 2021                  3

1                 Deposition of CRAIGE ROBERTS, Ph.D.,
2    conducted in-person and virtually,
3
4
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21
22                Pursuant to Notice, before Lisa M
23   Barrett, Notary Public for the State of
24   Maryland.
25


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                         Transcript of Craige Roberts, Ph.D.
                          Conducted on December 7, 2021                  4

1                    A P P E A R A N C E S:
2    Tuesday, December 7, 2021:
3    ON BEHALF OF THE PLAINTIFF:
4                TODD V. McMURTRY, ESQUIRE
5                WILL HUBER, ESQUIRE
6                HEMMER DEFRANK WESSELS, PLLA
7                250 Grandview Drive, Suite 500
8                Ft. Mitchell, Kentucky 41017
9                859.344.1188
10   ON BEHALF OF THE DEFENDANTS ABC NEWS, INC.,
     ABC NEWS INTERACTIVE, INC. AND THE WALT DISNEY
11   COMPANY:
12               MEENAKSHI KRISHNAN, ESQUIRE
13               DAVIS WRIGHT TREMAINE, LLP
14               1301 K Street, Northwest,
15               Suite 500 Washington, DC 20005
16               202.973.4499
17   ON BEHALF OF THE DEFENDANTS CBS NEWS, INC.,
     VIACOMCBS, INC., AND CBS INTERACTIVE, INC.:
18
19               JESSICA LAURIN MEEK, ESQUIRE
20               DENTONS BINGHAM GREENBAUM, LLP
21               10 West Market Street, Suite 2700
22               Indianapolis, Indiana 46204
23               317.635.8900
24
25             A P P E A R A N C E S (Continued)


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                         Transcript of Craige Roberts, Ph.D.
                          Conducted on December 7, 2021                  5

1    ON BEHALF OF THE DEFENDANTS CBS NEWS, INC.,
     VIACOMCBS, INC., AND CBS INTERACTIVE, INC.:
2
3                NATALIE J. SPEARS, ESQUIRE
4                DENTONS US, LLP
5                233 South Wacker Drive Suite 5900
6                Chicago, Illinois 60606
7                312.876.8000
8
9    ON BEHALF OF THE DEFENDANT ROLLING STONE, LLC
     AND PENSKE MEDIA CORPORATION:
10
11                KEVIN T. SHOOK, ESQUIRE
12                RYAN GOELLNER, ESQUIRE
13                FROST BROWN TODD, LLC
14                10 West Broad Street
15                Columbus, Ohio 43215
16                615.565.1222
17
     ON BEHALF OF THE DEFENDANTS GANNETT CO., INC.
18   AND GANNETT SATELLITE INFORMATION NETWORK, LLC:
19               MICHAEL P. ABATE, ESQUIRE
20               KAPLAN JOHNSON
21               ABATE & BIRD, LLP
22               710 West Main Street 4th Floor
23               Louisville, Kentucky 40202
24               502.540.8280
25            A P P E A R A N C E S:        (Continued)


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                         Transcript of Craige Roberts, Ph.D.
                          Conducted on December 7, 2021                  6

1    ON BEHALF OF THE DEFENDANTS GANNETT CO., INC.
     AND GANNETT SATELLITE INFORMATION NETWORK, LLC:
2
3                 MICHAEL J. GRYGIEL, ESQUIRE
4                 GREENBERG TRAURIG, LLP
5                 54 State Street 6th Floor Albany,
6                 New York 12207
7                 518.689.1400
8    ON BEHALF OF THE DEFENDANTS NBCUNIVERSAL MEDIA, LLC
     AND THE NEW YORK TIMES COMPANY D/B/A
9    THE NEW YORK TIMES:
10               DARREN W. FORD, ESQUIRE
11               GRAYDON HEAD & RITCHEY, LLP
12               2400 Chamber Center Drive, Suite 300
13               Ft. Mitchell, Kentucky 41017
14               859.578.3071
15
16   Also present:     David Hernandez, Videographer,
17                    Socrates Matthews, Planet Depos AV Technician
18
19
20
21
22
23
24
25


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                         Transcript of Craige Roberts, Ph.D.
                          Conducted on December 7, 2021                  7

1                        C O N T E N T S
2
3    EXAMINATION OF CRAIGE ROBERTS, Ph.D.                      PAGE
4    By MS. SPEARS:                                             12
5                        E X H I B I T S
6
7    EXHIBIT                 DESCRIPTION                       PAGE
8
9    Exhibit A       Expert Report of Craige                    47
                     Roberts, Ph.D
10
11   Exhibit B       Document entitled: Craig                   223
                     Roberts, Sandmann
12                   deposition notes, December
                     7, 2021
13
14
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                         Transcript of Craige Roberts, Ph.D.
                          Conducted on December 7, 2021                  8

1     --- Commencing at 9:59 a.m.
2                  REMOTE TECHNICIAN:       Thank you to                      09:59:03
3     everyone for attending this proceeding remotely                         09:59:28
4     which we anticipate will run smoothly.                                  09:59:30
5                  Please remember to speak slowly and do                     09:59:32
6     your best not to talk over one another.                                 09:59:34
7                  Please be aware that we are recording                      09:59:36
8     this proceeding for back up purposes.            Any                    09:59:38
9     off-the-record discussions should be had away from                      09:59:40
10    the computer.                                                           09:59:42
11                 Please remember to mute your mic for                       09:59:43
12    those conversations.       Please have your video                       09:59:45
13    enabled to help the reporter identify who is                            09:59:46
14    speaking.                                                               09:59:48
15                 If you are unable to connect with video                    09:59:49
16    and are connecting via phone, please identify                           09:59:51
17    yourself each time before speaking.           I apologize               09:59:54
18    in advance for any technical-related                                    09:59:56
19    interruptions.     Thank you.                                           09:59:59
20                 THE VIDEOGRAPHER:      Here begins number 1                10:00:01
21    for the videotape deposition of Craige Roberts in                       10:00:03
22    the matter of --                                                        10:00:08
23                 MS. SPEARS:     I'll read the matters                      10:00:11
24    listed here.     This is the video-recorded                             10:00:12
25    deposition of Nicholas Sandmann in the matter of                        10:00:14


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                         Transcript of Craige Roberts, Ph.D.
                          Conducted on December 7, 2021                  9

1     Nicholas Sandmann et al. versus NBCUniversal Media                      10:00:20
2     LLC.   Case number 19-CV-00056-WOB-CJS.                                 10:00:20
3                  In the case of Nicholas Sandmann versus                    10:00:26
4     the New York Times.      Case Number                                    10:00:30
5     20-CV-00023-WOB-CJS.       In the matter of Nicholas                    10:00:30
6     Sandmann versus CBS News, Inc., et al.            Case                  10:00:36
7     Number 20-CV-00024-WOB-CJS.                                             10:00:36
8                  In the matter of Nicholas Sandmann                         10:00:57
9     versus Nicholas Sandmann, et al. versus ABC News,                       10:01:01
10    Incorporated, et al., Case Number                                       10:01:01
11    2:20-CV-00025-WOB-CJ.                                                   10:01:01
12                 In the matter of Nicholas Sandmann                         10:01:01
13    versus Rolling Stone, LLC, et al.          Case Number                  10:01:01
14    2:20-CV-00027-WOB-CJS.                                                  10:01:01
15                 THE VIDEOGRAPHER:      Today's date it's                   10:01:12
16    December 7th --                                                         10:01:12
17                      -- (overspeaking) --                                  10:01:14
18                 MS. SPEARS:     One more.     Sorry, it's not              10:01:16
19    on the caption here.       But in the matter of                         10:01:16
20    Nicholas Sandmann versus Gannett Company Inc., et                       10:01:18
21    al. and that's case number 20-CV-00026-WOB-CJS.                         10:01:22
22                 THE VIDEOGRAPHER:      Today's date is                     10:01:32
23    December 7th, 2021 and the time is 10:01 a.m.                           10:01:33
24                 The videographer today is David                            10:01:37
25    Hernandez representing Planet Depos.                                    10:01:37


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                         Transcript of Craige Roberts, Ph.D.
                          Conducted on December 7, 2021                  10

1                   This video deposition is taking place                     10:01:42
2     at Dentons US LLP at 1221 Avenue of the Americas,                       10:01:45
3     New York.                                                               10:01:50
4                   Will counsel please identify themself                     10:01:51
5     and state whom they represent.                                          10:01:52
6                   MR. FORD:     Good morning, this is Darren                10:01:57
7     Ford.    I'm sorry, go ahead, Natalie.                                  10:01:58
8                   MS. SPEARS:     Go ahead, Darren.                         10:02:02
9                   MR. FORD:     Oh, this is Darren Ford                     10:02:04
10    representing New York Times Company and                                 10:02:05
11    NCBUniversal Media LLC.                                                 10:02:08
12                  MR. HUBER:     Will Huber for the                         10:02:12
13    plaintiff, Nicholas Sandmann.                                           10:02:14
14                  MR. SHOOK:     Good morning, this is Kevin                10:02:16
15    Shook.     I'm with Frost Brown Todd, LLC.                              10:02:19
16                  With me today Ryan Goellner also with                     10:02:22
17    Frost Brown Todd LLC.        We represent Rolling Stone.                10:02:23
18                  MS. KRISHNAN:     Good morning.      Meenakshi            10:02:29
19    Krishnan representing ABC.                                              10:02:31
20                  MR. ABATE:     Michael Abate with Kaplan,                 10:02:36
21    Johnson Abate and Bird, co-counsel for Gannett Co.                      10:02:38
22    Inc. and Gannett Satellite Information Network on                       10:02:40
23    behalf of USA Today.                                                    10:02:44
24                  This is Michael Grygiel, Greenberg                        10:02:46
25    Traurig.     Co-counsel with Mr. Abate for the                          10:02:47


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                           Transcript of Craige Roberts, Ph.D.
                            Conducted on December 7, 2021                11

1     Gannett Company and Gannett Satellite Information                       10:02:47
2     Network as the publisher of USA Today.                                  10:02:47
3                  MR. SIEGEL:      And Nathan Siegel also                    10:02:56
4     representing ABC.                                                       10:02:56
5                  MR. McMURTRY:       Todd McMurtry, here for                10:02:59
6     the plaintiff, Nicholas Sandmann.                                       10:02:59
7                  MS. SPEARS:      And good morning,                         10:02:59
8     everybody.    This is Nathalie Spears.           I am here              10:02:59
9     with my colleague Jessie Meek, representing the                         10:02:59
10    CBS defendants.                                                         10:02:59
11                 THE VIDEOGRAPHER:        The Court Reporter                10:03:19
12    is Lisa Barrett.      Would the Reporter please swear                   10:03:20
13    in the witness.                                                         10:03:22
14         (Oath Stipulation read by Court Reporter)                          10:03:22
15           CRAIGE ROBERTS Ph.D, having been duly                            10:03:22
16                 sworn testified as follows:                                10:03:22
17    BY MS. SPEARS:                                                          10:04:37
18           Q     Can you please state your name for the                     10:04:38
19    record.                                                                 10:04:39
20           A     Craige Roberts.                                            10:04:41
21           Q     And that is spelled C-R-A --                               10:04:42
22           A     C-R-A-I-G-E.                                               10:04:46
23           Q     Okay.    I wasn't sure if that was going                   10:04:48
24    to be pronounced "Craige" or "Craig," but it's                          10:04:50
25    "Craig".                                                                10:04:55


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                            Transcript of Craige Roberts, Ph.D.
                             Conducted on December 7, 2021               12

1            A      Correct.                                                  10:04:55
2            Q      Is that a family name?                                    10:04:55
3            A      Great grandmother.                                        10:04:57
4            Q      Great grandmother.         Okay.    Have you              10:04:59
5     been deposed before?                                                    10:04:59
6            A      I have.                                                   10:04:59
7            Q      Okay and so you understand the rules,                     10:05:13
8     they're a little bit different here as you've --                        10:05:13
9                      -- (overspeaking) --                                   10:05:13
10           A      Yeah.     They're a little different.                     10:05:13
11    That's fine.                                                            10:05:13
12     (Court reporter interjection re overspeaking.)                         10:05:13
13    BY MS. SPEARS:                                                          10:05:14
14           Q      Thank you.      That's one of the rules, so               10:05:14
15    thank you for stating that.                                             10:05:15
16                  If you need a break at any time please                    10:05:16
17    let me know.     If you don't understand one of my                      10:05:18
18    questions, please let me know, otherwise the                            10:05:20
19    record will assume and I will assume that you have                      10:05:22
20    understood.                                                             10:05:25
21                     -- (overspeaking) --                                   10:05:25
22           A      Understood.                                               10:05:26
23           Q      And nods of the head also don't work in                   10:05:28
24    depositions, so you have to say "yes" or "no."                          10:05:30
25           A      I'm trying just not to overlap what                       10:05:31


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                           Transcript of Craige Roberts, Ph.D.
                            Conducted on December 7, 2021                13

1     you're saying.       Okay.   That's fine.       I understand.           10:05:33
2            Q     Great.     All right.      Where do you live               10:05:36
3     currently?                                                              10:05:38
4            A     I live here in New York City.             Do you           10:05:39
5     want the address?                                                       10:05:42
6            Q     Sure.                                                      10:05:43
7            A     501 West 123rd Street, Apartment 20F,                      10:05:44
8     New York, 10027.                                                        10:05:45
9            Q     And how long have you lived here?                          10:05:49
10           A     I've lived in the city for five years,                     10:05:50
11    but at that address for three.                                          10:05:52
12           Q     And by way of background, where were                       10:05:55
13    you born?                                                               10:05:58
14           A     Terre Haute, Indiana.                                      10:05:58
15           Q     And did you grow up there?                                 10:06:19
16           (Court reporter interjection re audio)                           10:06:19
17           A     Is that better?        Hello. I didn't hear                10:06:19
18    what she said.                                                          10:06:19
19    BY MS. SPEARS:                                                          10:06:23
20           Q     Is she close enough because I do want                      10:06:30
21    to make sure that we're good to go here and we                          10:06:32
22    don't have continuing issues.           So don't be shy on              10:06:35
23    the court reporting side.         Does that sound better?               10:06:40
24                 (Court reporter clarification.)                            10:06:42
25           A     I'll tell you again.          I was born in                10:06:48


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                           Transcript of Craige Roberts, Ph.D.
                            Conducted on December 7, 2021                14

1     Terre Haute, Indiana.        Can you hear me now?                       10:06:50
2                   COURT REPORTER:       Yes.                                10:06:57
3     BY MS. SPEARS:                                                          10:06:57
4              Q    Okay, great.      And that's where you grew               10:06:58
5     up?                                                                     10:07:01
6              A    I did.                                                    10:07:02
7              Q    And where's Terre Haute in Indiana?                       10:07:04
8              A    Terre Haute is on the western border of                   10:07:04
9     Indiana with Illinois, about 200 miles due south                        10:07:04
10    of Chicago.                                                             10:07:07
11             Q    And did you go to high school in Terre                    10:07:08
12    Haute?                                                                  10:07:10
13             A    I did.    Wiley High School.                              10:07:13
14             Q    What high school is that?                                 10:07:13
15             A    Wiley.    No longer exists.        My great               10:07:13
16    grandfather went there so...                                            10:07:17
17             Q    Was it a public high school?                              10:07:19
18             A    Yes.                                                      10:07:21
19             Q    You went to University in Indiana, as                     10:07:21
20    well?                                                                   10:07:25
21             A    I did.                                                    10:07:25
22             Q    And where did you study?                                  10:07:26
23             A    Indiana University as part of the                         10:07:27
24    undergraduate.                                                          10:07:29
25             Q    And what was your undergraduate degree?                   10:07:30


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                           Transcript of Craige Roberts, Ph.D.
                            Conducted on December 7, 2021                15

1            A      My degree was in theater.                                 10:07:32
2            Q      And when did you graduate?                                10:07:34
3            A      I graduated in 1978, my undergraduate.                    10:07:37
4            Q      Did you attend graduate school?                           10:07:45
5            A      Yes, I did.                                               10:07:47
6            Q      Where?                                                    10:07:48
7            A      I studied for another year at Indiana                     10:07:48
8     University.     Then I went to the University of                        10:07:52
9     Massachusetts in Amherst for my Ph D.                                   10:07:54
10           Q      And when you studied another year at                      10:07:57
11    Indiana University, what did you study?                                 10:07:59
12           A      I was studied linguistics at that time.                   10:08:01
13           Q      Okay, and that was part of graduate                       10:08:04
14    training?                                                               10:08:06
15           A      Yes.     That was working towards a                       10:08:06
16    Master's degree, but the Master's really didn't                         10:08:08
17    matter for my graduate education, so much as the                        10:08:11
18    classwork that I took there.                                            10:08:16
19                  So, when I was admitted to University                     10:08:17
20    of Massachusetts of Amherst, I went there the                           10:08:20
21    following year and didn't complete the Master's.                        10:08:23
22           Q      So the year that you did in 1979 to                       10:08:29
23    '80 at Indiana State, that was part of your                             10:08:31
24    training in linguistics?                                                10:08:36
25           A      Yes, at the time while I was taking                       10:08:37


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                         Transcript of Craige Roberts, Ph.D.
                          Conducted on December 7, 2021                  16

1     coursework there I also had studied lexicography,                       10:08:39
2     dictionary making and I worked as a research                            10:08:46
3     assistant on the dictionary of Haitian Creole,                          10:08:49
4     French and English under Professor Arthur                               10:08:49
5     (inaudible).                                                            10:08:53
6            Q     And what is lexicography?                                  10:08:54
7            A     Lexicography is the study of how to                        10:08:57
8     make dictionaries.                                                      10:08:59
9            Q     And how did you get interested in                          10:09:01
10    lexicography?                                                           10:09:03
11           A     Well, that's a long story.          But I had              10:09:05
12    been living in New York prior to -- I took some                         10:09:07
13    time off.    After my junior year of college, I came                    10:09:10
14    here and lived.                                                         10:09:14
15                 I thought I might be interested in the                     10:09:15
16    arts, but instead I got interested in linguistics                       10:09:17
17    and met someone who was a very famous collector                         10:09:19
18    and seller of dictionaries and got very interested                      10:09:27
19    in that work and she told me, you know, there's a                       10:09:31
20    place where people pay to do that instead of being                      10:09:33
21    an expensive hobby, so I went to graduate school.                       10:09:36
22           Q     And what interested you about                              10:09:43
23    lexicography?                                                           10:09:45
24           A     I'd always been interested in meaning                      10:09:46
25    and I realized that there was a way to study                            10:09:50


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                          Transcript of Craige Roberts, Ph.D.
                           Conducted on December 7, 2021                 17

1     meaning in a more systematic way that touched on                        10:09:53
2     deeper issues about -- philosophical issues about                       10:09:55
3     meaning in a way that could be conveyed.                                10:09:59
4            Q     Then you went to University of                             10:10:07
5     Massachusetts at Amherst?                                               10:10:09
6            A     Yes.                                                       10:10:11
7            Q     And you studied linguistics there?                         10:10:12
8            A     Yes.   At the time U Mass Amherst --                       10:10:14
9     well still it's one of the top universities in the                      10:10:18
10    world to study in my area.         Not just linguistics                 10:10:21
11    but linguistic semantics, the study of meaning.                         10:10:23
12    And at the time my advisor there Barbara H Partee                       10:10:24
13    was and still is one of the top people in the                           10:10:30
14    field, so I wanted to work with her.                                    10:10:33
15           Q     Let's back up there a little bit.             Tell         10:10:35
16    me what is linguistics.                                                 10:10:36
17           A     Linguistics is a scientific study of                       10:10:39
18    language.    It's a very large field, not in terms                      10:10:41
19    of number of people in it, but in terms of the                          10:10:44
20    range of issues that people study.            Everything                10:10:46
21    from the history of languages, from the grammars                        10:10:48
22    of particular languages.        But in modern                           10:10:53
23    linguistics we are more interested in how people                        10:10:57
24    learn and convey linguistic meaning to each other.                      10:11:03
25                 That's a complicated subject and I                         10:11:10


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                         Transcript of Craige Roberts, Ph.D.
                          Conducted on December 7, 2021                  18

1     wanted to study not just sound patterns or syntax                       10:11:14
2     or grammar but meaning.       How we convey meaning.                    10:11:18
3            Q     What types of questions do linguists                       10:11:22
4     have special expertise to answer?                                       10:11:27
5                      -- (overspeaking) --                                   10:11:30
6            A     Well, it depends on the linguist.             I            10:11:30
7     wouldn't be here -- I purport to have no special                        10:11:33
8     knowledge about historical grammar, how language                        10:11:36
9     has changed or the relationships between different                      10:11:38
10    languages historically.       That's not my expertise.                  10:11:41
11    But in my particular case we -- I am able to bring                      10:11:43
12    evidence to bear about the plain meaning of                             10:11:50
13    expressions of a variety of languages but English                       10:11:54
14    in particular.                                                          10:12:00
15           Q     Does the type of linguistic study you                      10:12:00
16    consider yourself an expert in, have a name?                            10:12:04
17           A     Semantics.    Formal semantics.                            10:12:10
18           Q     What is semantics?                                         10:12:11
19           A     Semantics is the study of meaning in                       10:12:13
20    linguistics.                                                            10:12:16
21           Q     How is semantics different from                            10:12:16
22    linguistics?                                                            10:12:20
23           A     It's a subfield of linguistics.             As I           10:12:21
24    said, linguistics is complex.         There's historical                10:12:24
25    linguistics, cycle linguistics, phonology.               The            10:12:27


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                           Transcript of Craige Roberts, Ph.D.
                            Conducted on December 7, 2021                19

1     study of the sound patterns.          Semantics is the                  10:12:29
2     study of meaning.       I can tell you more about the                   10:12:31
3     study, if you are interested.                                           10:12:34
4            Q     So, when you were you refer to yourself                    10:12:37
5     as a linguist, do you refer to yourself as a                            10:12:39
6     semantics linguist?                                                     10:12:43
7            A     No, if you are saying you are a                            10:12:45
8     physicist, then you can study particle physics or                       10:12:47
9     nuclear physics or, you know, a variety of other                        10:12:53
10    subfields in which your expertise would primarily                       10:12:56
11    lie and mine is semantics within the -- I'm a                           10:12:59
12    linguist who studies semantics so you can say I'm                       10:13:03
13    a semanticist or a formal semanticist.                                  10:13:05
14           Q     Okay, and what kinds of data or                            10:13:11
15    information do linguists who specialize in                              10:13:11
16    semantics rely upon when you undertake an                               10:13:16
17    analysis?                                                               10:13:19
18           A     Well, we are scientists so we have                         10:13:20
19    certain empirical methodologies that we use to                          10:13:22
20    study the ways in which we convey meaning.                              10:13:27
21                 So that, itself, is (phone sounds.)                        10:13:30
22           Q     Sorry.     The telephone just went off in                  10:13:38
23    the room, but you can pick up where you left off.                       10:13:39
24           A     Yeah.    So, for example, you might say                    10:13:42
25    that the meaning of a sentence that I utter is a                        10:13:45


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                           Transcript of Craige Roberts, Ph.D.
                            Conducted on December 7, 2021                20

1     function of several factors.                                            10:13:49
2                     Primarily the meanings of the words                     10:13:51
3     that I utter, but also the syntactic structure.                         10:13:53
4     As I said in my report, John loves Mary means                           10:13:57
5     something very different than Mary loves John, so                       10:14:01
6     you have to know that John's the subject of one,                        10:14:03
7     the object of the other, etcetera, so you have to                       10:14:06
8     know the meanings of the words.                                         10:14:07
9                     The syntactic structure in which they                   10:14:10
10    obtain in that utterance and the way in which                           10:14:13
11    syntax puts the meanings of words together to                           10:14:16
12    compose more complex meanings.           And then in                    10:14:20
13    addition you have to look at various contextual                         10:14:23
14    factors.       In particular, if there's a pronoun or                   10:14:26
15    ellipsis in the sentence, we study the ways in                          10:14:30
16    which people rely and really treat the meaning of                       10:14:34
17    "he."       We say "He looks hungry," that means                        10:14:37
18    something very different if I've been talking                           10:14:39
19    about John versus a male alligator.             Right.     It           10:14:40
20    depends on the question under discussion and the                        10:14:45
21    context of utterance and --                                             10:14:47
22            Q       So, let me stop you there for a second.                 10:14:49
23    So my question there was:         What kind of data or                  10:14:51
24    information do you rely on?          You mention the                    10:14:54
25    meaning of words, syntactic structure.                                  10:14:56


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                              Transcript of Craige Roberts, Ph.D.
                               Conducted on December 7, 2021             21

1                            -- (overspeaking) --                             10:14:59
2                     What type of data?                                      10:15:00
3                             -- (inaudible) --                               10:15:00
4             A       What data do we work on?                                10:15:01
5             Q       Yes.                                                    10:15:03
6             A       In the case of lexicography, this I                     10:15:03
7     studied -- it's an old study, I studied this with                       10:15:07
8     Professor Edward Gates, who was a lexicographer                         10:15:10
9     that worked for Merriam-Webster Company in                              10:15:14
10    Springfield, Massachusetts.             And classical                   10:15:17
11    lexicographic procedure consists in finding usages                      10:15:21
12    of the term that you are studying in, collecting                        10:15:25
13    those from a wide variety of sources, literature,                       10:15:27
14    newspaper reporting, essays.                                            10:15:32
15                    Today we use radio programs, television                 10:15:35
16    programs and the web, of course, to collect all                         10:15:37
17    these usages.                                                           10:15:42
18                    They used to have shoeboxes full of                     10:15:43
19    them.       Huge rooms full of shoeboxes of collections                 10:15:45
20    of usages.       These are ordinary usages by people                    10:15:46
21    who are native speakers of the language under                           10:15:52
22    study and then the lexicographer attempts to                            10:15:54
23    organize these into different possible sentences,                       10:15:59
24    looking at context and evidence interpretation in                       10:16:02
25    those passages in which they occur.                                     10:16:05


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                         Transcript of Craige Roberts, Ph.D.
                          Conducted on December 7, 2021                  22

1                  And then they develop sensors or                           10:16:07
2     dictionary definitions, some people call them.                          10:16:12
3     Now a dictionary definition then is a reflection                        10:16:14
4     of one of the meanings that ordinary people take                        10:16:17
5     the given term to have.                                                 10:16:22
6            Q     Okay, so what you just described                           10:16:25
7     essentially as what lexicographers do, putting                          10:16:27
8     together dictionaries, correct?                                         10:16:31
9            A     I talked to you about the data that                        10:16:32
10    they use.                                                               10:16:33
11           Q     Yeah, they use data to put together                        10:16:33
12    dictionaries.                                                           10:16:35
13           A     Right.                                                     10:16:36
14           Q     So dictionaries are one form of                            10:16:37
15    data that --                                                            10:16:39
16           A     One form.                                                  10:16:39
17           Q     -- linguists use.                                          10:16:40
18           A     Right.                                                     10:16:43
19           Q     What other data or is dictionary the                       10:16:43
20    main data?                                                              10:16:44
21           A     Well, no.    I mean, as I said there are                   10:16:45
22    three prongs at least, major parts of the meaning                       10:16:47
23    of a sentence I might utter.                                            10:16:49
24                      -- (overspeaking) --                                  10:16:52
25           Q     Okay, so what other data?                                  10:16:52


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                         Transcript of Craige Roberts, Ph.D.
                          Conducted on December 7, 2021                  23

1            A     So, the second prong is the syntactic                      10:16:54
2     structure and linguists have been studying syntax                       10:16:59
3     for centuries.     But in particular, since the                         10:17:02
4     advent of generative grammar in the 1950s,                              10:17:05
5     enormous progress has been made to study the many                       10:17:09
6     and sometimes very complex and tactic structures                        10:17:12
7     of a language, and the evidence that people draw                        10:17:15
8     on again are texts and usages that are found in                         10:17:18
9     the plain language of the speakers of the                               10:17:22
10    language.    In other words --                                          10:17:25
11                     -- (overspeaking) --                                   10:17:27
12           Q     Which you would find in dictionaries.                      10:17:27
13           A     No, dictionaries do not record                             10:17:30
14    syntactic structure.      You would go to -- I mean                     10:17:32
15    the grammarians, the syntacticians in this case,                        10:17:36
16    draw on actual usage.      They find the uses that                      10:17:40
17    people make that are -- that other people who are                       10:17:44
18    native speakers say, now that's sensible, that                          10:17:48
19    sounds like English.      So now you'll find people --                  10:17:51
20    this is more recent because of the advent of                            10:17:55
21    crowd-sourcing on the web, they use tools like                          10:17:59
22    Mechanical Turk.     It's a very commonly used one to                   10:18:03
23    do linguistic research on the web and get native                        10:18:07
24    speakers to give judgments about whether they                           10:18:12
25    think a particular structure of a certain word and                      10:18:15


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                           Transcript of Craige Roberts, Ph.D.
                            Conducted on December 7, 2021                24

1     the syntactic structure sounds like English.               Does         10:18:17
2     it sound fine or not and, if so, what does it                           10:18:20
3     mean?                                                                   10:18:22
4                     So, now we use -- we can use                            10:18:23
5     crowd-sourcing, but that's a relatively recent                          10:18:26
6     tool.       Just like lexicographers, syntacticians                     10:18:29
7     have been studying the actual usages that you find                      10:18:33
8     in both spoken and written English by native                            10:18:36
9     speakers and studying what the native speakers                          10:18:42
10    take them to mean and what the structures are                           10:18:42
11    listed in English.          So it's listed in English to                10:18:44
12    say John has an apple, but now John has apple of                        10:18:46
13    ... meaning --                                                          10:18:53
14                        --(overspeaking) --                                 10:18:54
15            Q       Okay, so dictionary's syntactic                         10:18:55
16    structure --                                                            10:18:56
17            A       Syntax --                                               10:18:57
18                       -- (overspeaking) --                                 10:18:58
19            Q       -- is the second thing --                               10:18:58
20                        -- (overspeaking) --                                10:18:59
21            A       -- semantics --                                         10:18:59
22            Q       And what is -- yeah.       You have to wait             10:19:00
23    until I'm done.                                                         10:19:03
24                    Thank you, Mr. McMurtry.                                10:19:04
25                    So, in considering data that linguists                  10:19:06


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                         Transcript of Craige Roberts, Ph.D.
                          Conducted on December 7, 2021                  25

1     would use we talked about number one,                                   10:19:08
2     dictionaries, two syntactic structures and                              10:19:12
3     resources that talk about syntactic structure.                          10:19:15
4     Anything else?                                                          10:19:17
5            A     So I was not quite finished with the                       10:19:18
6     syntax.    The results of all this study is -- are                      10:19:20
7     recorded in grammars by sophisticated linguistic                        10:19:21
8     syntacticians.     And they're excellent grammars of                    10:19:27
9     English starting -- well, actually starting in the                      10:19:32
10    early -- late 19 -- early 20th century, but                             10:19:33
11    certainly starting in the 1950s.          And these are --              10:19:36
12    these are books that gather that information,                           10:19:40
13    compile it and talk about underlying relationships                      10:19:45
14    between these different syntactic structures.            And            10:19:47
15    that's what a generative grammar is.           A generative             10:19:51
16    grammar is a set of recursive rules that aims to                        10:19:54
17    generate all and only the grammatical licit (?)                         10:19:58
18    sentences of the language, so you find that in                          10:20:02
19    grammar.                                                                10:20:04
20                 That's not the sort of thing that most                     10:20:05
21    ordinary people read, but it's used by people, for                      10:20:06
22    example, who are making natural language                                10:20:09
23    understanding tools for computers, for human                            10:20:11
24    computer interface.      So that's the second kind of                   10:20:16
25    tool and the second kind of data that I can draw                        10:20:19


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                         Transcript of Craige Roberts, Ph.D.
                          Conducted on December 7, 2021                  26

1     on.                                                                     10:20:21
2                  The third kind are semantic judgments.                     10:20:21
3     So, as I said, when you use Mechanical Turk, you                        10:20:23
4     might be exploring what sounds like elicit,                             10:20:29
5     meaning grammatical sentence of the language you                        10:20:34
6     are studying, say English here, but you might also                      10:20:36
7     ask, what does this mean and by exploring the                           10:20:39
8     meanings of sentence in this way and what the                           10:20:42
9     entailments are, people like me make judgments                          10:20:45
10    about the ways in which the meanings of the words                       10:20:48
11    interact with the syntactic structure to compose a                      10:20:53
12    more complex meaning to the meaning of the                              10:20:58
13    sentence.                                                               10:21:02
14           Q     Anything else or that's the primary?                       10:21:03
15           A     No, besides that we study the ways that                    10:21:04
16    context influences interpretation so one of the                         10:21:06
17    things I'm most well known for is my work on the                        10:21:09
18    question under discussion.                                              10:21:13
19                 If you Google "question under                              10:21:14
20    discussion" Craige Roberts will come up.             So I               10:21:15
21    study the ways in which we encode the kinds of                          10:21:19
22    factors in context, this utterance -- the context                       10:21:25
23    that we have in this discourse, the kinds of                            10:21:32
24    factors that come to bear on resolving                                  10:21:35
25    context-sensitive expressions in an utterance.                          10:21:38


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                           Transcript of Craige Roberts, Ph.D.
                            Conducted on December 7, 2021                27

1                  And context-sensitive expressions, as I                    10:21:41
2     said, include things like pronouns and ellipses,                        10:21:43
3     etcetera.                                                               10:21:46
4            Q     Thank you.      Anything else in terms of                  10:21:48
5     data or those are the main things?                                      10:21:50
6            A     That's the data for evidence about the                     10:21:51
7     way that meaning is composed as a function of the                       10:21:53
8     parts in the context in -- yeah.                                        10:21:57
9            Q     So, the -- just getting back to my                         10:21:58
10    initial question, the kinds of data that linguists                      10:22:00
11    rely on when they undertake an analysis, those are                      10:22:06
12    the types that we just talked about.             Those are              10:22:10
13    the kinds of data, correct?                                             10:22:11
14           A     The primary kinds of data, yes.                            10:22:12
15           Q     Okay.     And as a linguist when you                       10:22:16
16    write -- you've written a lot, I take it.                               10:22:18
17           A     I have.                                                    10:22:21
18           Q     I've looked at your CV, correct?                           10:22:21
19           A     Yes.                                                       10:22:23
20           Q     And when you write, you're careful                         10:22:23
21    about words you use and the meanings they have .                        10:22:25
22                    -- (overspeaking) --                                    10:22:28
23           A     I am --                                                    10:22:28
24           Q     -- as a linguist; right?                                   10:22:28
25           A     Yes.                                                       10:22:30


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                             Transcript of Craige Roberts, Ph.D.
                              Conducted on December 7, 2021              28

1                    MR. McMURTRY:       Let her finish her                   10:22:31
2     question first.                                                         10:22:31
3                    THE WITNESS:       I'm sorry.                            10:22:31
4                    MR. McMURTRY:       Yeah, it's --                        10:22:31
5                           -- (overspeaking) --                              10:22:31
6                    THE WITNESS:       I don't intend to foul                10:22:31
7     up.   Sorry.                                                            10:22:31
8     BY MS. SPEARS:                                                          10:22:31
9            Q       Thank you.      So, you also talk about, in              10:22:40
10    your report, pragmatics.           What is -- that you                  10:22:48
11    specialize in pragmatics as well, correct?                              10:22:52
12           A       Yes.                                                     10:22:54
13           Q       What is pragmatics?                                      10:22:55
14           A       Pragmatics is the study of the way in                    10:22:58
15    which context influences interpretation.                                10:23:00
16           Q       And what is -- when you use it in that                   10:23:03
17    way, what is context?                                                   10:23:08
18           A       Context, it could be -- it depends on                    10:23:12
19    the theory that you look at, the way in which it's                      10:23:15
20    defined, actually.         This is a technical debate                   10:23:18
21    within the field.         I have a theory of context.                   10:23:21
22    Loosely and formally, you could say that the                            10:23:26
23    context is the information that interlocutors                           10:23:28
24    share in the course of a discourse and hence                            10:23:33
25    information that might potentially be drawn upon                        10:23:35


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                           Transcript of Craige Roberts, Ph.D.
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1     to help resolve context sensitive aspects of the                        10:23:37
2     meaning of them.                                                        10:23:41
3            Q     When you say "interlocutors," what do                      10:23:43
4     you mean by that?                                                       10:23:44
5            A     Interlocutors in a discourse are people                    10:23:46
6     that are speaking with each other.                                      10:23:48
7            Q     And why is context important to                            10:23:50
8     linguists?                                                              10:23:53
9            A     As I said, there are many                                  10:23:55
10    context-sensitive expressions in a language and                         10:23:56
11    also other ways in which context comes to bear.                         10:24:00
12                 Would you like me to give an example                       10:24:02
13    besides pronouns and ellipses?                                          10:24:04
14           Q     Sure.                                                      10:24:08
15           A     Yeah.    So if I say to you, John only                     10:24:08
16    introduced Sue to Bill, that could be true in a                         10:24:13
17    context in which it would be false that John only                       10:24:16
18    introduced Sue to Bill.                                                 10:24:20
19                 I'll say the two utterances again.                         10:24:24
20    John only introduced Sue to Bill, versus John only                      10:24:26
21    introduced Sue to Bill.                                                 10:24:31
22                 So suppose that there's several people                     10:24:33
23    at a party and John introduced several different                        10:24:35
24    people to Bill.      Then -- but the only person that                   10:24:39
25    Sue met was Bill.       One of those will be true.                      10:24:46


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                           Transcript of Craige Roberts, Ph.D.
                            Conducted on December 7, 2021                30

1     John only introduced Sue to Bill but the other one                      10:24:52
2     was false.                                                              10:24:57
3                  John only introduced Sue to Bill                           10:24:57
4     because Bill met several people.            So all I did                10:25:00
5     there was I put emphasis on one of the different                        10:25:04
6     objects, Sue versus Bill.                                               10:25:08
7            Q     So in that example you gave, that is an                    10:25:10
8     example of how context --                                               10:25:12
9                        -- (overspeaking) --                                 10:25:15
10           A     And --                                                     10:25:17
11                       -- (overspeaking) --                                 10:25:17
12           Q     Hold on.     I have to finish the                          10:25:17
13    question.    So that's an example of the way in                         10:25:19
14    which context can impact meaning when it's spoken                       10:25:22
15    by somebody by virtue of how they emphasize a                           10:25:25
16    certain word, correct?                                                  10:25:28
17           A     No.                                                        10:25:29
18           Q     No.                                                        10:25:30
19           A     You misunderstood, but you didn't let                      10:25:30
20    me finish.                                                              10:25:32
21           Q     Okay.                                                      10:25:33
22           A     So what I did was give you the                             10:25:33
23    utterances but my point was that the emphasis on                        10:25:35
24    the accent on "Bill" versus "Sue" is said in the                        10:25:40
25    theory, actually, the theory based on my work to                        10:25:45


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                         Transcript of Craige Roberts, Ph.D.
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1     be a reflection of which alternatives are under                         10:25:48
2     consideration and that reflects the question under                      10:25:51
3     discussion.                                                             10:25:53
4                   So, if I put it -- so that is a                           10:25:54
5     contextual factor.     So if the question is: Who did                   10:25:57
6     Bill introduce to Sue?      Who did Bill introduce to                   10:26:02
7     Sue?   John only introduced -- I'm sorry, who did                       10:26:06
8     John -- my names confused.                                              10:26:11
9                   Who did John introduce to Sue?             By             10:26:13
10    saying:     John only introduced Bill to Sue, that's                    10:26:16
11    an appropriate answer to that question.                                 10:26:19
12                  Notice if I say:     Who did John                         10:26:21
13    introduce to Bill?     And I say John only introduced                   10:26:23
14    Sue to Bill, that would be an odd answer to that                        10:26:29
15    question.     So there's a correlation between which                    10:26:32
16    words I put the emphasis on among the objects and                       10:26:36
17    the question under discussion.         And that's one way               10:26:40
18    that you can see that which question's under                            10:26:42
19    discussion and that is a contextual factor.                             10:26:45
20                  It has a bearing both on the felicity                     10:26:47
21    of the accent placement and which of the                                10:26:50
22    utterances is appropriate, answers that question                        10:26:54
23    and hence which is true.       Which is false.                          10:26:55
24           Q      So, I may be a little confused now.                       10:27:00
25                      -- (overspeaking) --                                  10:27:02


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                         Transcript of Craige Roberts, Ph.D.
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1            A     That's a complex question.                                 10:27:03
2                       -- (overspeaking) --                                  10:27:04
3            Q     But let me ask you -- that's a complex                     10:27:04
4     question whether --                                                     10:27:07
5                       -- (overspeaking) --                                  10:27:07
6            A     No, let me --                                              10:27:08
7            Q     Whether Bill --                                            10:27:09
8            A     No   -- (overspeaking) --                                  10:27:09
9            Q     -- only introduced John to Sue, is it?                     10:27:09
10           A     Oh, it's difficult to explain, but                         10:27:12
11    native speakers have no problems with it at all.                        10:27:14
12    That's the interesting thing.                                           10:27:18
13           Q     An average person can understand that                      10:27:19
14    type of --                                                              10:27:21
15                      -- (overspeaking) --                                  10:27:21
16           A     Oh, yeah, yeah --                                          10:27:22
17                      -- (overspeaking) --                                  10:27:22
18           Q     -- sentence structure.                                     10:27:22
19           A     -- not explanation.       They understand                  10:27:22
20    the English.                                                            10:27:24
21           Q     Right.                                                     10:27:26
22           A     And the difference is which English                        10:27:26
23    utterance is felicitous and what the two                                10:27:28
24    in-utterances mean.                                                     10:27:30
25           Q     And so I mean, boiling that down what                      10:27:32


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                               Transcript of Craige Roberts, Ph.D.
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1     you are essentially saying is that context can                          10:27:35
2     impact the way in which a word is used in the                           10:27:37
3     sentence or the way in which an accent on a                             10:27:41
4     certain word is used in a sentence, correct?                            10:27:45
5              A       That would be reduction beyond -- no,                  10:27:48
6     that's not what I'm -- so --                                            10:27:51
7              Q       Okay.                                                  10:27:53
8              A       What I mean is -- may I?                               10:27:54
9              Q       Sure.                                                  10:27:55
10             A       Let me try again.        I meant that given            10:27:56
11    the whole utterance, and I'm going to say it now                        10:27:59
12    without accent:          John only introduced Sue to Bill.              10:28:01
13    Okay?        That's the utterance.                                      10:28:07
14                     How you can understand that, one way I                 10:28:09
15    could say it which reflects one kind of question                        10:28:11
16    under discussion, could be true and it's not a                          10:28:15
17    function of the words.            The same words are in both            10:28:18
18    the sentences, whether I put accent on Bill or                          10:28:21
19    Sue.     So it's not the words.           The accent reflects           10:28:24
20    the context and the context tells you what we call                      10:28:27
21    the truth conditions, when it's true and when it's                      10:28:32
22    false.        And one of those accents as a function of                 10:28:35
23    the question under discussion that it reflects,                         10:28:39
24    can yield something that's true while the other                         10:28:43
25    accent could be false, given the same actual                            10:28:45


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                           Transcript of Craige Roberts, Ph.D.
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1     circumstances in which we assess it's true.                             10:28:48
2            Q     Okay, and context can also be the                          10:28:51
3     situation in which the statements are made,                             10:28:56
4     correct?                                                                10:28:58
5            A     Yes, in fact, that's what I said.                          10:28:58
6            Q     External to the words themselves,                          10:29:01
7     correct?                                                                10:29:03
8            A     Yes, that's right, as long as we have                      10:29:03
9     access to it as interlocutors, okay?             And that's             10:29:06
10    one reason why I said the information available to                      10:29:10
11    the interlocutors.                                                      10:29:12
12                 So if the context of utterance is one                      10:29:14
13    in which you have access to information that I                          10:29:18
14    don't, that access that we don't -- that                                10:29:20
15    information we don't share will not be part of                          10:29:23
16    what I, as the person listening to you, take into                       10:29:26
17    consideration in interpreting what you've said.                         10:29:31
18                 It's only shared context that is                           10:29:33
19    brought to bear on meaning in a licit way, in                           10:29:36
20    interaction.                                                            10:29:41
21           Q     Right.     Okay. So -- or I should say                     10:29:45
22    "understood."                                                           10:29:47
23                 Let's go back to talking about your                        10:29:48
24    employment history.                                                     10:29:52
25           A     Yeah.                                                      10:29:53


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                         Transcript of Craige Roberts, Ph.D.
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1             Q    So, I just want to wrap that up.            You            10:29:53
2     did a postdoctoral fellowship after your graduate                       10:29:58
3     work, correct?                                                          10:30:03
4             A    It's a post doctoral fellowship.            I was          10:30:04
5     for two years at the Center for the Study of                            10:30:07
6     Language and Information at Stanford University,                        10:30:10
7     which is one of the first institutions for                              10:30:11
8     cognitive science.     The study -- the                                 10:30:14
9     inter-disciplinary study of --                                          10:30:16
10                      -- (overspeaking) --                                  10:30:20
11            A    -- language.                                               10:30:20
12            Q    Okay, then after that, what did you do?                    10:30:20
13            A    I accepted a position at Ohio State                        10:30:22
14    University in the linguistics department.                               10:30:24
15            Q    And from what years to what years were                     10:30:29
16    you at the Ohio State University?                                       10:30:32
17            A    I went there in 1988 and I retired in                      10:30:35
18    2016.                                                                   10:30:37
19            Q    And you taught undergraduate and                           10:30:38
20    graduate courses at Ohio State?                                         10:30:42
21            A    I did.                                                     10:30:45
22            Q    And on your resume it says you taught                      10:30:46
23    undergraduate and graduate courses and seminars in                      10:30:50
24    syntax, semantics and pragmatics.          What does                    10:30:54
25    syntax mean?                                                            10:31:00


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                           Transcript of Craige Roberts, Ph.D.
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1            A      I mentioned that before.          That's the              10:31:01
2     study of what, in a given language -- which ways                        10:31:03
3     of putting words together is deemed grammatical                         10:31:06
4     for that language.                                                      10:31:10
5            Q      You are a visiting professor at the                       10:31:12
6     University of Amsterdam and the University of                           10:31:14
7     Michigan?                                                               10:31:16
8            A      Yes.                                                      10:31:17
9            Q      Correct.    In philosophy; is that                        10:31:18
10    correct?                                                                10:31:21
11           A      That's the department I was in at                         10:31:21
12    Michigan.                                                               10:31:23
13           Q      And did you teach philosophy?                             10:31:23
14           A      I taught a seminar on philosophy of                       10:31:25
15    language.     Philosophy of language.                                   10:31:28
16           Q      And how does philosophy relate to                         10:31:30
17    linguistics?                                                            10:31:34
18           A      Well, remember, I mentioned I was at a                    10:31:34
19    cognitive science center as my post-doc at                              10:31:36
20    Stanford.     And cogni-science brings together                         10:31:40
21    several fields that have -- that study things                           10:31:44
22    about human cognition generally but language in                         10:31:44
23    particular.     And those fields are linguistics, of                    10:31:48
24    course, but also philosophy because there are                           10:31:50
25    people who have studied language in philosophy for                      10:31:52


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                           Transcript of Craige Roberts, Ph.D.
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1     centuries and psychology and computer science                           10:31:56
2     because of competition linguistics and sociology.                       10:32:01
3     Sometimes anthropology.                                                 10:32:04
4                  So, in particular, the people who                          10:32:09
5     study -- I said I was a formal semanticist and we                       10:32:11
6     use logical tools to capture the ways that                              10:32:17
7     different languages encode meaning.             This is very            10:32:21
8     useful as a way of capturing the meaning,                               10:32:26
9     independent of a language in which you are doing                        10:32:30
10    the analysis, okay?       And it's very helpful if                      10:32:32
11    you're, for example, a computational linguist.                          10:32:36
12           Q     Well, let me stop you there for a                          10:32:41
13    second because I just want to -- at a high-level,                       10:32:44
14    how does philosophy relate to linguistics?                              10:32:46
15           A     I'm trying to explain to you.                              10:32:49
16           Q     Okay.                                                      10:32:51
17           A     Okay, so philosophers are interested in                    10:32:51
18    a variety of things including thought and language                      10:32:54
19    and the way that language reflects thought.                             10:32:56
20                 So for 200 years philosophers have                         10:32:58
21    studied the way in which they think that language                       10:33:01
22    relates to thought and as a consequence, they have                      10:33:04
23    studied -- especially logicians are very                                10:33:07
24    interested in expressions like the word "the" or                        10:33:11
25    the word "every," etcetera.          So they have very                  10:33:14


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                           Transcript of Craige Roberts, Ph.D.
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1     detailed analyses of these words and they have had                      10:33:18
2     a bearing on the analyses that linguistics --                           10:33:21
3     linguists take into consideration, so we interact                       10:33:26
4     with people who have a common interest in                               10:33:30
5     academia.                                                               10:33:31
6            Q      You developed and taught a class called                   10:33:32
7     "Language in the Law"?                                                  10:33:36
8            A      Yes.                                                      10:33:37
9            Q      In 2005 to 2016?                                          10:33:37
10           A      Yes.                                                      10:33:38
11           Q      What was the focus of that course?                        10:33:42
12           A      That was an advanced undergraduate                        10:33:44
13    course for students who were interested in going                        10:33:44
14    into the law, law enforcement related to fields.                        10:33:46
15                  It was a writing course so it was a                       10:33:50
16    very demanding course for the students and it was                       10:33:52
17    a course in which we tried to talk -- first of                          10:33:57
18    all, give them some basic information about the                         10:33:59
19    way that "we" is understood by native speakers and                      10:34:02
20    how you might bring that information to bear on                         10:34:03
21    assessing the plain meaning of some -- of a given                       10:34:15
22    expression.                                                             10:34:17
23                  Then we looked at case law and some of                    10:34:19
24    the sort of standard ways in which attorneys                            10:34:22
25    approached language and tried to think about how                        10:34:28


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                         Transcript of Craige Roberts, Ph.D.
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1     linguistic tools could be useful in assessing                           10:34:39
2     meaning in contentious cases.                                           10:34:44
3            Q     What law did you look at for that                          10:34:46
4     course?                                                                 10:34:48
5            A     I would have look at my notes.              If             10:34:48
6     you'd like, I can do that at my computer here.                          10:34:51
7            Q     That's all right --                                        10:34:53
8                       -- (overspeaking) --                                  10:34:53
9            A     -- of course it is.                                        10:34:53
10                      -- (overspeaking) --                                  10:34:54
11           Q     -- just what you recall sitting here.                      10:34:54
12           A     I -- for example, one of the books I                       10:34:56
13    used a lot was a book by Larry Solan called "The                        10:34:57
14    Language of Judges." Larry Solan is an                                  10:35:01
15    interesting -- I think he's a Professor at                              10:35:05
16    Brooklyn, was it?      I can't remember.       John J.                  10:35:06
17    College or Brooklyn College, one of these places                        10:35:08
18    here in New York, but he has a Ph D. in                                 10:35:08
19    linguistics actually from the same school that I                        10:35:08
20    went to, University of Massachusetts in Amherst                         10:35:16
21    and he's taught language in the law for a long                          10:35:18
22    time --                                                                 10:35:21
23           Q     Any specific area of law?                                  10:35:22
24           A     Well --                                                    10:35:23
25           Q     Or is he just focused on writing and                       10:35:24


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                           Transcript of Craige Roberts, Ph.D.
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1     language?                                                               10:35:28
2            A     I'm sorry, I don't understand the                          10:35:29
3     question.                                                               10:35:30
4            Q     Sure.    My question I was trying to get                   10:35:30
5     at is were you, in your class "Language and the                         10:35:32
6     Law" were you focused on any specific area?                             10:35:35
7            A     No, we looked pretty broadly at the                        10:35:39
8     variety of the kinds of cases.                                          10:35:42
9                  I'm not sure what the question is                          10:35:44
10    trying to get at.       Sorry.                                          10:35:45
11           Q     So is it criminal law or civil law?                        10:35:46
12           A     Yeah, both.                                                10:35:49
13           Q     Both?                                                      10:35:51
14           A     Yeah.                                                      10:35:53
15           Q     Did you teach anything about defamation                    10:35:53
16    law in your class?                                                      10:35:56
17           A     Not particularly.        I think we might                  10:35:59
18    have looked at one or two cases in which                                10:36:01
19    defamation was an issue, but that wasn't one of                         10:36:04
20    the focuses.                                                            10:36:06
21           Q     From 2016 to 2019, you were a visiting                     10:36:07
22    Professor at NYU in the linguistics department; is                      10:36:09
23    that correct?                                                           10:36:13
24           A     Yes.                                                       10:36:14
25           Q     And you said you -- have you retired                       10:36:14


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                          Transcript of Craige Roberts, Ph.D.
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1     from there or what's your --                                            10:36:18
2                     -- (overspeaking) --                                    10:36:20
3            Q     -- status?                                                 10:36:20
4            A      -- (overspeaking) -- linguistics                          10:36:21
5     professors don't retire.                                                10:36:23
6                  They are just hired -- they are not                        10:36:24
7     even hired for long term.        It's just, you know,                   10:36:25
8     for a semester or a year, yeah, and they only                           10:36:27
9     hired me to teach one course.                                           10:36:30
10           Q     Okay, and what did you teach?                              10:36:31
11           A     I taught a course on indexicality.                         10:36:33
12           Q     What's indexicality?                                       10:36:38
13           A     Indexi -- indexicals are a certain                         10:36:40
14    class of context-sensitive expressions that                             10:36:43
15    include:    I, you, we, here, now, yesterday,                           10:36:46
16    tomorrow.    And they are sensitive to context in a                     10:36:49
17    very particular way and I've been developing a                          10:36:52
18    novel theory of the relationship between those                          10:36:55
19    expressions and context.                                                10:36:58
20           Q     The -- strike that.        You are currently               10:37:03
21    Professor Emerita at OSU?                                               10:37:07
22           A     Yes.                                                       10:37:12
23           Q     What does that mean?                                       10:37:12
24           A     It means I'm not just retired, but I'm                     10:37:13
25    still eligible to serve on graduate committees.                         10:37:15


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                          Transcript of Craige Roberts, Ph.D.
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1     I have access to university resources from my                           10:37:18
2     research.                                                               10:37:21
3                  It's an honored position, you know, a                      10:37:24
4     position of respect that says I'm still an active                       10:37:28
5     member of the research community, even though I                         10:37:31
6     retired from teaching.                                                  10:37:33
7            Q     And do you hold any other current                          10:37:40
8     positions, teaching positions?                                          10:37:41
9            A     Not teaching positions.          I actually                10:37:43
10    have just have received an invitation to be a                           10:37:45
11    Research Scholar at Barnard College starting in                         10:37:48
12    January of 2022.                                                        10:37:52
13           Q     You also list you are an affiliate of                      10:37:55
14    Rutgers --                                                              10:37:58
15           A     Yes.                                                       10:37:59
16           Q     -- for Cognitive Science?          What's that?            10:37:59
17           A     The cognitive science is an                                10:38:01
18    interdisciplinary study of a variety of things                          10:38:02
19    having to do with human cognition, but as I said,                       10:38:05
20    in particular they're interested in language.                           10:38:07
21    Because I have a long history of working in an                          10:38:09
22    interdisciplinary way with psychologists,                               10:38:12
23    philosophers and computer scientists, when I moved                      10:38:17
24    here I knew the people well at Rutgers and they                         10:38:20
25    invited me to be part of their cognitive science                        10:38:23


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                         Transcript of Craige Roberts, Ph.D.
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1     center.                                                                 10:38:25
2            Q      And what does it mean to be an                            10:38:27
3     affiliate?                                                              10:38:28
4            A      I have -- they don't give me any money.                   10:38:29
5     This is all for glory and -- but they deem me --                        10:38:32
6     it's really a way of saying that I'm a respected                        10:38:36
7     member of the community.       I'm a resource that they                 10:38:40
8     would like their faculty and students to draw on.                       10:38:42
9                   For example, even though it's not                         10:38:45
10    official anymore, I am still an affiliate at NYU.                       10:38:47
11    I go to courses and seminars there all the time.                        10:38:50
12    I'm on committees for graduate students.             I'm                10:38:53
13    writing letters for one of them right now.                              10:38:56
14           Q      Okay, so is this basically -- have we                     10:38:59
15    gone through your basic employment and teaching                         10:39:02
16    history.     Have I left anything out?                                  10:39:04
17           A      Many other things but that'll do.                         10:39:07
18           Q      Any other important positions you've                      10:39:11
19    held that I've left out.                                                10:39:12
20           A      Those are my principle positions, yes.                    10:39:14
21           Q      And obviously with all of your                            10:39:16
22    extensive research and training as a linguist and                       10:39:18
23    you've gone through, even in your answers very                          10:39:23
24    deeply into, you know, the thought process here,                        10:39:25
25    when you are reading something in everyday life                         10:39:28


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                           Transcript of Craige Roberts, Ph.D.
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1     does your training sort of impact how you read or                       10:39:31
2     interpret things?                                                       10:39:35
3            A     No, not unless there's an issue that                       10:39:37
4     comes up.    So, may I explain?         If I was reading                10:39:39
5     and I'm an avid reader, I read constantly, I just                       10:39:43
6     read like you do.       I'm looking for content.                        10:39:46
7                  If it's beautiful, I'm reading poetry                      10:39:48
8     and I'm impressed and moved by the form.               When             10:39:50
9     something doesn't work, then probably more likely                       10:39:54
10    than you, I'm more likely than you to stop and                          10:39:57
11    think about why it doesn't work, what was                               10:39:59
12    infelicitous or seemed out of place or                                  10:40:03
13    ungrammatical, but that's because I have that                           10:40:09
14    training to look at that.                                               10:40:11
15           Q     Yeah, I would think that in reading                        10:40:13
16    things, just given your background, what you do                         10:40:14
17    for a living that's a prism through which you are                       10:40:17
18    constantly looking, right?                                              10:40:19
19           A     Not really.      That would kind of spoil                  10:40:20
20    it for me, no.       And I don't like Scrabble.            I            10:40:22
21    don't like word games.                                                  10:40:24
22           Q     Do you -- you said you're an avid                          10:40:28
23    reader.                                                                 10:40:31
24           A     Yeah.                                                      10:40:32
25           Q     How often do you read and watch the                        10:40:32


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                          Transcript of Craige Roberts, Ph.D.
                           Conducted on December 7, 2021                 45

1     news?                                                                   10:40:34
2             A    Umm... I read the news every day.            I             10:40:36
3     mostly read the news.       I look at things online, as                 10:40:40
4     well, videos, etcetera, yeah.                                           10:40:43
5             Q    Are there particular newspapers that                       10:40:48
6     you subscribe to?                                                       10:40:50
7             A    New York Times and Washington Post.                        10:40:52
8             Q    Any others?                                                10:40:54
9             A    Not subscribe.                                             10:40:55
10            Q    Are there particular news programs that                    10:40:56
11    you watch regularly?                                                    10:41:01
12            A    I don't watch the news.          I look at                 10:41:02
13    streaming.    If there's an article either in the                       10:41:05
14    New York Times or the Washington Post or if one of                      10:41:10
15    my friends might post something on Facebook from                        10:41:12
16    The Guardian or some other local newspaper that                         10:41:16
17    they read and it looks like an interesting story,                       10:41:21
18    I'll go there and if there's a video or streaming                       10:41:23
19    I'll watch that.                                                        10:41:26
20            Q    Do you watch TV?                                           10:41:27
21            A    No.                                                        10:41:28
22            Q    Do you have any special expertise in                       10:41:33
23    video analysis?                                                         10:41:35
24            A    No.                                                        10:41:37
25            Q    Do you have any special expertise in                       10:41:42


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                           Transcript of Craige Roberts, Ph.D.
                            Conducted on December 7, 2021                46

1     reconstructing events through analysis and videos?                      10:41:44
2             A    No.                                                        10:41:48
3             Q    Let's go to your -- I want to mark your                    10:41:48
4     expert report and I have a copy here.              We are               10:41:56
5     going to mark it as Exhibit A to this deposition.                       10:41:58
6                  (Exhibit A was marked for                                  10:42:01
7     identification.)                                                        10:42:01
8     BY MS. SPEARS:                                                          10:42:12
9             Q    I'm marking Exhibit A to the deposition                    10:42:12
10    and that is a copy of Plaintiff's 26(a)2                                10:42:15
11    disclosures, Phase I followed by Exhibit A to that                      10:42:22
12    disclosure which is a report dated November 10th,                       10:42:29
13    2021; do you recognize this?                                            10:42:35
14            A    Yes, I do.                                                 10:42:37
15            Q    Is this the report you wrote in this                       10:42:38
16    case?                                                                   10:42:41
17            A    Yes.                                                       10:42:41
18            Q    I should say "in these cases"?                             10:42:42
19            A    Yes, that's right.                                         10:42:44
20                       -- (indiscernible) --                                10:42:48
21            Q    If you would look at page 2 to 3 of                        10:42:48
22    your report, so it starts in sort of a letter form                      10:42:51
23    on page 1, "Dear Mr. McMurtry."            Do you see that?             10:43:03
24            A    Yes.                                                       10:43:06
25            Q    And if you go to page -- the appendix                      10:43:07


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                           Transcript of Craige Roberts, Ph.D.
                            Conducted on December 7, 2021                47

1     of the report, essentially.                                             10:43:13
2            A     Sure.                                                      10:43:16
3            Q     It's actually page 1 of the appendix                       10:43:26
4     which is at the back.        It says November of 2021,                  10:43:29
5     Craige Roberts' brief.                                                  10:43:30
6            A     Sorry, are you talking about page 16?                      10:43:31
7            Q     No, it's page 1.                                           10:43:33
8            A     Oh, my CV.      Is that what you are                       10:43:35
9     talking about?                                                          10:43:38
10           Q     Mm-hmm.     Your CV.                                       10:43:39
11           A     Yes.                                                       10:43:43
12           Q     So that we're on the same page, it's                       10:43:43
13    your CV brief.                                                          10:43:45
14           A     Yeah.                                                      10:43:47
15           Q     CV November 2021, page 1.                                  10:43:47
16           A     Yes.                                                       10:43:51
17           Q     It's at the back of your report.              Do           10:43:52
18    you see that?                                                           10:43:53
19           A     Yes.                                                       10:43:54
20           Q     You list several publications here,                        10:43:55
21    starting on page 2 and over to page 3.                                  10:43:59
22                 In any of these publications -- you can                    10:44:06
23    take a minute to look --                                                10:44:08
24           A     Yeah.                                                      10:44:09
25           Q     -- did you analyze videos of live                          10:44:10


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                           Transcript of Craige Roberts, Ph.D.
                            Conducted on December 7, 2021                48

1     action or events to determine the veracity of                           10:44:13
2     statements?                                                             10:44:16
3             A     No.                                                       10:44:17
4             Q     Do any of those publications discuss                      10:44:17
5     how to approach a video analysis review, such as                        10:44:20
6     how to review videos of live events?                                    10:44:24
7             A     No.                                                       10:44:26
8             Q     Page 2, down at the very first list                       10:44:27
9     under books, it says "Haitian Creole English                            10:44:32
10    French Dictionary."       I think you mentioned that                    10:44:36
11    when you were speaking earlier, correct?                                10:44:39
12            A     Yes.                                                      10:44:41
13            Q     I assume that provides translations                       10:44:42
14    between Haitian, Creole, English or French?                             10:44:44
15            A     Correct.                                                  10:44:47
16            Q     Do you speak Haitian Creole and French?                   10:44:49
17            A     Yes.                                                      10:44:52
18            Q     Do you speak any other languages?                         10:44:53
19            A     Not well.                                                 10:44:55
20            Q     Do you speak Haitian Creole and French                    10:44:57
21    well?                                                                   10:45:01
22            A     French pretty well, yes.          Haitian not             10:45:01
23    as well because I haven't had occasion to use it                        10:45:05
24    much since I did the dictionary.                                        10:45:07
25            Q     And that was in 1981?                                     10:45:09


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                            Transcript of Craige Roberts, Ph.D.
                             Conducted on December 7, 2021               49

1              A    I worked on the dictionary from '78 to                    10:45:11
2     '80, when I was first an undergraduate and then a                       10:45:15
3     graduate assistant at Indiana University on the                         10:45:17
4     dictionary project.                                                     10:45:19
5                   I wrote an article that was a                             10:45:23
6     dictionary procedure article which was one of my                        10:45:25
7     first published articles, but I didn't include it                       10:45:28
8     here that was a procedures manual for the                               10:45:31
9     dictionary.                                                             10:45:35
10             Q    That's okay.       You know, I just wanted                10:45:36
11    to establish the timeframe.                                             10:45:37
12             A    Okay.                                                     10:45:39
13             Q    If we have more time I could hear more                    10:45:39
14    about the Haitian Creole dictionary, but I'm going                      10:45:41
15    to pass.                                                                10:45:44
16                  So I take it you speak French as a                        10:45:49
17    foreign language, obviously; you're a native                            10:45:52
18    English speaker, correct?                                               10:45:56
19             A    Correct.                                                  10:45:57
20             Q    Are you able to distinguish languages                     10:45:57
21    from other human sounds?                                                10:46:00
22             A    It depends on the language.            I think I          10:46:01
23    could always tell if it was a human language from                       10:46:03
24    various things, but that's a weird question.                            10:46:05
25    Sorry.                                                                  10:46:08


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                          Transcript of Craige Roberts, Ph.D.
                           Conducted on December 7, 2021                 50

1            Q     That's okay.      I've been accused of                     10:46:10
2     asking weird questions before.          Page 3.     You --              10:46:12
3     the second one down has domain selection and                            10:46:17
4     dynamic semantics in quantification and natural                         10:46:20
5     language.    What is natural language?                                  10:46:26
6            A     Natural language is -- it's in                             10:46:28
7     contraposition to artificial languages which would                      10:46:32
8     be languages like logic, which is a kind of                             10:46:35
9     language or a computer languages.                                       10:46:38
10           Q     I see.    Down a little bit further,                       10:46:39
11    midway on page 3, I see a publication of yours                          10:46:42
12    entitled "Domain selection" in --                                       10:46:46
13           A     That's the same one.                                       10:46:52
14           Q     Oh, that's the same one.          Sorry.                   10:46:52
15    "Discourse Context and Dynamic interpretation."                         10:46:52
16           A     Yes.                                                       10:46:54
17           Q     What's discourse context?                                  10:46:55
18           A     As I said -- I mean, there's a lot of                      10:46:57
19    kinds of context in the world, but I'm talking                          10:47:01
20    about the context that bears on the interpretation                      10:47:03
21    of language, so we call that discourse context                          10:47:05
22    because it's the context in which a discourse                           10:47:08
23    takes place between interlocutors.            I wasn't                  10:47:10
24    speaking specifically of the kind of context                            10:47:18
25    that's relevant for interpretation of language.                         10:47:19


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                           Transcript of Craige Roberts, Ph.D.
                            Conducted on December 7, 2021                  51

1            Q     What does dynamic interpretation mean?                       10:47:24
2            A     Yeah.    Context changes in the course of                    10:47:28
3     interpretation of a single complex sentence                               10:47:31
4     sometimes.    I could give you examples and so you                        10:47:35
5     call that dynamic context.          The context that                      10:47:37
6     changes while the sentence is being spoken.                  I            10:47:39
7     could give you a simple example.            I could say                   10:47:43
8     "Give me a copy of that," pointing in one                                 10:47:46
9     direction; that, pointing in another direction                            10:47:49
10    and; that, pointing in a third direction.                  And the        10:47:52
11    context in which I'm pointing -- the context                              10:47:55
12    includes my pointing and the information that you                         10:47:57
13    get from the pointing about what I'm pointing at                          10:48:01
14    in that, you know, visual context.                                        10:48:04
15                 So there the context has changed                             10:48:05
16    because one point when I said "that" I was                                10:48:07
17    pointing in one direction.          Another point, I'm                    10:48:10
18    pointing in different and then a third.              So that's            10:48:12
19    a dynamic context, but there are many more complex                        10:48:14
20    ways in which a complex syntactic structure leads                         10:48:19
21    to the possibility of updating contextual                                 10:48:22
22    information in the course of interpretation and                           10:48:25
23    that's one of my areas of expertise.                                      10:48:27
24           Q     By the way, you mentioned earlier that                       10:48:32
25    there was a technical debate in your field related                        10:48:34


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                           Transcript of Craige Roberts, Ph.D.
                            Conducted on December 7, 2021                52

1     to some -- some of the works you've -- or some of                       10:48:38
2     the specialities that you focused on.              What were            10:48:44
3     you referencing?                                                        10:48:46
4              A   Well, for example, I told you I'm                          10:48:47
5     teaching a course on indexicality, and there's a                        10:48:48
6     famous theory of indexicality due to a                                  10:48:54
7     philosopher -- you don't need to know all                               10:48:57
8     the details Caplan in the '80s.            And I'm arguing              10:48:58
9     that if you looked across the wide variety of                           10:49:01
10    human languages, there's empirical evidence from                        10:49:03
11    those languages that his theory makes the wrong                         10:49:07
12    predictions in a number of cases and so is                              10:49:10
13    inadequate, so I have a better theory to offer.                         10:49:11
14             Q   Are there any theories of yours in                         10:49:15
15    linguistics that are the subject of debate in your                      10:49:19
16    field?                                                                  10:49:21
17             A   Sure.    Of course.      If you are an                     10:49:29
18    interested theorist, there are.            So mine, I have a            10:49:29
19    theory about "the." I'm actually you're at the                          10:49:32
20    table with one of the world's foremost experts on                       10:49:32
21    the English word "the" which is the most common                         10:49:32
22    word in English language.         And there's a ferocious               10:49:32
23    debate going back to Russell and Whitehead and                          10:49:42
24    Frega (?) in the late 19th, early 20th century                          10:49:45
25    about the meaning of "the."          And I have a stance                10:49:46


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                         Transcript of Craige Roberts, Ph.D.
                          Conducted on December 7, 2021                  53

1     about that which is still controversial.                                10:49:48
2            Q      Anything else in your work that is                        10:49:50
3     controversial?                                                          10:49:52
4            A      Oh, controversial.      I mean, I told you                10:49:54
5     my work on the question under discussion's very,                        10:49:56
6     very influential.     There's a large -- if you go to                   10:49:58
7     my web page, there's a large bibliography, you can                      10:50:02
8     link from there that goes to about half of the                          10:50:06
9     work that's been written about the question under                       10:50:08
10    discussion.                                                             10:50:11
11           Q      Can you tell me just briefly what is                      10:50:11
12    the debate about your theory of the question under                      10:50:13
13    discussion?                                                             10:50:15
14           A      Whether I have the right theory of the                    10:50:16
15    question under discussion.        I characterize it in a                10:50:19
16    certain, very precise formal way, which I could                         10:50:22
17    give you a lecture about, if you wanted.                                10:50:25
18           Q      No thanks.                                                10:50:28
19           A      I don't think you want it, but, but is                    10:50:28
20    that the right way to do it.                                            10:50:30
21                  So one of the students that I'm writing                   10:50:32
22    letters for now has an alternative to one aspect                        10:50:35
23    of my theory which I think improves on it but, of                       10:50:37
24    course, in science, and I'm a scientists, we have                       10:50:40
25    a hypothesis not because we think we're always                          10:50:43


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                         Transcript of Craige Roberts, Ph.D.
                          Conducted on December 7, 2021                  54

1     right, but because we think that's the best                             10:50:48
2     explanation we have to give at this point.                              10:50:50
3                  If new data comes to bear, we revise                       10:50:52
4     our hypothesis, so in that sense, all theory is                         10:50:54
5     always, in science, up for revision.                                    10:50:57
6                  The virtue of a good theory is its                         10:51:03
7     clarity so that we can understand exactly what it                       10:51:05
8     predicts.                                                               10:51:08
9            Q     On page 5 of your CV, in a couple of                       10:51:09
10    talks you've given on character assassination?                          10:51:17
11           A     Mm-hmm.                                                    10:51:21
12           Q     What are those?                                            10:51:21
13           A     It's a joke.     It's a linguistic joke.                   10:51:22
14                 I told you about the guy's name Caplan,                    10:51:25
15    whose work on indexicality is the most influential                      10:51:28
16    and famous in the field and he calls the meaning                        10:51:33
17    of an indexical its character.         It's a technical                 10:51:37
18    term, has a very specific meaning in that theory.                       10:51:40
19    And so I called my talk -- I called my work                             10:51:43
20    character assassination because I'm dissing his                         10:51:45
21    theory of character.                                                    10:51:49
22           Q     Got it.   So, that's helpful.         Thank                10:51:50
23    you.   It's funny as well.                                              10:51:52
24           A     (Laughter)                                                 10:51:56
25           Q     You have a talk towards the bottom of                      10:51:56


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                           Transcript of Craige Roberts, Ph.D.
                            Conducted on December 7, 2021                55

1     page 5, "OSU Pragmatics Group Slurs" from very --                       10:52:02
2              A   Yeah.                                                      10:52:11
3              Q   Well, a year ago.                                          10:52:12
4              A   Yeah.                                                      10:52:12
5              Q   Very recently.       What's this group                     10:52:14
6     about?                                                                  10:52:16
7              A   The OSU Pragmatics Group is something I                    10:52:16
8     started when I was there.         It's a working group                  10:52:19
9     for non-credit for graduate students who are                            10:52:22
10    interested in pragmatics, and it's very important                       10:52:24
11    for their professional development.                                     10:52:26
12             Q   And what's the slurs --                                    10:52:28
13                      -- (overspeaking) --                                  10:52:29
14             A   So I was -- I was attending by Zoom and                    10:52:29
15    their subject of that discussion is slurs, which                        10:52:32
16    are offensive terms in natural language.               And              10:52:38
17    I have some things to say about the meaning of                          10:52:42
18    slurs and how I think they come to bear and bear                        10:52:45
19    on the truth condition of the utterance, that is                        10:52:53
20    to say whether it's true or false.                                      10:52:56
21             Q   And do slurs have universal meaning?                       10:52:58
22             A   No, they are very particular to the                        10:53:00
23    group that uses them, I would say.                                      10:53:02
24             Q   And does the perspective of the                            10:53:05
25    listener or the interlocutor hearing the slur also                      10:53:08


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                             Transcript of Craige Roberts, Ph.D.
                              Conducted on December 7, 2021               56

1     matter?                                                                  10:53:11
2             A       Well, yes, I said "the group."               So          10:53:12
3     if --       if we're in crowd in a certain ethnic group                  10:53:13
4     sometimes a term that would be used by an outsider                       10:53:21
5     as an offensive slur can be used as an in-crowd                          10:53:24
6     group as almost a badge of pride, so it depends on                       10:53:28
7     who you're talking to what the slur -- not just                          10:53:33
8     what it means truth conditionally but the                                10:53:33
9     implications and the emotional connotations, yes.                        10:53:33
10            Q       And cultural differences can --                          10:53:42
11                          -- (overspeaking) --                               10:53:42
12            A       And cultural differences come to bear,                   10:53:43
13    that's correct.                                                          10:53:45
14            Q       Let's look to your CV, page 2.               Have        10:53:50
15    you ever testified in a defamation case before?                          10:54:01
16                    You list a bunch of cases where you've                   10:54:07
17    been engaged as a -- as an expert to do expert                           10:54:08
18    work.                                                                    10:54:11
19            A       No.                                                      10:54:11
20            Q       Have you ever testified in a defamation                  10:54:11
21    case before?                                                             10:54:14
22            A       I don't believe so, no, I have not.                      10:54:15
23            Q       Is this case listed at the bottom of                     10:54:16
24    your list of cases on page 2 or is that a                                10:54:19
25    different case?                                                          10:54:22


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                           Transcript of Craige Roberts, Ph.D.
                            Conducted on December 7, 2021                57

1            A      This is this case.                                        10:54:23
2            Q      So that's Hemmer DeFrank Wessels --                       10:54:24
3            A      Yes.                                                      10:54:27
4            Q      -- Attorneys at Law, Ft. Mitchell.                        10:54:27
5            A      Yes.                                                      10:54:28
6            Q      Retained as expert witness in a                           10:54:28
7     defamation suit, preparing a report.                                    10:54:28
8                   Have you ever been retained by Hemmer                     10:54:33
9     DeFrank Wessels before?                                                 10:54:35
10           A      No.                                                       10:54:37
11           Q      Have you ever been asked to review                        10:54:43
12    videos in connection with any expert testimony                          10:54:45
13    before?                                                                 10:54:46
14           A      No.                                                       10:54:48
15           Q      In how many matters have you provided                     10:54:56
16    expert testimony?                                                       10:54:58
17           A      You mean in the courtroom and                             10:54:59
18    deposition or what do you mean by "provided expert                      10:55:00
19    testimony"?                                                             10:55:03
20           Q      Yeah, let me clarify that.           In how many          10:55:04
21    matters have you provided an expert opinion in an                       10:55:06
22    report?                                                                 10:55:09
23           A      I would have to count.         I don't -- I               10:55:10
24    never -- I haven't kept track of the number.               Out          10:55:11
25    of the cases you see listed here probably 7 or 10.                      10:55:15


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                              Transcript of Craige Roberts, Ph.D.
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1     I'm sorry, I don't know exactly the number.                             10:55:19
2              Q      Does this list here that we see on                      10:55:22
3     pages 1 and 2 contain a complete list of your                           10:55:25
4     work -- legal work -- excuse me, expert work for                        10:55:30
5     legal cases?                                                            10:55:31
6              A      I suspect it does.         I don't remember.            10:55:32
7     Remember, this is a brief curriculum vitae so I                         10:55:35
8     might have taken out something that didn't seem                         10:55:37
9     very important.                                                         10:55:41
10             Q      Have you ever been excluded as an                       10:55:42
11    expert?                                                                 10:55:44
12             A      Excluded, meaning by a judge?                           10:55:44
13             Q      Sure, let me rephrase that.            Has your         10:55:46
14    report ever been excluded in a case?                                    10:55:48
15             A      Sorry, I'm just not sure the technical                  10:55:51
16    sense.       May I try to clarify?                                      10:55:53
17             Q      Let me try to clarify, and I could ask                  10:55:55
18    the question a little better, so thank you.                             10:55:59
19    Have you ever given a report or provided a report                       10:56:01
20    as an expert in a case and your report has been                         10:56:04
21    rejected by the court?                                                  10:56:08
22             A      May I put it a different way?             It            10:56:12
23    was -- was my testimony ever ruled, after the                           10:56:14
24    fact, inadmissible?          Yes.                                       10:56:16
25             Q      Okay.    When?                                          10:56:18


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                         Transcript of Craige Roberts, Ph.D.
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1            A     In the second case here, you have the                      10:56:20
2     Deters, Benzinger LaVelle, etcetera, in the case                        10:56:22
3     pertaining to licensure of healthcare facilities.                       10:56:27
4     I testified at a magistrate's hearing.            It was a              10:56:30
5     very interesting testimony.                                             10:56:33
6                  My attorney knew at the time that my --                    10:56:34
7     because they had very strict legal tradition in                         10:56:37
8     Kentucky of sticking to the plain meaning of the                        10:56:46
9     terms in question, and that there was a                                 10:56:49
10    possibility that my testimony would be deemed                           10:56:51
11    inadmissible because I was testifying as a                              10:56:53
12    linguistic expert.     But the judge -- the                             10:56:58
13    magistrate, rather, wanted to hear my testimony so                      10:57:00
14    he did and it rang the bell.        Even though he                      10:57:03
15    legally decided it wasn't admissible, I think it                        10:57:08
16    had influence on the case's outcome.           I was very               10:57:11
17    proud of my testimony in that case.                                     10:57:14
18           Q     In that case, the magistrate ruled your                    10:57:16
19    testimony inadmissible though?                                          10:57:18
20           A     They ruled that -- not because of what                     10:57:20
21    I said, but because I was a linguistics expert                          10:57:22
22    that the testimony was not admissible.                                  10:57:27
23           Q     Any other cases that you issued a                          10:57:38
24    report in your testimony where your report was                          10:57:40
25    deemed inadmissible?                                                    10:57:44


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                           Transcript of Craige Roberts, Ph.D.
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1              A    No.    Let me say this: If it was, I                      10:57:45
2     don't know.     No one ever said, oh that was deemed                    10:57:52
3     inadmissible.                                                           10:57:54
4              Q    Fair enough.      You have a report listed                10:57:56
5     at -- or I'm sorry, not a report but it says                            10:58:08
6     testified in court on the first listing on page 1                       10:58:13
7     there.                                                                  10:58:16
8              A    Yes.                                                      10:58:16
9              Q    With Dinsmore & Shohl.                                    10:58:16
10             A    Yes.                                                      10:58:16
11             Q    Trademark law and interpretation of an                    10:58:16
12    advertising slogan.                                                     10:58:16
13             A    Yes.                                                      10:58:20
14             Q    What were your opinions in that case?                     10:58:24
15             A    Let me see if I can remember the                          10:58:26
16    details.     It was a fascinating case.          In Ohio we             10:58:28
17    have Nationwide Insurance which has this                                10:58:33
18    well-known advertising slogan:           "Nationwide at                 10:58:35
19    your side."     I think that's it.                                      10:58:40
20             Q    I'm familiar with it.                                     10:58:41
21             A    Yes, every everybody is.          And there was           10:58:42
22    a little bank in New England.           I can't remember                10:58:44
23    which one, Sovereign Bank and they had come up                          10:58:47
24    with a new advertising slogan, "Sovereign Bank                          10:58:50
25    always by your side" or something like that.               I            10:58:54


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                         Transcript of Craige Roberts, Ph.D.
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1     can't remember.     I'm sorry, you know, I'd have to                    10:58:59
2     look up the slogan now, but I testified on the                          10:59:01
3     part of Sovereign that the new slogan they wanted                       10:59:04
4     to use was not synonymous with Nationwide at your                       10:59:10
5     side."                                                                  10:59:14
6                  Oh, no, "Nationwide on your side,"                         10:59:14
7     That's it.    "Nationwide on your side" versus                          10:59:17
8     "Sovereign Bank always at your side."            And I                  10:59:19
9     testified that they are not synonymous, yeah.                           10:59:22
10    I had a really good punch line.          You want to hear               10:59:30
11    my punch line?                                                          10:59:33
12             Q   Not really --                                              10:59:34
13             A   Oh, too bad.                                               10:59:35
14             Q   -- but it seems like you want to tell                      10:59:35
15    me.                                                                     10:59:36
16             A   That's okay.                                               10:59:36
17             Q   What was it?                                               10:59:36
18             A   Well, it's about truth conditions.          So             10:59:36
19    the attorney for Nationwide was cross-examining me                      10:59:39
20    and he said, you know -- he was questioning my                          10:59:45
21    analysis and I just said to him that -- I agreed                        10:59:49
22    that, yeah, I thought he would have to agree that                       10:59:52
23    the point where he was standing was at the side of                      10:59:55
24    the attorney for Sovereign Bank.          He agreed that                10:59:58
25    was true.                                                               11:00:02


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                           Transcript of Craige Roberts, Ph.D.
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1                  And I said you are certainly not on his                    11:00:03
2     side, are you?       And he agreed that that was not                    11:00:05
3     true.                                                                   11:00:08
4                  So, I made the point that they were not                    11:00:08
5     truth conditionally synonymous and in linguistic                        11:00:11
6     terms, that means they're not synonymous.                               11:00:14
7             Q    Okay, so let's --                                          11:00:18
8             A    Sorry, may -- the reason I told that                       11:00:19
9     you is that I think it has a --                                         11:00:20
10                      -- (overspeaking) --                                  11:00:21
11            Q    That's okay.       That's fine. The next --                11:00:23
12    you don't have to continue.          The next thing on                  11:00:24
13    here is Deters and Benzinger.                                           11:00:29
14            A    That's the one we talked about --                          11:00:35
15                      -- (overspeaking) --                                  11:00:36
16            A    -- the Kentucky magistrate.                                11:00:36
17            Q    Okay.     There's a matter on here about                   11:00:37
18    midway down, Dritz, PLL interpretation of email                         11:00:56
19    correspondence at issue in a criminal case.                             11:01:01
20            A    Yes, that's correct.                                       11:01:09
21            Q    What were your opinions in that case?                      11:01:10
22            A    I did not write an expert opinion.            I            11:01:10
23    gave them informal information about my                                 11:01:10
24    interpretation.                                                         11:01:13
25            Q    Are any of these other cases ones in                       11:01:16


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                           Transcript of Craige Roberts, Ph.D.
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1     which you actually wrote a report?                                      11:01:23
2              A    Several of them are ones in which I                       11:01:26
3     wrote a report, yeah.                                                   11:01:27
4              Q    And you've indicated here if you wrote                    11:01:29
5     a report or not?                                                        11:01:31
6              A    Sorry, I didn't put that on the CV.                       11:01:33
7     I'd have to look at my records to tell you which                        11:01:34
8     ones I actually ended up writing formal reports                         11:01:37
9     for.                                                                    11:01:39
10             Q    Okay, in some -- a few of these cases                     11:01:40
11    it appears that the testimony you gave was about                        11:01:44
12    interpretation of statutes or contracts; is that                        11:01:46
13    correct?                                                                11:01:49
14             A    Yes.                                                      11:01:49
15             Q    In interpreting a statute or a                            11:01:55
16    contract, have you done work where you're                               11:02:00
17    examining solely the language of the contract to                        11:02:04
18    interpret intent or have you looked to any other                        11:02:07
19    resources, such as -- well, let me just stop right                      11:02:10
20    there.                                                                  11:02:13
21             A    When I give my report, my expert                          11:02:19
22    opinion as a linguist, I am not giving you my                           11:02:23
23    expert opinion as someone with expertise in the                         11:02:26
24    law.     The hardest thing about teaching a course on                   11:02:28
25    language in the law is that I'm not an expert on                        11:02:31


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                           Transcript of Craige Roberts, Ph.D.
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1     the law.    So when I write an opinion or give an                       11:02:33
2     opinion in testimony, I'm talking about the plain                       11:02:36
3     meaning of whatever it is I am analyzing.                               11:02:40
4            Q     Let me ask you this though.            If you --           11:02:44
5     in one of these cases, let's talk about the Sparks                      11:02:44
6     case here just to be specific.                                          11:02:47
7            A     Which one is this?                                         11:02:48
8            Q     It's about midway through --                               11:02:50
9            A     Commercial contracts.                                      11:02:51
10           Q     On the interpretation of a commercial                      11:02:51
11    contract.                                                               11:02:53
12           A     Yes.                                                       11:02:54
13           Q     In that case did you interpret solely                      11:02:54
14    the language of the contract?                                           11:02:57
15           A     Yes.                                                       11:02:58
16           Q     And did you consider any other                             11:02:59
17    information, such as statutory history?                                 11:03:09
18           A     No, I was not told to do so.            These are          11:03:12
19    cases where the plain language of the document was                      11:03:15
20    at issue.                                                               11:03:17
21           Q     Okay.    Let's go to the beginning of                      11:03:18
22    your report here.       Back to the beginning.                          11:03:36
23    Actually, if you go back to the very first page of                      11:03:37
24    the caption to the "Plaintiff’s Rule 26(a)(2)                           11:03:49
25    Disclosures (Phase One)."                                               11:03:50


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                          Transcript of Craige Roberts, Ph.D.
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1            A     Sorry, where are you?         Oh, yes, okay.               11:03:50
2     Yes.                                                                    11:03:54
3            Q     Got that?     Okay.    That indicates you're               11:04:03
4     going to testify at trial for Nicholas Sandmann;                        11:04:06
5     is that correct?                                                        11:04:10
6            A     Yes, I have agreed to do so.                               11:04:10
7            Q     And do you understand what Phase I                         11:04:12
8     means in this case?                                                     11:04:14
9            A     No.    I mean, I know what the English                     11:04:15
10    means but I don't really know the legal                                 11:04:20
11    implications.                                                           11:04:22
12           Q     Okay, your report is dated                                 11:04:23
13    November 10th, as we talked about before and is                         11:04:24
14    attached to this.      When were you first contacted                    11:04:26
15    about this matter?                                                      11:04:31
16           A     I believe that was in September of '21.                    11:04:33
17           Q     September of '21, okay.          And who were              11:04:42
18    you contacted by?                                                       11:04:42
19           A     Todd McMurtry.                                             11:04:43
20           Q     Was anyone else present?                                   11:04:45
21           A     No, it was an email contact initially                      11:04:46
22    and then phone.                                                         11:04:48
23           Q     And what -- you spoke with Mr. McMurtry                    11:04:50
24    by phone?                                                               11:04:56
25           A     Initially, yes.                                            11:04:57


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1            Q     And what was said in that conversation?                    11:04:58
2            A     He told me that there was a case                           11:05:02
3     involving defamation.      He told me roughly what it                   11:05:04
4     was about.                                                              11:05:07
5                  I remembered having seen the news                          11:05:08
6     report of the initial -- the initial news reports                       11:05:10
7     about the encounter between Mr. -- I didn't                             11:05:14
8     remember the name, Sandmann or Phillips and he                          11:05:17
9     asked me if I would be willing to give my expert                        11:05:22
10    opinion about the meaning of two passages, and I                        11:05:24
11    said I would but I reminded him that I only say                         11:05:26
12    what I think it actually means.          I'm not                        11:05:30
13    testifying to an end.                                                   11:05:34
14           Q     And did you discuss the matter with                        11:05:40
15    anyone else?                                                            11:05:43
16           A     No, I was asked to retain -- to keep                       11:05:44
17    this in confidence.                                                     11:05:48
18           Q     When did you begin preparing your                          11:05:53
19    report?                                                                 11:05:56
20           A     I'm sorry, I'd have to look at my                          11:05:57
21    records but I think it was in September, to my                          11:05:59
22    recollection.                                                           11:06:01
23           Q     And --                                                     11:06:03
24           A     Maybe it wasn't until October.              I'm            11:06:07
25    sorry, I think -- I'm not sure exactly when I                           11:06:09


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1     started doing the work.                                                 11:06:12
2            Q     Did you do it over a long period of                        11:06:16
3     time in October -- or not a long period.               I                11:06:19
4     shouldn't characterize it that way -- did you do                        11:06:22
5     it over a month --                                                      11:06:23
6                        -- (overspeaking) --                                 11:06:24
7            A     I think I -- no, I think I wrote the                       11:06:24
8     report.    I think what happened in September was                       11:06:26
9     that I initially had access to the videos and the                       11:06:28
10    passages that I was to look at and I gave -- I                          11:06:32
11    reviewed those and I gave Todd a preliminary                            11:06:37
12    assessment of whether I thought those passages                          11:06:40
13    were true or not of what I saw in the videos.              And          11:06:44
14    then he came back later, probably in late October                       11:06:46
15    and said we'd like you to write a report, and                           11:06:49
16    I believe it took me about seven or eight days to                       11:06:52
17    write the report.                                                       11:06:57
18           Q     Did you have any in-person meetings                        11:06:58
19    with anyone or just telephone calls --                                  11:07:03
20                        -- (overspeaking) --                                11:07:04
21           A     No.                                                        11:07:05
22           Q     -- with Mr. --                                             11:07:05
23           A     Telephone calls and video ...used Zoom.                    11:07:07
24           Q     Can you look on your report at page --                     11:07:13
25    continuing on from where we were before, page 5 --                      11:07:20


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1            A     The report.                                                11:07:23
2            Q     -- at the end of your legal work.                          11:07:23
3            A     Oh, you're talking about my appendix?                      11:07:31
4            Q     I know you took the clip off of it, so                     11:07:34
5     it's a little out of order.          You might want to put              11:07:36
6     the clip back on.                                                       11:07:38
7            A     There's separate numbers on the CV.           I            11:07:40
8     wasn't sure you were talking about the report or                        11:07:42
9     the CV.                                                                 11:07:44
10           Q     Yes, I'm sorry, I'm talking about the                      11:07:44
11    report at this time.                                                    11:07:46
12           A     Okay.     Page 5.                                          11:07:47
13           Q     Page 5.                                                    11:07:48
14           A     Yes.                                                       11:08:03
15           Q     Okay, "IV Bases for Opinions and                           11:08:03
16    Materials Considered."                                                  11:08:03
17                 It says here, "I have been provided                        11:08:06
18    with the following materials on which to base my                        11:08:09
19    opinion" and then it goes on page 5, 6 and                              11:08:10
20    continues onto page 7; is that correct?                                 11:08:15
21           A     Correct.                                                   11:08:16
22           Q     Are the materials -- strike that.                          11:08:21
23                 Are all the materials that you reviewed                    11:08:22
24    in connection with your report listed here on                           11:08:23
25    Pages 5 to 7?                                                           11:08:25


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1            A     That's correct.                                            11:08:27
2            Q     Okay, so those that are listed here on                     11:08:27
3     pages 5 to 7 are the only materials you reviewed,                       11:08:30
4     correct?                                                                11:08:32
5            A     That is correct.                                           11:08:34
6            Q     On page --                                                 11:08:34
7                       -- (overspeaking) --                                  11:08:35
8            A     May I say, in the original material,                       11:08:35
9     set of materials I was given, there was some more                       11:08:37
10    videos, but they were parts of the videos that                          11:08:40
11    I have listed here so I didn't see any other                            11:08:42
12    additional materials.                                                   11:08:45
13                 In other words, there were snippets of                     11:08:46
14    some of these videos that were separate from them                       11:08:50
15    for some reason in among the original materials I                       11:08:50
16    looked at but they are all included in the videos                       11:08:50
17    here on the report.                                                     11:08:55
18           Q     So just to clarify, you have videos of                     11:08:56
19    scene in front of the Lincoln Memorial on January                       11:08:59
20    18th of 2019 --                                                         11:09:02
21           A     Correct.                                                   11:09:02
22           Q     -- and it lists video 1 through video                      11:09:02
23    18.                                                                     11:09:04
24           A     Correct.                                                   11:09:06
25           Q     Correct?     And what you're talking about                 11:09:07


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1     is those are the 18 videos that you had?                                11:09:08
2             A    That's right.                                              11:09:11
3             Q    And that there may have been additional                    11:09:12
4     videos, but they were just snippets of the same 18                      11:09:13
5     videos, correct?                                                        11:09:16
6             A    That's correct.                                            11:09:18
7             Q    And other than those videos and the                        11:09:18
8     newspaper articles listed and the other materials                       11:09:25
9     listed on pages 6 and 7, there were no other                            11:09:28
10    materials that you reviewed?                                            11:09:31
11            A    That's correct.                                            11:09:34
12            Q    On page 5 it states: "I have been                          11:09:34
13    provided with the following materials on which to                       11:09:36
14    base my opinion," at the bottom there.              Do you see          11:09:40
15    that?                                                                   11:09:44
16            A    Yeah.                                                      11:09:44
17            Q    Who provided the materials to you?                         11:09:45
18            A    Mr. McMurtry's office.          His secretary              11:09:47
19    sent them.                                                              11:09:49
20            Q    So under videos we just talked about,                      11:09:57
21    the next category is newspaper articles reporting                       11:10:00
22    on the incident of interest on page 6.              And is              11:10:05
23    this list here a complete list of all the news                          11:10:09
24    articles you were provided and reviewed in                              11:10:13
25    connection with your report?                                            11:10:15


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1             A    That is correct.                                           11:10:16
2             Q    And did you review any of the TV news                      11:10:17
3     broadcasts or video news segments that accompanied                      11:10:20
4     the online news articles or did you just review                         11:10:23
5     the online articles?                                                    11:10:25
6             A    If you go to those links, if on the                        11:10:27
7     link there was a video of the news reporter, I                          11:10:30
8     looked at that or there was, you know -- and that                       11:10:32
9     is to say, if embedded in the news article there                        11:10:35
10    was a video, I watched it.                                              11:10:38
11            Q    Umm...                                                     11:10:42
12            A    But that's all.                                            11:10:44
13            Q    So, for example, in the second entry                       11:10:44
14    here on page 6 for ABC's on-line article, Chris                         11:10:51
15    Francescani and Bill Hutchinson you reviewed the                        11:10:52
16    online article and if there was a video segment                         11:11:02
17    linked to that you would have reviewed that, as                         11:11:05
18    well?                                                                   11:11:07
19            A    I would have watched it, yes.                              11:11:08
20            Q    Do you recall watching it?                                 11:11:10
21            A    No, I do not.                                              11:11:11
22            Q    So for the next one, the CBS online                        11:11:12
23    article it just lists the online article, Native                        11:11:15
24    American veteran in viral video by Justin                               11:11:18
25    Carissimo.    Did you review just that online                           11:11:18


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1     article or a broadcast linked within that article?                      11:11:27
2             A    I'm sorry, I'd have to look at the                         11:11:33
3     links that I was sent and look exactly at what I                        11:11:34
4     saw.                                                                    11:11:37
5                  As I recall, the only videos embedded                      11:11:38
6     in these articles in general -- I don't remember                        11:11:40
7     which was which, were either a news reporter                            11:11:43
8     saying this is what happened and -- or a short                          11:11:46
9     clip from one of the 18 videos that we have seen                        11:11:51
10    here.                                                                   11:11:54
11            Q    Okay, so sitting here today with                           11:11:54
12    respect to CBS's online article that you have                           11:11:56
13    listed do you recall whether or not you also                            11:11:59
14    watched the video segment, went to that article?                        11:12:02
15            A    I do not recall about specific                             11:12:06
16    articles.    The reason I do not recall is that                         11:12:09
17    after I had viewed all this material I decided to                       11:12:11
18    base my report entirely on the videos 1 through                         11:12:14
19    18, which is what I have done so I did not review                       11:12:18
20    those subsequently, those newspaper articles.                           11:12:23
21            Q    And would that be the same if I asked                      11:12:30
22    you for the other newspaper articles --                                 11:12:32
23            A    Yes, yes.                                                  11:12:34
24                      -- (overspeaking) .                                   11:12:35
25            Q    Let me finish the question.          Okay,                 11:12:36


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1     thank you.    As to the other news articles listed                      11:12:37
2     here, you don't recall sitting here today whether                       11:12:41
3     you reviewed anything but the online article;                           11:12:43
4     you'd have to go back and...                                            11:12:46
5            A     I do recall that I did not seek out                        11:12:48
6     additional information linked to or associated                          11:12:50
7     with the articles.                                                      11:12:54
8                  If there was in the article a video                        11:12:54
9     clip, I clicked on that and watched it, otherwise                       11:12:58
10    I did not go further.                                                   11:13:02
11           Q     Sitting here today you don't recall                        11:13:07
12    which specific ones you would have clicked on                           11:13:09
13    links within the articles, correct?                                     11:13:11
14           A     No, I do not.                                              11:13:13
15           Q     Under "other materials" on page 7, I                       11:13:16
16    list four other materials; do you see that there?                       11:13:23
17           A     Yes.                                                       11:13:29
18           Q     Final investigative report.           Letter               11:13:31
19    from Nick Sandmann to Bob Rowe.           Transcription of              11:13:33
20    Nick Sandmann's deposition.         Statement of Nick                   11:13:38
21    Sandmann.    Are these the only materials that you                      11:13:40
22    reviewed in connection with your report?                                11:13:44
23           A     That is correct.                                           11:13:46
24           Q     And on page 8 you list at the top of                       11:13:47
25    page 8, you know, you consulted several of the                          11:13:56


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                           Transcript of Craige Roberts, Ph.D.
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1     most respected dictionaries.          And you list three                11:13:58
2     dictionaries there:          The Oxford English Dictionary              11:14:01
3     on Historical Principles, Oxford University Press,                      11:14:03
4     the Merriam-Webster's Collegiate Dictionary (11th                       11:14:08
5     Edition) and The American Heritage Dictionary of                        11:14:11
6     the American Language."          You consulted those three              11:14:16
7     dictionaries, correct?                                                  11:14:20
8              A      That's correct.                                         11:14:21
9              Q      Did you consult any other dictionaries?                 11:14:22
10             A      No, I did not.                                          11:14:23
11             Q      We have been going about an hour now;                   11:14:36
12    is that right?       Should we take like a five-minute                  11:14:39
13    break?       Is that okay?                                              11:14:42
14                    MR. McMURTRY:     Sure.                                 11:14:44
15                    MS. SPEARS:     Okay, thanks.                           11:14:46
16                    THE VIDEOGRAPHER:     The going                         11:14:48
17    off-the-record, the time is 11:14 a.m.                                  11:14:48
18        (Recess taken from 11:14 a.m. to 11:29 a.m.)                        11:14:51
19                    THE VIDEOGRAPHER:     We are going back on              11:29:36
20    the record.       The time is 11:29 a.m.                                11:29:37
21    BY MS. SPEARS:                                                          11:29:41
22             Q      Okay, we're back on the record.            So in        11:29:42
23    your report -- going back to your report                                11:29:52
24    (indiscernible) on page 1 of the actual report                          11:29:55
25    (indiscernible) the page that's dated November                          11:29:55


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1     10th 2021.                                                              11:29:55
2            A     Yes.                                                       11:29:55
3            Q     Because there's several page ones. I                       11:29:55
4     want to make sure I'm on (inaudible) you state                          11:29:55
5     that you have been retained to answer the                               11:30:15
6     following two questions pertaining to the above                         11:30:15
7     cases basing my answers on the videos provided to                       11:30:15
8     me (listed in section IV) below.           And then those               11:30:15
9     are -- just let me stop there for a second.               Those         11:30:33
10    are videos 1 through 18, correct?                                       11:30:36
11           A     Correct.                                                   11:30:39
12           Q     And then you state later in the report,                    11:30:39
13    that you've relied on videos provided to acquaint                       11:30:43
14    you with as much details as possible of the                             11:30:48
15    situation, correct?                                                     11:30:51
16           A     Correct.                                                   11:30:52
17           Q     How did you use the videos 1 to 18 in                      11:30:52
18    reaching your decision?        What was your process?                   11:30:55
19           A     I watched them many times and tried to                     11:30:58
20    grab what was going on in each one and how they                         11:31:04
21    correlated with each other, what was going on                           11:31:06
22    generally in the situation and then, very                               11:31:09
23    specifically, I watched repeatedly the segments of                      11:31:11
24    the videos, especially the ones that I mentioned                        11:31:15
25    in the report, where there was the lead-up to the                       11:31:18


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                          Transcript of Craige Roberts, Ph.D.
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1     interaction between Phillips and Sandmann and the                       11:31:22
2     actual confrontation and the time at which it                           11:31:26
3     broke off and what followed immediately after                           11:31:35
4     that.                                                                   11:31:35
5                  So I watched those many, many times.                       11:31:36
6     Stopped them, went back, tried to see at which                          11:31:37
7     point which things happened and what evidence I                         11:31:40
8     could have about -- could see in the videos about                       11:31:41
9     the nature of the interaction.                                          11:31:45
10             Q   Where did you watch the videos?                            11:31:49
11             A   In my home office.                                         11:31:50
12             Q   And what type of screen or device did                      11:31:52
13    you watch the videos on?                                                11:31:54
14             A   I have two large Dell monitors and I                       11:31:55
15    put usually documents on one and videos on the                          11:31:58
16    other.                                                                  11:32:00
17             Q   And did you utilize any software to                        11:32:01
18    watch them faster or slower or frame-by-frame?                          11:32:05
19             A   No.                                                        11:32:08
20             Q   How much time did you say you spent                        11:32:09
21    watching the videos?       You say you spent a lot of                   11:32:11
22    time, quantify it for me.                                               11:32:15
23             A   My.    Well, I did it over the course of,                  11:32:18
24    you know, first a couple of days when I gave my                         11:32:21
25    initial and formal opinion and then over a week.                        11:32:25


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1                   I must have spent at least two or three                   11:32:28
2     hours looking at those segments of the videos.                          11:32:32
3            Q      So in total you'd say you spent what                      11:32:36
4     two or three hours looking at the --                                    11:32:38
5                      -- (overspeaking) --                                   11:32:39
6            A      The relevant segments.                                    11:32:39
7            Q      -- 18 videos?                                             11:32:39
8                       -- (overspeaking) --                                  11:32:41
9            A      The relevant segments.       Some of the                  11:32:41
10    videos I just reviewed quickly.                                         11:32:45
11                  They were much more overall characters                    11:32:48
12    of what's going on in the situation at the time,                        11:32:49
13    for example with the Black Hebrew Israelites and                        11:32:50
14    things like that.                                                       11:32:54
15                  I subsequently didn't pay much                            11:32:54
16    attention to the segments, except for ones that                         11:32:57
17    pertained to the -- immediate lead-up to the                            11:32:59
18    Phillips Sandmann confrontation.                                        11:33:03
19           Q      And so what was your goal then in                         11:33:05
20    reviewing the videos?                                                   11:33:10
21           A      My methodology is very simple: As I                       11:33:13
22    told you, as a linguist I tried to get the truth                        11:33:17
23    conditions.                                                             11:33:20
24                  Meaning is very rich and we talked                        11:33:21
25    about slurs, for example, so there's many aspects                       11:33:23


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                         Transcript of Craige Roberts, Ph.D.
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1     of meaning that you can't characterize in terms of                      11:33:25
2     true or false and straightforward.           There's                    11:33:28
3     emotional responses and offence and things.              I              11:33:29
4     wasn't looking for that.                                                11:33:33
5                  I was trying to look at getting at when                    11:33:34
6     would one of these passages that I was asked to                         11:33:36
7     weigh in on, what would the situation be like in                        11:33:40
8     order for that to be true and then I needed to                          11:33:45
9     look at the videos to see, is this a situation in                       11:33:47
10    which, given those truth conditions as I                                11:33:49
11    understand them, given the plain language there,                        11:33:51
12    is this a situation in which this passage is true.                      11:33:55
13                 So in order to do that I had to                            11:33:58
14    acquaint myself as thoroughly as possible with the                      11:34:01
15    events of that day as presented in the videos.                          11:34:03
16    That's the only evidence that I had about what                          11:34:05
17    actually occurred.                                                      11:34:07
18           Q     Okay, and so you were reviewing the                        11:34:10
19    videos to determine the facts of what happened?                         11:34:13
20           A     Correct, insofar as they're represented                    11:34:16
21    in the videos.                                                          11:34:20
22           Q     And trying to reconstruct from the                         11:34:20
23    videos what happened, correct?                                          11:34:23
24           A     Right.                                                     11:34:24
25           Q     And later in your opinion on page 8,                       11:34:25


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1     that last paragraph there on page 8, you explain                        11:34:33
2     that, "Although (you) subsequently read                                 11:34:37
3     statements, interviews and depositions by Mr.                           11:34:37
4     Phillips and Mr. Sandmann pertaining to their                           11:34:37
5     encounter (that you) endeavored to form (your)                          11:34:37
6     opinion not on the basis of those subsequent                            11:34:37
7     statements, but solely on the basis of the                              11:34:37
8     evidence in the videos," is that right?                                 11:34:37
9            A     Correct.                                                   11:34:55
10           Q     And I think you said that before.                          11:34:56
11    Why -- or when did you decide to base your report                       11:34:58
12    solely on the videos 1 through 18?                                      11:35:00
13           A     As soon as I had reviewed all the                          11:35:03
14    materials in the initial informal reviews that I                        11:35:05
15    did, I -- knowing what my expertise is, is my                           11:35:08
16    expertise is solely is were these statements, as I                      11:35:14
17    understand them, as a native speaker and a                              11:35:18
18    linguist, were these statements true of the                             11:35:23
19    situation?                                                              11:35:24
20                 The only evidence I have about what                        11:35:25
21    actually occurred there is the videos.            All the               11:35:27
22    statements subsequent are people's opinions about                       11:35:29
23    it or the way they represented it.           That has no                11:35:32
24    bearing on whether the statements were true.                            11:35:35
25           Q     Okay, and so that's why -- well, strike                    11:35:43


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1     that.       So why was it important to form your                        11:35:43
2     opinions solely on the basis of the videos then?                        11:35:45
3             A       The video is the only direct evidence                   11:35:53
4     we have of what actually -- or that I have,                             11:35:54
5     anyway, of what occurred there.            I wasn't there               11:35:55
6     and anything anybody tells me, they'd be skewed by                      11:35:58
7     their own -- you know, what's at stake for them.                        11:36:03
8             Q       And you note that on page 8 here:                       11:36:05
9     "Someone's memory or construal of an event may not                      11:36:07
10    correspond to the facts about the situation in                          11:36:07
11    which it occurred.       It is only the situation                       11:36:07
12    itself that is relevant to the truth of a                               11:36:07
13    statement purporting to describe it." What do you                       11:36:07
14    mean by their construal of an event?             Do you mean            11:36:20
15    the way a person perceives an event or what do you                      11:36:25
16    mean?                                                                   11:36:27
17            A       "Perceives" is too crude.        I think                11:36:28
18    people interpret what's happening to them all the                       11:36:31
19    time it and that that can lead them to distort or                       11:36:33
20    misrepresent what they're actually seeing right in                      11:36:37
21    front of them.       And so as we know, in the law,                     11:36:40
22    testimony always has to be understood relative to                       11:36:43
23    the state of the person testifying, so I'm much                         11:36:45
24    more interested in what I could see with my own                         11:36:50
25    eyes in the videos.                                                     11:36:51


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1             Q    So what do you mean by "construal"                         11:36:53
2     then?                                                                   11:36:59
3             A    Construal's like, for example -- in the                    11:36:59
4     statements, Mr. Phillips says that "the guy..."                         11:37:03
5     Let me find one of the passages, that Sandmann                          11:37:13
6     positioned himself in front of him.           Well, it's no             11:37:16
7     doubt true that Sandmann was in front of Phillips.                      11:37:19
8                  Did Sandmann position himself in front                     11:37:23
9     of Phillips?    That's another matter.         That's                   11:37:26
10    Phillips' construal of the interaction that took                        11:37:29
11    place between them.      So I didn't want to consider                   11:37:32
12    anybody else's interpretation of the situation                          11:37:38
13    because they might have interests that lend them                        11:37:40
14    to misunderstand what happened in front of them.                        11:37:42
15            Q    So that's his interpretation of that                       11:37:48
16    situation.                                                              11:37:50
17            A    That's his -- it's his representation                      11:37:50
18    of the situation.     I'm not a psychologist.            I'm            11:37:51
19    not trying to say why he represented it that way.                       11:37:53
20            Q    What -- so, a person can perceive an                       11:37:57
21    event in a certain way but their perception may be                      11:38:03
22    mistaken, is that what you're saying?                                   11:38:07
23            A    It may be that their perception is                         11:38:11
24    mistaken or they may interpret what they actually                       11:38:12
25    see, in terms of intentions in particular in a way                      11:38:15


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1     that does not necessarily reflect what occurred.                        11:38:18
2            Q     Okay, so you'd -- by design your                           11:38:20
3     ultimate opinions are purposefully based only on                        11:38:23
4     the videos and not based on what anyone who was                         11:38:27
5     there said about what they remembered or construed                      11:38:31
6     about the event, correct?                                               11:38:34
7            A     That's correct.                                            11:38:35
8            Q     And so in forming your opinions to                         11:38:35
9     answer the two questions you were asked in this                         11:38:37
10    case you did not rely on Mr. Sandmann's deposition                      11:38:39
11    transcript or his other statements about the                            11:38:44
12    incident; is that correct?                                              11:38:45
13           A     That is correct.      In fact, I didn't                    11:38:47
14    even finish reading the Sandmann deposition.               I            11:38:48
15    decided that it would be a waste of their time and                      11:38:51
16    money for me to do that.                                                11:38:53
17           Q     I take it you did not interview                            11:38:55
18    Mr. Sandmann either?                                                    11:38:56
19           A     I have never met him or talked with                        11:38:57
20    him.                                                                    11:38:59
21           Q     Why not?                                                   11:39:00
22           A     I don't think that bears on my expert                      11:39:02
23    witness testimony.      My expertise is about:           Were           11:39:04
24    these true in the situation as it actually                              11:39:09
25    occurred?    The only evidence I have of what                           11:39:12


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1     actually occurred is the video.                                         11:39:14
2            Q     Okay, and in forming your opinions to                      11:39:16
3     answer the two questions you were asked in this                         11:39:19
4     case, you also did not interview Mr. Phillips or                        11:39:20
5     rely on any of Mr. Phillips' other statements                           11:39:24
6     about the incident for the same reasons then,                           11:39:27
7     correct?                                                                11:39:28
8            A     That's correct.                                            11:39:29
9            Q     And I take it you also did not discuss                     11:39:30
10    the facts of the incident with any Covington                            11:39:35
11    Catholic High School students or chaperones or any                      11:39:41
12    of the bystanders or participants who were present                      11:39:44
13    for the same reasons; is that correct?                                  11:39:47
14           A     So far as I know, I've never met any of                    11:39:47
15    these people or spoken to them and for that reason                      11:39:50
16    I would not want to.                                                    11:39:52
17           Q     Okay, so if I understand you're                            11:39:53
18    endeavoring to be as objective as possible, to                          11:39:54
19    review the video evidence and tell the court                            11:39:57
20    objectively what happened here, based solely on                         11:40:00
21    your review of the videos; right?                                       11:40:02
22           A     That's what I endeavored to do.                            11:40:04
23           Q     Let's look at page 13 of your report.                      11:40:14
24    In page 13 of the report, in the last paragraph                         11:40:43
25    you conclude, based on your review of the videos                        11:40:45


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1     that -- if you look at that last paragraph there:                       11:40:49
2     "Phillips' outward behavior was consistent with                         11:40:49
3     his merely intending to confront Sandmann. Hence                        11:40:49
4     Phillips' claim that Sandmann intended to block                         11:40:49
5     Phillips' way seems to be a conjecture on his                           11:40:49
6     part."                                                                  11:40:49
7                   So Phillips' statement seems to you, to                   11:41:03
8     be his conjecture that Sandmann intended to block                       11:41:05
9     him, right?                                                             11:41:08
10             A    That is his interpretation of the                         11:41:08
11    situation.     That's the way he represents it.                         11:41:09
12             Q    So it's his conjecture, as you say?                       11:41:12
13             A    That's the best understanding I have of                   11:41:14
14    it, yes.                                                                11:41:16
15             Q    Did you consider that Phillips'                           11:41:17
16    experience as a Native American may have                                11:41:18
17    influenced how he perceived Mr. Sandmann's intent?                      11:41:21
18             A    I have no doubt that that's true but                      11:41:25
19    that does not fall within my expertise.                                 11:41:27
20             Q    Are you a Native American?                                11:41:30
21             A    No, I'm not.                                              11:41:32
22             Q    You didn't grow up with Mr. Phillips'                     11:41:33
23    life experiences, right?                                                11:41:35
24             A    Of course I did not.                                      11:41:37
25             Q    And you are not trying to suggest that                    11:41:38


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1     you understand what his life experiences are as a                       11:41:39
2     Native American or his experiences earlier in the                       11:41:45
3     day in March, such that you know what he was                            11:41:47
4     thinking during the encounter with Mr. Sandmann,                        11:41:52
5     right?                                                                  11:41:54
6                   MR. McMURTRY:    Objection.      Go ahead.                11:41:55
7                   THE WITNESS:    I have no idea of what                    11:41:56
8     those are, no.     I did not represent myself as                        11:41:56
9     understanding that.                                                     11:42:01
10    BY MS. SPEARS:                                                          11:42:01
11             Q    And you wouldn't deny the legitimacy of                   11:42:02
12    someone else's cultural experiences or                                  11:42:05
13    perceptions, right?                                                     11:42:08
14                  MR. McMURTRY:    Objection.                               11:42:09
15                  THE WITNESS:    I think that has no                       11:42:09
16    bearing on my expert witness testimony.                                 11:42:10
17    BY MS. SPEARS:                                                          11:42:13
18             Q    But you're not trying to substitute                       11:42:15
19    your perception for Mr. Phillips' perception as a                       11:42:17
20    Native American, right?                                                 11:42:20
21                  MR. McMURTRY:    Objection.                               11:42:22
22                  THE WITNESS:    Again, I think that has                   11:42:22
23    no bearing on what I have done here.           I'm not                  11:42:23
24    doing that.                                                             11:42:26
25    BY MS. SPEARS:                                                          11:42:27


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1            Q     People expressing their perceptions and                    11:42:29
2     experiences, as we talked about before, typically                       11:42:30
3     filter them through their own life experiences and                      11:42:33
4     cultural references.       You'd agree with that,                       11:42:37
5     right, we all do?                                                       11:42:39
6            A     Most people do, yes.                                       11:42:40
7            Q     Yes.   And you've done that before in                      11:42:46
8     your life, right?                                                       11:42:47
9                  MR. McMURTRY:      Objection.      Go ahead.               11:42:49
10                 THE WITNESS:      I presume I have, yes.                   11:42:50
11    BY MS. SPEARS:                                                          11:42:52
12           Q     And you've seen others do so, right?                       11:42:52
13           A     I have seen that.                                          11:42:54
14           Q     Isn't that also the case where someone                     11:42:57
15    is trying to decipher another person's intent,                          11:42:59
16    they reference their own life experiences and                           11:43:03
17    cultural experiences?                                                   11:43:06
18           A     You are asking me for opinions that                        11:43:07
19    I have as a private person and I have views about                       11:43:09
20    these things but they have no bearing on what I've                      11:43:12
21    done in this report.                                                    11:43:15
22           Q     No, I'm asking in your capacity as an                      11:43:16
23    expert here.     Isn't it the case when somebody is                     11:43:18
24    speaking and trying to decipher someone else's                          11:43:24
25    intent, they filter through their life experiences                      11:43:26


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1     when doing so --                                                        11:43:30
2                       -- (overspeaking) --                                  11:43:31
3            A     It may very well be that --                                11:43:32
4                       -- (overspeaking) --                                  11:43:34
5            Q     Sorry.                                                     11:43:34
6            A     It may very well be that people do this                    11:43:34
7     but it has no bearing on the truth of what occurs.                      11:43:35
8            Q     But they may be expressing their                           11:43:41
9     perception, based on their life experiences, their                      11:43:43
10    cultural references, what they are perceiving in                        11:43:48
11    the world at the time; is that fair?                                    11:43:50
12           A     I would not agree with what you said                       11:43:52
13    unless you interpret perception not as perception                       11:43:54
14    of the actual circumstances, but as construable                         11:43:57
15    and that is not the same thing.                                         11:44:01
16           Q     Okay, what do you mean?                                    11:44:04
17           A     One can construe what is happening in                      11:44:06
18    front of one's eyes, especially when it comes to                        11:44:08
19    intent, without actually having heard evidence and                      11:44:11
20    may be incorrect, one's construal.                                      11:44:14
21                 That construal may be in part a                            11:44:17
22    function of one's background and experience.             I              11:44:19
23    don't dispute that; we do that all the time.                            11:44:21
24    That's how misunderstanding arises.           But that has              11:44:26
25    no bearing on the truth of what actually occurs                         11:44:28


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1     and that only the truth of what I saw was what                          11:44:29
2     bore on my report.                                                      11:44:32
3              Q      Have you ever studied Native Americans                  11:44:36
4     culture before?                                                         11:44:38
5              A      Not as an expert.     I have no expertise               11:44:39
6     in it.       I've been interested, but that's a                         11:44:41
7     distinct issue --                                                       11:44:45
8              Q      What do you know Mr. Phillips'                          11:44:47
9     background, anything?                                                   11:44:48
10             A      Not as an expert.                                       11:44:51
11             Q      Do you know how old Mr. Phillips is?                    11:44:52
12             A      I believe it said in one of the                         11:44:57
13    reports, but I don't remember.           He might have been             11:44:59
14    in his 60s or 70s.       Not reports, the articles.                     11:45:01
15             Q      Do you know where he was born or what                   11:45:03
16    tribe he's affiliated with?                                             11:45:05
17             A      Again, I believe it said in one of the                  11:45:08
18    articles but I don't remember that.                                     11:45:09
19             Q      At the your conclusion of your report                   11:45:11
20    at page 14, in one of the penultimate, sort of,                         11:45:14
21    paragraphs there, you say that you endeavored to                        11:45:16
22    be completely neutral about the apparent views of                       11:45:19
23    the individuals involved, not speculating about                         11:45:23
24    motives or intentions and paid attention solely to                      11:45:26
25    the facts as evident in the videos; do you see                          11:45:29


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1     that there?                                                             11:45:33
2            A      Yes, I do.                                                11:45:34
3            Q      And that's right?       You did that?                     11:45:35
4            A      I did say that, yes.                                      11:45:37
5            Q      And that's what you did?                                  11:45:38
6            A      And that is what I did.                                   11:45:40
7            Q      When you refer to the individuals                         11:45:41
8     involved, are you talking about Mr. Phillips and                        11:45:42
9     Mr. Sandmann?                                                           11:45:43
10           A      Those are the people I was primarily                      11:45:44
11    talking about, yes.                                                     11:45:46
12           Q      And you write that you tried to be                        11:45:48
13    completely neutral about their apparent views.             So           11:45:50
14    obviously it appears to you that they -- Sandmann                       11:45:54
15    and Phillips each have expressed views about what                       11:45:57
16    happened, right?                                                        11:46:00
17           A      Each what?                                                11:46:00
18           Q      Have expressed views about what                           11:46:02
19    happened, correct?                                                      11:46:03
20           A      Yes.                                                      11:46:03
21           Q      And so with respect to Mr. Phillips'                      11:46:04
22    expression that Sandmann intended to block                              11:46:07
23    Phillips' way, you're not taking the position that                      11:46:10
24    Mr. Phillips was lying, right?                                          11:46:13
25           A      No, I'm making no attributions to them                    11:46:15


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1     about his intent or what he meant to say -- why he                        11:46:18
2     meant -- said what he said.                                               11:46:20
3            Q     You are not disputing that that may be                       11:46:22
4     Mr. Phillips' opinion, right?                                             11:46:25
5            A     I am not disputing it.                                       11:46:27
6            Q     And the same for Mr. Sandmann.                You are        11:46:28
7     not taking a position on his motives, right?                              11:46:29
8            A     No.                                                          11:46:32
9            Q     But it's your opinion that the view                          11:46:32
10    Mr. Phillips expressed about Sandmann's intent was                        11:46:34
11    mistaken?                                                                 11:46:39
12           A     No, I am not talking about what he said                      11:46:40
13    about his intent, except insofar as it said that                          11:46:42
14    he -- that he attributed to Sandmann moving in                            11:46:45
15    specific ways so as to block him.            I saw no                     11:46:49
16    evidence of that in the videos.                                           11:46:52
17           Q     So --                                                        11:46:57
18           A     I'm not bringing any psychological                           11:46:57
19    analysis to bear on this.                                                 11:47:00
20           Q     So, it's your opinion that the view                          11:47:01
21    that Mr. Phillips expressed about Mr. Sandmann's                          11:47:04
22    intent was not correct?                                                   11:47:06
23           A     I think he misrepresented the                                11:47:08
24    situation.    For whatever reason, I do not know.                         11:47:10
25           Q     How do -- let's talk a bit more about                        11:47:19


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1     how people convey intent.                                               11:47:22
2                   In your experience, other than by                         11:47:26
3     speaking or using words, how do people convey                           11:47:27
4     their intent?                                                           11:47:30
5            A      I can only testify as a non-expert                        11:47:35
6     about that.     Do you want me to say my personal                       11:47:37
7     opinion?    It has no bearing on the report.                            11:47:40
8            Q      Because you don't have expertise in                       11:47:45
9     answering that question.                                                11:47:49
10           A      I am not here as a psychologist.                          11:47:51
11    I have no expertise in that domain.              Yes.                   11:47:52
12           Q      So, you have no expertise in how people                   11:48:01
13    convey intent?                                                          11:48:03
14           A      I do.    How they convey intent                           11:48:04
15    linguistically.       Linguistic meaning is something                   11:48:08
16    people who are native speakers of the language                          11:48:13
17    intend to convey when they make an utterance, as                        11:48:13
18    long as they are not delusionary or talking in                          11:48:15
19    their sleep.                                                            11:48:17
20                  I don't think that that has a bearing                     11:48:18
21    on this case, so what Mr. Phillips said is                              11:48:19
22    something he had a -- had a meaning that he                             11:48:21
23    intended to convey.        And it is that meaning,                      11:48:24
24    taking it -- him to be a native speaker of the                          11:48:27
25    language which I was assessing and whether it is                        11:48:30


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1     true with respect to the videos that I observed.                        11:48:32
2     That is all.                                                            11:48:35
3             Q    Okay, so you don't have any expertise.                     11:48:36
4     You are not here portraying yourself as having                          11:48:37
5     expertise about how people might convey intent                          11:48:43
6     through movement or body language or facial                             11:48:45
7     expressions, correct?                                                   11:48:48
8             A    Correct.                                                   11:48:50
9             Q    In addition to life experiences in                         11:48:58
10    culture which we talked about can impact the way                        11:49:00
11    people perceive things, can someone else's body                         11:49:04
12    language and facial expressions influence how                           11:49:09
13    someone, potentially perceives another person's                         11:49:12
14    intent?                                                                 11:49:14
15            A    I am told that that is the case.            Again          11:49:15
16    I have no expertise.                                                    11:49:17
17            Q    Have you experienced that in your own                      11:49:18
18    life?                                                                   11:49:20
19            A    Of course I have.      Yes, of course.                     11:49:20
20            Q    How about the setting or atmosphere of                     11:49:22
21    the situation?     In other words, what's happening                     11:49:23
22    around someone, what others around someone are                          11:49:25
23    doing in that moment, can that affect perception?                       11:49:28
24            A    Of course it does.                                         11:49:30
25            Q    You agree, by the way, and it's also on                    11:49:36


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1     page 14 of your report if you want to reference                         11:49:38
2     that, on the videos you see the other students                          11:49:40
3     parted for Mr. Phillips as he approached and                            11:49:43
4     Mr. Sandmann did not, right?                                            11:49:45
5            A     I did not say that all the other                           11:49:48
6     students did.     I said that some students moved                       11:49:50
7     aside as he walked up, yes.                                             11:49:52
8            Q     And some students let him go by, but                       11:49:54
9     Mr. Sandmann stayed put, correct.                                       11:49:57
10           A     It wasn't that he was the only person                      11:49:59
11    remaining.    The way you put the question, I think                     11:50:01
12    distorts the situation.                                                 11:50:04
13           Q     Right.   But you just -- you have it                       11:50:05
14    here in your report on 14.        "Some of the other                    11:50:07
15    boys..."                                                                11:50:11
16           A     Some of them.                                              11:50:12
17           Q     "...moved away from Phillips as the                        11:50:12
18    latter approached and let him go by, while                              11:50:14
19    Sandmann stayed in one place," right?                                   11:50:18
20           A     And that's what I was saying.           "Some of           11:50:19
21    the other boys," yes.      Thank you.                                   11:50:20
22           Q     Absent somebody saying "this is my                         11:50:24
23    intent," can one ever be sure what someone else's                       11:50:26
24    intent is?                                                              11:50:30
25           A     Again, I have no expertise but I doubt                     11:50:32


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1     it.                                                                       11:50:34
2              Q      And you are not considering whatever                      11:50:36
3     Mr. Sandmann said his intent was, obviously                               11:50:38
4     because you didn't talk to him or review his                              11:50:41
5     deposition, correct?                                                      11:50:43
6                     MR. McMURTRY:       Objection, go ahead.                  11:50:45
7                     THE WITNESS:       That's correct.        I do not        11:50:46
8     have any idea what his intent was in that                                 11:50:47
9     circumstance.       That would be pure speculation as a                   11:50:50
10    private person.                                                           11:50:53
11    BY MS. SPEARS:                                                            11:50:53
12             Q      Okay, what you're trying to infer                         11:50:56
13    though is Sandmann and Phillips' intention solely                         11:50:57
14    from watching the videos, right?                                          11:51:00
15             A      No --                                                     11:51:01
16                    MR. McMURTRY:       Objection.      Go ahead.             11:51:02
17                    THE WITNESS:       -- that is not what I'm                11:51:02
18    doing.       I am not inferring intentions.            I'm                11:51:04
19    looking at the meanings of the words that Phillips                        11:51:07
20    said in his -- those two statements.                I know what           11:51:09
21    the meanings are, the expertise that bears on                             11:51:13
22    that.                                                                     11:51:15
23                    Then I look at the videos and I see,                      11:51:16
24    given the truth conditions, what would have to be                         11:51:18
25    the case for those two statements to be true.                             11:51:20


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1                  I'd look at what I see in the video and                    11:51:23
2     I decide whether that seems to be true, given that                      11:51:25
3     video evidence.     I have no -- I do not bring any                     11:51:29
4     evidence of intent to bear here except for                              11:51:33
5     linguistic intent.     Phillips uttered the                             11:51:37
6     statement.    He was conscious.       He's a native                     11:51:40
7     speaker of English.      He know what they mean.              I         11:51:43
8     take him to mean what he meant, so that's                               11:51:46
9     intention.    Apart from that, I attribute no                           11:51:48
10    intention no anyone in my report.                                       11:51:50
11    BY MS. SPEARS:                                                          11:51:52
12           Q     By the way, in your report you                             11:51:53
13    described the situation as a confrontation.               Why           11:51:54
14    do you use that word?                                                   11:51:57
15           A     I think that is, in fact, what                             11:51:58
16    happened.    It was a confrontation.         If you look up             11:51:59
17    the word "confrontation" in the dictionary, it's                        11:52:01
18    two people standing face-to-face unmoving.               In             11:52:04
19    this case, very, very close range.           I would call               11:52:07
20    that a confrontation.                                                   11:52:10
21           Q     Is a confrontation indicative that                         11:52:11
22    people are on opposing sides?                                           11:52:15
23           A     I think it has that connotation, yes.                      11:52:18
24    This was not a friendly interaction.           It wasn't,               11:52:24
25    you know -- yeah.                                                       11:52:27


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1              Q      Why was it not friendly?                                11:52:28
2              A      Oh, well, we can discuss that.             That         11:52:31
3     has to do with intentions and history and that's                        11:52:32
4     not my expertise.                                                       11:52:34
5                     I'm just looking at what I saw in the                   11:52:36
6     video.       Two people extremely close, face-to-face.                  11:52:37
7     One person beating a drum in the other's face.                          11:52:42
8     The other one's eyes blinking because the drum is                       11:52:46
9     disturbing and --                                                       11:52:49
10                        -- (overspeaking) --                                11:52:51
11             Q      Why wasn't it friendly?                                 11:52:52
12                    MR. McMURTRY:     Can she finish her guess              11:52:53
13    -- answer?                                                              11:52:54
14                    MS. SPEARS:     Oh sure.    I thought she               11:52:54
15    was done.                                                               11:52:55
16                    THE WITNESS:     So, I'm simply saying                  11:52:56
17    that it did not look like a comfortable                                 11:52:57
18    interaction and it was unusually close range.                           11:52:59
19                    Most people who don't know each other                   11:53:01
20    and I took it these individuals did not know each                       11:53:03
21    other, do not come so close to each other in that                       11:53:06
22    way.                                                                    11:53:09
23    BY MS. SPEARS:                                                          11:53:09
24             Q      Okay, anything else about the                           11:53:11
25    atmosphere that was not friendly, you said a                            11:53:11


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1     second ago?                                                             11:53:13
2              A    I think --                                                11:53:14
3              Q    The history of it, you said.                              11:53:15
4              A    The history meaning the (inaudible) --                    11:53:17
5     that particular circumstance.                                           11:53:17
6                       -- (overspeaking) --                                  11:53:18
7              Q    You said, we can talk about the history                   11:53:18
8     of it.                                                                  11:53:20
9              A    Okay, I'm not sure exactly what I was                     11:53:21
10    alluding to.     But if you look at the situation                       11:53:23
11    where there are two, three groups of people in DC                       11:53:25
12    for different kinds of protests, and some of them                       11:53:30
13    are on different sides of various kinds of                              11:53:33
14    political issues and they all know that about each                      11:53:36
15    other, as evident in their attire and their                             11:53:38
16    behavior and what they're saying, so I would say                        11:53:41
17    that that was not a friendly interaction because                        11:53:44
18    of that.     That is part of the context and they all                   11:53:46
19    knew that.                                                              11:53:49
20             Q    They had cultural differences?                            11:53:50
21             A    I didn't say they were cultural.           There          11:53:53
22    were very clear political differences in this                           11:53:56
23    case.                                                                   11:53:58
24             Q    And that impacted the atmosphere in the                   11:54:00
25    sense of the participants involved, correct?                            11:54:05


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1                A      I would say so.                                         11:54:08
2                Q      Some other places in your report you                    11:54:15
3       use the word "encounter."         Any difference in the                 11:54:17
4       word choices there?                                                     11:54:21
5                A      That's just a -- I wasn't using that to                 11:54:22
6       be -- make a particular point.           It's a slightly                11:54:24
7       more neutral term than confrontation.                                   11:54:26
8                       Encounter is more neutral and it's more                 11:54:29
9       vague.       Two people can encounter each other                        11:54:31
10      accidentally.       I don't think this was an                           11:54:34
11      accidental encounter.        So the confrontation means                 11:54:37
12      it's not friendly and it's not accidental.                              11:54:41
13               Q      In terms of the clear political                         11:54:44
14      differences you noted, how do you know                                  11:54:47
15      Mr. Phillips' political --                                              11:54:50
16                          -- (overspeaking) --                                11:54:53
17               A      I actually don't know his political                     11:54:54
18      views, but I do know, like I said, that he was                          11:54:58
19      there to protest for Native American rights.               And          11:54:59
20      I know that he -- as a -- I'm assuming as a person                      11:55:03
21      who knows some -- has some background about                             11:55:10
22      American politics at the time of this occasion,                         11:55:13
23      that someone who was protesting for Native                              11:55:15
24      American rights and also given other things that                        11:55:19
25      other protestors with Phillips were saying to the                       11:55:23


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                               Transcript of Craige Roberts, Ph.D.
                                Conducted on December 7, 2021              99

1       boys from Covington Catholic High about "Go back                        11:55:26
2       to Europe" and stuff like that, that they -- there                      11:55:31
3       was a lot of bad feeling at that time between                           11:55:35
4       Native Americans and people on the far right                            11:55:38
5       which, wearing a MAGA hat identifies oneself as                         11:55:40
6       being.       There were -- so political differences                     11:55:46
7       about what constituted being native but -- and                          11:55:48
8       that these things were evident to all of the                            11:55:50
9       participants in that interaction.                                       11:55:57
10               Q      And that is what you talked about in                    11:56:00
11      terms of contributing to the atmosphere that                            11:56:01
12      made it --                                                              11:56:04
13               A      Yes.                                                    11:56:04
14               Q      -- unfriendly, correct?                                 11:56:04
15               A      That's correct.       I think so.                       11:56:05
16               Q      Let's go back to your report at the                     11:56:13
17      beginning on page 1 and 2 of the actual report.                         11:56:16
18               A      Yes.                                                    11:56:20
19               Q      Where the date, November 10, 2021 was                   11:56:20
20      on page 1.       Are you there?                                         11:56:23
21               A      Yes.                                                    11:56:30
22               Q      And you were asked to provide your                      11:56:30
23      opinion on two questions, correct?                                      11:56:32
24               A      Correct.                                                11:56:34
25               Q      And who came up with those questions?                   11:56:34


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                             Transcript of Craige Roberts, Ph.D.
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1               A       Mr. McMurtry so far as I know.             He's          11:56:37
2       the one that posed them to me.                                           11:56:40
3               Q       Okay, and when was that?                                 11:56:41
4               A       That was probably in October.          It was            11:56:42
5       probably -- it was either late October or the                            11:56:45
6       beginning of November.        I really only worked on                    11:56:47
7       this report part-time for seven or eight or ten                          11:56:50
8       days.       I can't remember exactly.       I have the                   11:56:53
9       notes, if you need to know.                                              11:56:56
10              Q       And that was in October?                                 11:56:57
11              A       Either late October or early November.                   11:56:58
12      It might have just all been in November.               I don't           11:57:00
13      remember exactly when I started working on the                           11:57:02
14      formal report, but I have the notes.                                     11:57:04
15              Q       Did you have the questions that -- when                  11:57:06
16      did you have the questions?                                              11:57:08
17              A       I believe -- first of all, I knew he                     11:57:10
18      was interested in those passages in September when                       11:57:12
19      we had the informal discussion about the case                            11:57:14
20      because he informally asked me what I thought                            11:57:17
21      these passages meant and whether they were true in                       11:57:22
22      those videos.       But the formal questions that he                     11:57:24
23      posed were posed -- you know, let's say it's                             11:57:26
24      either the last of October or the beginning of                           11:57:29
25      November.                                                                11:57:31


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                             Transcript of Craige Roberts, Ph.D.
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1              Q     Okay.                                                        11:57:32
2              A     But I knew he -- previously that he was                      11:57:32
3       interested in those passages.                                             11:57:35
4              Q     Okay, and how did you develop your                           11:57:36
5       processes for how you would approach answering                            11:57:38
6       those questions?                                                          11:57:40
7              A     Pretty simple.       As I told you, I had                    11:57:43
8       already informally reviewed the material.                  I gave         11:57:45
9       more careful consideration.          I didn't have the                    11:57:48
10      deposition when I did the first -- had the first                          11:57:50
11      informal conversations with Mr. McMurtry, and so                          11:57:53
12      then I was given the deposition and some of the                           11:57:57
13      other report from the investigator and so forth                           11:58:00
14      and the formal questions.         So I had these                          11:58:04
15      materials.                                                                11:58:11
16                   I spent another day or so looking                            11:58:12
17      through all the materials and then quickly decided                        11:58:13
18      that I wanted to ignore everything except what was                        11:58:15
19      in the videos, that that would be the most                                11:58:20
20      appropriate methodology given that, as I told you,                        11:58:21
21      my methodology is to determine the truth                                  11:58:25
22      conditional character of the passages.                                    11:58:28
23                   When would they be true, on the basis                        11:58:31
24      of a linguistic analysis of the plain meaning and                         11:58:34
25      then look at the evidence that we have about what                         11:58:41


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                            Transcript of Craige Roberts, Ph.D.
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1       actually occurred, which I think the most -- which                       11:58:41
2       I think the only high quality evidence we have of                        11:58:45
3       what actually occurred was the videos because I                          11:58:48
4       told you I want to disregard people's opinions                           11:58:48
5       about them or reports on them.          So I decided the                 11:58:51
6       best thing to do was just do my linguistic                               11:58:53
7       analysis, look at the videos and see whether I                           11:58:56
8       thought these things were true in those                                  11:58:59
9       circumstances as represented in the videos.                              11:59:00
10             Q     And you talk about reasonable reader in                     11:59:11
11      your -- in question 1. Would a reasonable                                11:59:12
12      reader under -- and question 2 --                                        11:59:15
13             A     Yes.                                                        11:59:15
14             Q     You used the phrase "reasonable                             11:59:15
15      reader," right?                                                          11:59:17
16                   MR. McMURTRY:      Objection.      She said                 11:59:17
17      that I posed the questions.                                              11:59:18
18                   THE WITNESS:      Yeah.                                     11:59:20
19                   MS. SPEARS:     Fair enough.                                11:59:20
20                   THE WITNESS:      Todd posed the question.                  11:59:20
21      BY MS. SPEARS:                                                           11:59:23
22             Q     Fair enough.      Let me rephrase that.                     11:59:23
23                   Mr. McMurtry in his question 1 says --                      11:59:25
24      or uses the phrase "reasonable reader."                                  11:59:29
25                   Do you use that phrase and what does it                     11:59:33


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                            Transcript of Craige Roberts, Ph.D.
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1       mean to you?                                                             11:59:41
2              A      As an expert, I would be more inclined                     11:59:42
3       to say a rational native speaker of the language                         11:59:43
4       in question --                                                           11:59:47
5              Q      This --                                                    11:59:49
6              A      -- who read and understood the                             11:59:49
7       passages, yes; that's what I'm looking at.                               11:59:51
8              Q      Is that just a more highbrow way of                        11:59:52
9       saying "reasonable reader"?                                              11:59:55
10             A      It's more accurate, in some ways.           I              11:59:56
11      mean, if you were a reader of -- if you're a                             11:59:59
12      French person who doesn't speak English very well                        12:00:01
13      and you read this, I'm not sure if they're the                           12:00:03
14      person we're aiming at.        We want plain meaning of                  12:00:06
15      English, so we want a native speaker.             That's why             12:00:09
16      just any old reader isn't good enough.             That's why            12:00:11
17      I say a native speaker.        And I want rational                       12:00:14
18      because irrationality can lead people to                                 12:00:17
19      misinterpret all kind of things so, yeah.                                12:00:20
20             Q      So, it doesn't -- so reasonable reader                     12:00:23
21      doesn't just mean an ordinary person reading the                         12:00:25
22      statements?                                                              12:00:27
23             A      Oh, it does -- ordinary people are                         12:00:28
24      typically not insane, so they're rational and if                         12:00:30
25      they're native speakers they fall within this                            12:00:33


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                            Transcript of Craige Roberts, Ph.D.
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1       group so, yes, your ordinary native speaker who is                           12:00:36
2       not out of their mind would be a reasonable reader                           12:00:41
3       that we had in mind here.                                                    12:00:42
4              Q     Does culture matter?                                            12:00:46
5              A     No.                                                             12:00:48
6              Q     Does context matter?                                            12:00:48
7              A     In so far as you've got words like "I"                          12:00:49
8       and "now" and "tense," yes, that matters.                 Yes.               12:00:49
9              Q     And that's part of your study --                                12:00:56
10             A     Yes, that's correct.                                            12:00:57
11             Q     -- in your background in pragmatics,                            12:00:58
12      correct?                                                                     12:01:00
13             A     Correct.                                                        12:01:00
14             Q     See, I'm learning already.                                      12:01:02
15             A     You are.                                                        12:01:03
16             Q     Are there unreasonable readers?                                 12:01:03
17             A     Umm... well --                                                  12:01:07
18             Q     Would that be someone who is insane; is                         12:01:10
19      that --                                                                      12:01:13
20             A     Well, there's another matter here.                  So,         12:01:14
21      understand the following statement to be false in                            12:01:16
22      view of the videos.      A person might watch the                            12:01:18
23      videos and have very strong prejudices.             For                      12:01:22
24      example, be a far right-wing person and have an                              12:01:27
25      interpretation of what Mr. Phillips does that                                12:01:32


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                            Transcript of Craige Roberts, Ph.D.
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1       attributes him -- things to him or intentions that                       12:01:34
2       he did not have, right?                                                  12:01:36
3                    So, I think the reasonable (sic) there                      12:01:38
4       could be if you're going to set aside prejudice                          12:01:40
5       and distortion of what you see, given what you can                       12:01:43
6       see in the video and you're a native speaker and                         12:01:48
7       you're rational, would you take this to be false?                        12:01:51
8               Q    Go to page 5 of your report.           This is a            12:01:58
9       summary in the middle of the page under III,                             12:02:09
10      "Summary of Opinions."                                                   12:02:12
11              A    Yes.                                                        12:02:15
12              Q    Is that right?                                              12:02:15
13              A    Correct.                                                    12:02:16
14              Q    Are all of the opinions you intend to                       12:02:17
15      offer in this case expressed in your written                             12:02:19
16      report that we've marked here?                                           12:02:21
17              A    Yes.                                                        12:02:22
18              Q    So you don't have any other opinions                        12:02:24
19      that are not expressed in your written report                            12:02:26
20      here?                                                                    12:02:28
21              A    I have not been asked as an expert to                       12:02:29
22      give any additional opinions.          These are they.                   12:02:31
23              Q    Let's go on that same page.           Again, I              12:02:37
24      want to ask you about this reasonable native                             12:02:40
25      speaker and I think you just answered it, but I                          12:02:44


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                            Transcript of Craige Roberts, Ph.D.
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1       want to make sure I'm clear.         So you say:                         12:02:47
2                    "A reasonable native speaker of English                     12:02:50
3       reading (each) passage would take it to be false                         12:02:50
4       in the circumstances captured in the videos of the                       12:02:50
5       encounter which have been provided to me."                               12:02:50
6                    And we talked about a reasonable                            12:03:04
7       reader. So is a reasonable reader a native speaker                       12:03:04
8       of English or are you qualifying your opinion to                         12:03:06
9       pertain to native English speakers?                                      12:03:10
10             A     I didn't understand your question.                          12:03:14
11             Q     What are you -- by saying "Native                           12:03:15
12      speaker of English," who are you excluding?                              12:03:17
13             A     I'm excluding people who might have not                     12:03:19
14      learned English perfectly.         So by saying "native                  12:03:23
15      speaker" I'm talking about people who command the                        12:03:26
16      English language.                                                        12:03:29
17             Q     And what does -- "would take it to be                       12:03:33
18      false" mean?                                                             12:03:36
19             A     If they were to watch the video and                         12:03:39
20      they were a native speaker and they only looked at                       12:03:41
21      what actually occurred in the video, they would                          12:03:45
22      say this was false.                                                      12:03:47
23             Q     And what does: "In the circumstances                        12:03:50
24      captured in the videos of the encounter" mean?                           12:03:53
25             A     That means what the video showed                            12:03:55


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                             Transcript of Craige Roberts, Ph.D.
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1       occurred.       Videos do not show intent; they show                     12:03:56
2       action, behavior, what actually occurs.                                  12:04:01
3               Q       And again, this is you -- well, strike                   12:04:05
4       that.       Let's go to page 7 of your report.                           12:04:07
5                       Page 7 of your report, you say:            "In           12:04:35
6       determining truth conditions, the science of                             12:04:37
7       linguistics is purely descriptive aiming to                              12:04:37
8       determine the plain meaning of an expression that                        12:04:37
9       is understood by ordinary speakers of the language                       12:04:37
10      in which it is couched."                                                 12:04:37
11                      What you mean by "purely descriptive"?                   12:04:47
12              A       Many times people think that either a                    12:04:53
13      dictionary or grammar is prescriptive, telling you                       12:04:55
14      how you should speak, what something should mean.                        12:04:59
15      You shouldn't say "ain't."          You should say "whom"                12:05:02
16      instead of "who" in certain cases.                                       12:05:05
17                      This is not what we do in linguistics.                   12:05:09
18      We describe what native -- ordinary people, who                          12:05:10
19      have never even necessarily had a grammar class                          12:05:14
20      say and understand by what they say.             That's the              12:05:17
21      crucial point.                                                           12:05:21
22              Q       Okay, and page 7 you also discuss what                   12:05:23
23      you call truth conditions.                                               12:05:27
24              A       Correct.                                                 12:05:28
25              Q       You describe truth conditions as, "What                  12:05:29


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                              Transcript of Craige Roberts, Ph.D.
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1       a situation would have to be like in order for the                       12:05:32
2       sentence to truthfully describe that situation."                         12:05:35
3                     What are truth conditions to you?                          12:05:40
4              A      Truth conditions is -- well, I can tell                    12:05:44
5       you again, informally, which I've done several                           12:05:45
6       times, truth conditions are specific conditions                          12:05:51
7       that would have to be satisfied in order for this                        12:05:52
8       to be true, okay?                                                        12:05:55
9              Q      Okay.                                                      12:05:58
10             A      I can characterize that.           Remember, I             12:05:58
11      said I'm a formal semanticist.            I can characterize             12:06:01
12      that logically.       So it's often useful if you're                     12:06:02
13      teaching the computer English, you translate it                          12:06:06
14      into a logical language and then the computer goes                       12:06:13
15      from -- the computer -- native computer languages                        12:06:14
16      are mathematical, logical languages and they can                         12:06:16
17      use the translation to go to the database to get                         12:06:19
18      information and then translate it back into                              12:06:20
19      English.    Or if you're translating between two                         12:06:22
20      languages you often translate and you get the                            12:06:24
21      truth conditions that's a logical statement.                It           12:06:25
22      doesn't matter.       Truth conditions are truth                         12:06:28
23      conditions.     They are things -- the way things                        12:06:30
24      would have to be in order for this to be true.                           12:06:32
25             Q      Is there a set number of definitive                        12:06:41


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                            Transcript of Craige Roberts, Ph.D.
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1       truth conditions for any particular phrase?                              12:06:43
2              A      No, actually that's a very -- that's a                     12:06:45
3       very challenging question and that's why we refer                        12:06:47
4       to multiple dictionaries, to look at multiple                            12:06:49
5       things that a word might mean and connotations                           12:06:52
6       that it might have, etcetera, to determine what,                         12:06:56
7       you know, the range of possible meanings are.             And            12:06:58
8       then we look at the context, the syntax to                               12:07:02
9       determine what the actual intended meaning was in                        12:07:04
10      that case.                                                               12:07:06
11             Q      And what is the plain meaning -- use                       12:07:10
12      from a phrase, mean to you?                                              12:07:12
13             A      I use that because it's common in the                      12:07:16
14      law and I think by "plain meaning" they mean what                        12:07:17
15      an ordinary speaker who is a native speaker, who                         12:07:21
16      has command of the English language, would take                          12:07:23
17      the expression to mean.                                                  12:07:28
18             Q      And how does an ordinary speaker                           12:07:29
19      determine what plain meaning of a word or a                              12:07:31
20      passage is?                                                              12:07:33
21             A      Ahhh, there you'd have to take language                    12:07:34
22      and the law, wouldn't you?         So, the -- people                     12:07:35
23      think that they teach their children language, but                       12:07:38
24      the fascinating thing is that they do not.                               12:07:40
25                    Children -- like a little deer is born                     12:07:44


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                            Transcript of Craige Roberts, Ph.D.
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1       to walk, it gets up and walks almost as soon as                          12:07:45
2       it's born.     Little children have been learning the                    12:07:48
3       language of their mothers in the womb.             They've               12:07:51
4       learned the sound patterns, the prosody.              And they           12:07:54
5       are learning the sound patterns of their native --                       12:07:57
6       their maternal -- not because it's their birth                           12:08:00
7       mother, but the language that's spoken around them                       12:08:03
8       all the time as they develop and mature till about                       12:08:05
9       nine months to a year.                                                   12:08:07
10                   In two months they start speaking and                       12:08:09
11      they make all kinds of errors that are things that                       12:08:11
12      nobody around them would ever say.            For example,               12:08:13
13      they'll over-generalize regular verb tense, past                         12:08:15
14      tense.                                                                   12:08:20
15                   So instead of saying "went" they'll say                     12:08:20
16      "go'd."    Anybody who has a child and listens hard                      12:08:20
17      enough will see that at a certain point an                               12:08:24
18      ordinary, average, normal child developing will                          12:08:24
19      over-generalize the grammatical rules that they're                       12:08:24
20      learning and the language that they're studying                          12:08:24
21      around them.     So children are born to absorb and                      12:08:24
22      learn a language.      It's a fascinating thing and                      12:08:24
23      that's one of the things that modern linguistics                         12:08:40
24      as a science studies.                                                    12:08:43
25                   Therefore, when we study the plain                          12:08:45


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                             Transcript of Craige Roberts, Ph.D.
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1       meaning, we study the meaning as ordinary speakers                       12:08:47
2       learn it from each other and use it with each                            12:08:52
3       other, not some idealized grammar, or some                               12:08:54
4       idealized language.                                                      12:08:57
5              Q     So by the time one is no longer a child                     12:08:59
6       but a adult --                                                           12:09:02
7              A     Right.                                                      12:09:03
8              Q     -- and fits into the category of                            12:09:03
9       reasonable reader --                                                     12:09:05
10             A     Okay.                                                       12:09:06
11             Q     That you've said before.           At that point            12:09:07
12      plain meaning of words is a matter of everyday                           12:09:10
13      common experience, correct?                                              12:09:12
14             A     Correct.     You don't think about it.                      12:09:14
15             Q     A matter of common-sense, so to speak?                      12:09:19
16             A     Common-sense is not the way I would use                     12:09:22
17      it, but it is a matter of linguistics competence,                        12:09:24
18      and everyone, even people of relatively low                              12:09:28
19      intelligence, as long as they are not -- they                            12:09:30
20      don't have a defective mind, brain, have                                 12:09:32
21      linguistic competence.                                                   12:09:43
22             Q     You've consulted respected dictionaries                     12:09:45
23      of modern English, you say, and my question for                          12:09:46
24      you, and we went through the three listed in your                        12:09:48
25      report, do you recall that?                                              12:09:53


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                              Transcript of Craige Roberts, Ph.D.
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1                A       My question what?                                       12:09:54
2                Q       I'm sorry.   That was a bad question.                   12:09:55
3       You cite three dictionaries in your report,                              12:09:56
4       correct?                                                                 12:09:58
5                A       Correct.                                                12:09:59
6                Q       And my question to you is: Did anyone                   12:09:59
7       provide those dictionaries to you?                                       12:10:03
8                A       I keep them on my shelf.                                12:10:06
9                        Well, actually, the Oxford English                      12:10:09
10      Dictionary I get on line -- I have it on my shelf,                       12:10:10
11      but it's a lot easier and the print's a lot bigger                       12:10:12
12      if I read it on line.         So, yes, that's why I                      12:10:14
13      access the online version.           Because it's just                   12:10:17
14      easier than taking the book off my shelf.                                12:10:19
15               Q       And they are publicly available so it's                 12:10:21
16      easy --                                                                  12:10:23
17                           -- (overspeaking) --                                12:10:23
18               A       Anybody can --                                          12:10:24
19               Q       -- I've got to finish the question,                     12:10:25
20      sorry.        I know it's -- as a linguist you might                     12:10:26
21      appreciate it is common for people to talk over                          12:10:30
22      each other, but in this world it is very                                 12:10:33
23      challenging for the Court Reporter when we do                            12:10:36
24      that.        So I'm not trying to be rude but I have to                  12:10:38
25      cut you off.                                                             12:10:41


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                            Transcript of Craige Roberts, Ph.D.
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1                    So those dictionaries you consulted are                     12:10:42
2       publicly available, correct?                                             12:10:49
3              A     Correct.                                                    12:10:50
4              Q     And it's easy for anyone like myself or                     12:10:51
5       counsel in this room or the judge in this case, to                       12:10:56
6       obtain those dictionaries, correct?                                      12:10:58
7              A     Correct.                                                    12:10:59
8              Q     You don't need a special library                            12:11:03
9       linguist card to check 'em out.                                          12:11:07
10             A     No.                                                         12:11:10
11             Q     And the average person, adult person,                       12:11:11
12      is capable of understanding dictionary                                   12:11:16
13      definitions, correct?                                                    12:11:21
14             A     I think so.                                                 12:11:22
15             Q     You looked up certain words, you say,                       12:11:23
16      and I quote "passages of interest."            How did you               12:11:25
17      determine which words to look up?                                        12:11:28
18             A     I looked up the ones that I thought                         12:11:35
19      most bore on why these passages were possibly                            12:11:37
20      contentious, like "block", and some of the others                        12:11:40
21      that I looked up.       I thought that most -- I have                    12:11:43
22      to look at the passage, most of the passage was                          12:11:45
23      just very simple, you know, English, I was                               12:11:48
24      thinking -- I mean, everybody knows what Phillips                        12:11:52
25      says in these things -- so, I was thinking at that                       12:11:54


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                             Transcript of Craige Roberts, Ph.D.
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1       time, I started going that way and "that guy in                          12:11:57
2       the hat," those not contentious, there's nothing                         12:12:01
3       really to look up, "that guy in the hat"                                 12:12:03
4       presumably because he's talking about the                                12:12:04
5       interaction with Sandmann.          He's talking about                   12:12:05
6       Sandmann.     And "impasse." Now, there, were they at                    12:12:09
7       an impasse?     "Blocked my way," "wouldn't let me                       12:12:14
8       retreat," those are the things that I thought                            12:12:17
9       might be at issue about whether Phillips correctly                       12:12:18
10      represented the situation, so those are the words                        12:12:22
11      that I looked up to make sure that I had what I                          12:12:25
12      take to be objective support for the construal                           12:12:29
13      that I made of the meanings of these expressions.                        12:12:39
14             Q      Okay, and we talked earlier about                          12:12:41
15      lexicography being the description of plain                              12:12:44
16      meanings of expressions as (indiscernible) native                        12:12:50
17      speakers, that's how you define it, correct?                             12:12:52
18             A      Yes.                                                       12:12:58
19             Q      And you said a second ago that doesn't                     12:12:58
20      prescribe --                                                             12:13:01
21             A      Correct.                                                   12:13:01
22             Q      -- what the meaning should be?                             12:13:01
23             A      Yes.                                                       12:13:02
24             Q      So then I take it it's fair to say that                    12:13:08
25      there is not only one plain meaning of any                               12:13:10


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                                Transcript of Craige Roberts, Ph.D.
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1       particular word to native speakers, correct?                                12:13:12
2               A       I will hedge on that question.                May I         12:13:16
3       explain?                                                                    12:13:19
4               Q       Sure.                                                       12:13:19
5               A       Many expressions have multiple                              12:13:20
6       meanings, I have shown you some in the case in                              12:13:23
7       hand.       But it is not Humpty Dumpty.           Individuals              12:13:24
8       don't get to decide what a word means.                                      12:13:28
9                       The word has a meaning in convention                        12:13:31
10      with its use among the group of native speakers                             12:13:36
11      and that's what a lexicographer tries to capture                            12:13:39
12      by looking at not one, but many, many sources of                            12:13:41
13      competent native speakers to decide the range of                            12:13:44
14      meanings that are attested and attributed to                                12:13:49
15      native speakers by other native speakers.                     Okay?         12:13:55
16                      So it's not that a given person gets to                     12:13:58
17      decide what "block" means or "impasse"; it is                               12:14:01
18      something that we as a community mean and that                              12:14:03
19      this is objectively observed by lexicographers and                          12:14:08
20      others who study the use of language and its                                12:14:13
21      meaning.                                                                    12:14:16
22              Q       And just looking at general dictionary                      12:14:17
23      definitions, you need context to determine which                            12:14:19
24      definition is most suitable, correct?                                       12:14:21
25              A       Typically, correct.                                         12:14:23


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                             Transcript of Craige Roberts, Ph.D.
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1              Q     And that's important, for example, you                      12:14:25
2       know, with idioms you might say, "It's raining                           12:14:28
3       cats and dog," it's not literally raining cats and                       12:14:34
4       dogs, right?     That's just an example of something                     12:14:38
5       where --                                                                 12:14:41
6                    -- (overspeaking) --                                        12:14:41
7              A     Of course.      Well, that's ...                            12:14:42
8              Q     You also state that you looked at --                        12:14:43
9       well, strike that.       We talked earlier about                         12:14:52
10      lexicography and compiling dictionary definitions                        12:14:55
11      and that essentially means collecting different                          12:14:57
12      possible definitions of a given word, correct?                           12:15:01
13             A     Not definitions, uses.                                      12:15:04
14             Q     Uses.    Now you state --                                   12:15:06
15             A     May I say something about a definition?                     12:15:15
16      A definition is a characterization of a meaning.                         12:15:18
17      It is a paraphrase.       A good definition is an art                    12:15:21
18      to defining.     And the defined term has to fit in                      12:15:24
19      the same syntactic slot, as the term being                               12:15:27
20      defined.    It's the verb -- you've given any type                       12:15:31
21      of verb form as a definition.           It is not a                      12:15:34
22      definition that says what it should be mean, it is                       12:15:36
23      a characterization of one usage, one way people                          12:15:39
24      use it, one meaning it has in current plain                              12:15:41
25      language.                                                                12:15:45


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                             Transcript of Craige Roberts, Ph.D.
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1              Q     Okay.    And now on page -- let's                           12:15:45
2       continue on then.       Page 8 you talked about                          12:15:48
3       syntactic structure and we talked about that at                          12:15:52
4       the beginning of the morning, right?                                     12:15:55
5              A     Correct.                                                    12:15:57
6              Q     And you say you also considered                             12:16:01
7       syntactic structure?                                                     12:16:02
8              A     Yes.                                                        12:16:03
9              Q     How does syntactic structure matter to                      12:16:09
10      truth conditions?                                                        12:16:13
11             A     May I give you an example from one of                       12:16:14
12      the passages?                                                            12:16:17
13             Q     Sure.                                                       12:16:18
14             A     In the first passage, the one in                            12:16:18
15      question 1 at the bottom of page 1, Mr. Phillips                         12:16:19
16      is heard as saying, "He" -- Sandmann -- "just                            12:16:21
17      blocked my way and wouldn't allow me to retreat."                        12:16:26
18      Now, as you pointed out "blocked" is ambiguous or                        12:16:27
19      it has not -- well, you'd say it was ambiguous.                          12:16:33
20      Anyway, it has some very -- two or three closely                         12:16:36
21      related senses that one might -- that one might                          12:16:40
22      take to relevant to a circumstance like this.                            12:16:44
23                   One of them is a more passive sense so                      12:16:45
24      you can say an inanimate object blocked your way                         12:16:48
25      like the construction, you know -- the crane                             12:16:52


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                            Transcript of Craige Roberts, Ph.D.
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1       blocked my way, right?       Or the crane, you know --                   12:16:57
2       was in the way, in effect, without the crane --                          12:16:58
3       without attributing any intention to the crane,                          12:17:00
4       correct?    But in this particular passage there's                       12:17:04
5       another active sense of block, which is moved to                         12:17:07
6       block or intended to block my way, okay?              And I              12:17:10
7       thought that in this context it was more                                 12:17:13
8       probable -- likely, that Phillips intended or                            12:17:16
9       would expect his audience to understand him as                           12:17:18
10      meaning that Sandmann actively blocked his way.                          12:17:20
11                   If you look at the second conjunct, it                      12:17:24
12      said "Wouldn't allow me to retreat," which does                          12:17:27
13      attribute intention to refuse to let Phillips do                         12:17:31
14      what he wanted to do.       So I took the first                          12:17:39
15      conjunct, the sense of block to have the active                          12:17:41
16      sense of intending to be in the way.                                     12:17:44
17                   There is an example where syntax in                         12:17:47
18      this particular case, if he said, "He was blocking                       12:17:50
19      way," that is not as clear, when you have an                             12:17:54
20      agentive "block my way," that seems more likely                          12:17:58
21      that it would be agentive, and there is also                             12:18:03
22      passive "block" where there is not even an agent.                        12:18:05
23      So in this particular case, the fact that it was                         12:18:06
24      transitive use of "block" and that it was                                12:18:09
25      conjoined with another sentence where there was an                       12:18:12


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                             Transcript of Craige Roberts, Ph.D.
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1       attribution of intent to Mr. Phillips seemed to                          12:18:15
2       disambiguate which sense of "block" Phillips would                       12:18:20
3       have expected his native speaker interlocutor to                         12:18:23
4       understand him to mean.                                                  12:18:29
5              Q     Okay.    At page 8 at the bottom you                        12:18:34
6       conclude that you used these resources and                               12:18:37
7       techniques to determine the truth conditions of                          12:18:46
8       the sentences which you took to be crucial in                            12:18:53
9       these passages; is that right?                                           12:18:55
10             A     Correct.                                                    12:18:58
11             Q     And by "resources" you mean the                             12:18:59
12      dictionaries, correct?                                                   12:19:01
13             A     The dictionaries and my knowledge of                        12:19:01
14      grammar.    I didn't refer to grammars here but if                       12:19:06
15      you wanted me to I could, and my knowledge of how                        12:19:09
16      context influences interpretation which is --                            12:19:11
17      again, I could give you long bibliographies, but I                       12:19:15
18      refrained from doing that.          They are in the                      12:19:20
19      report.                                                                  12:19:22
20             Q     And you also consulted the                                  12:19:23
21      dictionaries, correct?                                                   12:19:24
22             A     I did consult the dictionaries, yes.                        12:19:24
23             Q     And then you say, continuing on page 8,                     12:19:33
24      that you "considered the video evidence provided                         12:19:36
25      to me to understand the situation in which the                           12:19:37


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                            Transcript of Craige Roberts, Ph.D.
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1       confrontation occurred", correct?                                        12:19:40
2              A     Correct.                                                    12:19:45
3              Q     And so, essentially, you reviewed the                       12:19:47
4       videos and then determined whether, after having                         12:19:50
5       reviewed the videos, the statements were false                           12:19:55
6       based on what you observed in the videos, correct?                       12:19:57
7              A     That's correct.                                             12:19:58
8                    MS. SPEARS:     Can we go off on the                        12:19:59
9       record but stay seated for a second.            I just want              12:20:17
10      to consult and decide on the lunch break timing                          12:20:18
11      here for everyone.      Are you happy for me to do a                     12:20:18
12      little bit more or we can break now?                                     12:20:18
13                   THE VIDEOGRAPHER:       We're going off the                 12:20:23
14      record, the time is 12:20 p.m.                                           12:20:24
15          (Recess taken from 12:20 p.m. to 1:20 p.m.)                          12:20:26
16                   THE VIDEOGRAPHER:       Going back on the                   01:27:31
17      record, the time is 1:27 p.m.                                            01:27:32
18      BY MS. SPEARS:                                                           01:27:35
19             Q     Okay, thank you.       Let's look at your                   01:27:36
20      report -- I'm sorry, can you wait one second.                            01:27:42
21                   All right.     We're back on the record                     01:27:55
22      after our lunch break.                                                   01:27:56
23                   Let's look at your report on page 9,                        01:27:57
24      please.                                                                  01:27:59
25                   Okay, page 9, section 5 you titled                          01:28:04


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                            Transcript of Craige Roberts, Ph.D.
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1       "Facts"?                                                                 01:28:07
2              A     Yes.                                                        01:28:10
3              Q     And you write: "Here are the facts                          01:28:10
4       about the January 18, 2019 incident as I'm aware                         01:28:11
5       of them from materials provided to me principally                        01:28:15
6       in the videos listed in section 4 above."                                01:28:17
7                    And my first question for you is, you                       01:28:21
8       say "as I am aware of them."         Did you draft this                  01:28:26
9       "Facts" section?                                                         01:28:29
10             A     Yes.                                                        01:28:30
11             Q     So no portions of it were provided to                       01:28:31
12      you?                                                                     01:28:33
13             A     Nothing.                                                    01:28:34
14             Q     And describe just very briefly your                         01:28:35
15      process for drafting the "facts" section.                                01:28:37
16             A     Well, I had already conducted an                            01:28:41
17      analysis and so I decided to present it first in                         01:28:42
18      terms of the facts as I observed them, then the                          01:28:45
19      relevant law and the linguistic analysis and then                        01:28:50
20      say, given the facts, whether the passages I was                         01:28:58
21      asked to comment on were true.          That's it.                       01:29:01
22             Q     And --                                                      01:29:07
23             A     So in reporting what I saw on the                           01:29:09
24      videos, of course, I focused on the interaction                          01:29:10
25      between Mr. Phillips and Mr. Sandmann particularly                       01:29:13


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                            Transcript of Craige Roberts, Ph.D.
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1       but other members of the group and the                                   01:29:17
2       circumstances immediately around them, as those                          01:29:19
3       might bear on the truth of the passages.              I didn't           01:29:21
4       talk about birds flying overhead or something,                           01:29:25
5       yeah.                                                                    01:29:27
6               Q    Right.    And you did that by reviewing                     01:29:28
7       the videos 1 to 18?                                                      01:29:30
8               A    Yes.                                                        01:29:32
9               Q    On page 9 here you say:                                     01:29:32
10                   "Three different groups interacted in                       01:29:40
11      the event in question as well as various                                 01:29:41
12      bystanders who seemed to be unrelated to any of                          01:29:43
13      these groups."                                                           01:29:45
14                   Which bystanders are you referring to?                      01:29:47
15              A    I can't tell in all the videos who is a                     01:29:50
16      bystander and who is a Covington boy and who is a                        01:29:53
17      member of the Native American group.            Sometimes it             01:29:56
18      is evident from the way they behave or are                               01:29:58
19      dressed, other times it is not.                                          01:30:00
20                   The reason I said "bystanders" is that                      01:30:03
21      I was aware in reviewing the earlier tape, a very                        01:30:04
22      long tape made by the videographer for the Black                         01:30:07
23      Hebrew Israelites, that there were a number of --                        01:30:12
24      just ordinary people, I presume many of them                             01:30:14
25      possibly tourists, I don't know who they were, in                        01:30:16


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                            Transcript of Craige Roberts, Ph.D.
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1       the area who were interacting at least with that                         01:30:18
2       particular group, and might have been hanging                            01:30:21
3       around as, you know, during the interaction                              01:30:23
4       between Phillips and Sandmann.                                           01:30:25
5                    So I can't tell, especially far -- to                       01:30:26
6       the left and back of Phillips, you know, down on                         01:30:29
7       the flat part, I'm not really sure who was a                             01:30:33
8       Covington boy and who was not.                                           01:30:35
9              Q     Mm-hmm.    And you note in here that                        01:30:38
10      there are also stray passersby of several races                          01:30:41
11      and apparent ethnic backgrounds?                                         01:30:45
12             A     That was again based on, partly on the                      01:30:47
13      observation of the tape, the long tape with the                          01:30:50
14      Black Hebrew Israelites.        They interacted with                     01:30:53
15      many different kinds of people.                                          01:30:55
16             Q     Why did you conclude that they seemed                       01:30:56
17      to be unrelated to any of the three groups you                           01:30:58
18      refer to:    The Covington students, the Native                          01:31:00
19      Americans or the --                                                      01:31:02
20                       -- (overspeaking) --                                    01:31:03
21             A     Well, for example, there was a group                        01:31:03
22      that stood and exchanged heckling with the Black                         01:31:05
23      Hebrew Israelites for quite some time and the                            01:31:10
24      people in them, I think there was a man and some                         01:31:15
25      women, again, I haven't reviewed those details                           01:31:18


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                             Transcript of Craige Roberts, Ph.D.
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1       before this deposition, who were African American,                       01:31:21
2       quite obviously, and they were not of a mind with                        01:31:24
3       the views being promoted by the Black Hebrew                             01:31:28
4       Israelites and there was a lot of exchange between                       01:31:33
5       those passersby out there and the Black Hebrew                           01:31:37
6       Israelites and the -- I'm just aware that there                          01:31:40
7       were different kinds of people interacting with                          01:31:43
8       them in that way so I presume some of the people                         01:31:46
9       at the -- during the exchange between Phillips and                       01:31:48
10      Sandmann might have been stray passersby.                                01:31:51
11             Q     And that's an assumption that you                           01:31:55
12      made --                                                                  01:31:57
13             A     -- (overspeaking) --                                        01:31:58
14             Q     You have to wait until I am done.                           01:31:58
15             A     Sorry.                                                      01:32:00
16             Q     That's an assumption you made based on                      01:32:00
17      your personal review of the videos, correct?                             01:32:02
18             A     Based on my review of the video, yes.                       01:32:04
19             Q     Okay.    And you note: races and apparent                   01:32:06
20      ethnic backgrounds.       How can you tell from the                      01:32:10
21      video what someone's ethnic background is?                               01:32:12
22             A     I said apparent ethnic backgrounds                          01:32:16
23      because there were a number of people dressed in                         01:32:18
24      such a way as to suggest that they identified with                       01:32:20
25      the Native American that was protesting, so I                            01:32:23


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                             Transcript of Craige Roberts, Ph.D.
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1       assumed sort some of them might have been part                           01:32:24
2       Native Americans.                                                        01:32:28
3                Q      But you don't know.                                      01:32:30
4                A      I don't know.                                            01:32:31
5                Q      And then on page 9 in the first bullet                   01:32:32
6       point you write that the Black Hebrew Israelites                         01:32:34
7       were there to, quote, "preach a religious and                            01:32:35
8       political message."        How did you determine their                   01:32:38
9       purpose in being there?                                                  01:32:40
10               A      That was pretty obvious.        They had a               01:32:44
11      loudspeaker and a videographer.            They were making              01:32:48
12      a point.       Think wanted people to hear their views.                  01:32:51
13      A kind of soap box.                                                      01:32:54
14               Q      And you say in your report here that --                  01:32:55
15      you say, and I quote, "There may have been five or                       01:32:56
16      six of them standing together, perhaps others                            01:32:58
17      circulating in the crowd in front of the Lincoln                         01:33:01
18      Memorial."       So you couldn't say for sure how many                   01:33:03
19      Black Hebrew Israelites were there based on the                          01:33:07
20      video; right?                                                            01:33:08
21               A      Correct.                                                 01:33:11
22               Q      And you say the Black Hebrew Israelites                  01:33:12
23      used, quote, "incendiary language to insult or                           01:33:13
24      degrade those that they engaged with," close                             01:33:16
25      quote.       What incendiary language were you                           01:33:19


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                            Transcript of Craige Roberts, Ph.D.
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1       referring to?                                                            01:33:22
2              A     I don't want to mention some of the                         01:33:22
3       names that they called the African Americans they                        01:33:24
4       interacted with -- I beg pardon.           You can look at               01:33:25
5       the videos if you want to see.          But they called                  01:33:28
6       the boys from Covington "crackers" repeatedly, and                       01:33:30
7       they also engaged in an insulting exchange with                          01:33:34
8       the Native Americans, but I don't remember the                           01:33:36
9       character of the exchange.         As I said, I only                     01:33:40
10      watched that video once and it was back in the end                       01:33:42
11      of October/beginning of November.                                        01:33:44
12                   So I ignored that part in my subsequent                     01:33:46
13      reviews because it didn't bear on the direct                             01:33:48
14      exchange between Phillips and Sandmann.                                  01:33:50
15             Q     And how did you know that it was the                        01:33:53
16      Black Hebrew Israelites' intent to insult or                             01:33:55
17      degrade people?                                                          01:33:57
18             A     They used insulting, degrading terms.                       01:33:59
19      There were slurs, by the way.                                            01:34:01
20             Q     And how does that square with your                          01:34:03
21      statement that they were there to preach a                               01:34:05
22      religious and political message?                                         01:34:07
23                   MR. McMURTRY:      Objection.                               01:34:09
24      BY MS. SPEARS:                                                           01:34:10
25             Q     Is that they were they doing both?                          01:34:10


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                            Transcript of Craige Roberts, Ph.D.
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1              A     Sure, why not?      Some people do.                         01:34:12
2              Q     The second bullet of page 9 you say: "A                     01:34:13
3       large group of people who, according to the                              01:34:18
4       articles that I have read about the event cited in                       01:34:21
5       Section 4 had come to DC for the Indigenous                              01:34:23
6       Peoples March."                                                          01:34:26
7              A     Yes.                                                        01:34:28
8              Q     Which articles did you refer to                             01:34:28
9       specifically for that?                                                   01:34:31
10             A     I'm sorry, I'd have to review the                           01:34:32
11      article to tell you.                                                     01:34:33
12             Q     Sitting here today, you can't tell me?                      01:34:34
13             A     I don't remember which piece of data I                      01:34:37
14      got from which article, no.                                              01:34:39
15             Q     You say, quote, reading along here:                         01:34:40
16                   "Mr. Phillips was a member of this                          01:34:43
17      group as it seems at least one of those who made                         01:34:45
18      the videos of the interaction with the boys from                         01:34:48
19      Covington Catholic school."                                              01:34:52
20                   And I think you have brought with you                       01:34:53
21      today a sheet that you said there were some typos                        01:34:55
22      on.   Is this where there is a typo and it was                           01:34:58
23      meant to be "as was, it seems"?                                          01:35:01
24             A     Yes, mm-hmm.                                                01:35:04
25             Q     So the sentence should read:                                01:35:05


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                            Transcript of Craige Roberts, Ph.D.
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1                    "Mr. Phillips was a member of this                          01:35:06
2       group as was it seems at least one of those who                          01:35:08
3       made the videos of the interaction with the boys                         01:35:10
4       from Covington Catholic school."                                         01:35:13
5              A     Correct.                                                    01:35:16
6              Q     How did you determine that Mr. Phillips                     01:35:16
7       was a member of this quote, unquote group.                               01:35:18
8              A     I believe he identified as someone who                      01:35:19
9       had been there with that group, or was identified                        01:35:22
10      as such by one of the articles that I read, those                        01:35:25
11      news articles that are cited here as one of my                           01:35:27
12      sources.                                                                 01:35:31
13             Q     Okay, and you're saying here that                           01:35:32
14      someone else "with the group" based on your                              01:35:37
15      review, you believe made videos of the interaction                       01:35:40
16      but you're not saying Mr. Phillips made a video of                       01:35:42
17      the interaction --                                                       01:35:45
18             A     No.    No --                                                01:35:45
19             Q     -- that was the typo that was --                            01:35:46
20                         -- (overspeaking) --                                  01:35:47
21             A     No, there's no typo.         Let me look at                 01:35:48
22      the passage.                                                             01:35:49
23                   MR. McMURTRY:      Just be sure to let her                  01:35:51
24      finish, so it's clear.                                                   01:35:52
25                   THE WITNESS:      I beg your pardon.                        01:35:53


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                             Transcript of Craige Roberts, Ph.D.
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1       BY MS. SPEARS:                                                           01:35:54
2              Q     Sure.     You are not saying that                           01:35:54
3       Mr. Phillips is making a video of the interaction?                       01:35:55
4              A     No, no.                                                     01:35:57
5              Q     In the next -- you say here:                                01:35:58
6                    "These people sang, danced and chanted                      01:35:59
7       to drums, sometimes forming a large circle as they                       01:36:01
8       did so."                                                                 01:36:04
9                    How did you determine if they were                          01:36:06
10      singing, dancing and chanting?                                           01:36:08
11             A     In, again, the first video, I think,                        01:36:10
12      the longest one which is from the -- made by the                         01:36:13
13      videographer for the Black Hebrew Israelites,                            01:36:16
14      there is -- are a couple of short pieces -- not --                       01:36:17
15      you can't really tell exactly where they are but                         01:36:21
16      they are in the vicinity of these Native American                        01:36:25
17      peoples singing and dancing in a large circle and                        01:36:27
18      chanting.                                                                01:36:31
19             Q     And then you say:        "During the circle                 01:36:31
20      dance there appeared to be at least as many people                       01:36:34
21      participating as there were boys from Covington                          01:36:37
22      though I cannot give a reliable estimate of their                        01:36:40
23      number."                                                                 01:36:40
24                   Why do you call it a circle dance?                          01:36:40
25             A     They were in a circle dancing.                              01:36:44


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                             Transcript of Craige Roberts, Ph.D.
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1              Q     Okay, are you aware that it's is                            01:36:46
2       actually called a round dance in Native --                               01:36:47
3              A     No, I'm not.                                                01:36:49
4                         -- (overspeaking) --                                   01:36:49
5              Q     You've got to wait until I'm                                01:36:49
6       done talking. Are you aware that it is actually                          01:36:49
7       called a round dance in Native American culture?                         01:36:54
8              A     No, I'm not.                                                01:36:56
9              Q     Why can't you give a reliable estimate                      01:36:57
10      of the number of participants in the Indigenous                          01:37:00
11      Peoples March?                                                           01:37:04
12             A     Two reasons.       First of all, I never                    01:37:06
13      stopped the frame to count the number of people I                        01:37:09
14      could see in the frame who were doing the dance.                         01:37:12
15      I just didn't think that was really material here.                       01:37:15
16                   And secondly, because the videographer                      01:37:21
17      only captured part of that scene, so I'm really                          01:37:23
18      not aware of how many people might have been                             01:37:25
19      standing outside the circle that were dancing.                           01:37:27
20             Q     Okay.    And would that be the same                         01:37:29
21      reason why you weren't able to tell how many of                          01:37:32
22      Black Hebrew Israelites there are?                                       01:37:33
23             A     Those are part of the reasons and part                      01:37:35
24      of the reason is that I did observe that a couple                        01:37:36
25      of people with that group were moving around,                            01:37:38


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                             Transcript of Craige Roberts, Ph.D.
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1       either doing videography or recording -- I don't                         01:37:40
2       know what all they were doing.           So I wasn't sure                01:37:47
3       that the group was all in one place.                                     01:37:49
4                Q   And why did you think it was relevant                       01:37:51
5       to compare the number of people in the circle                            01:37:52
6       dance with the number of Covington students?                             01:37:54
7                A   It isn't particularly.          I just thought              01:37:57
8       I'd mention that.                                                        01:38:00
9                Q   Are you claiming that all of the people                     01:38:01
10      in the circle dance later approached the students?                       01:38:02
11      Is that the relevance?                                                   01:38:05
12               A   No, it seemed to be a much smaller                          01:38:06
13      group.                                                                   01:38:09
14               Q   Okay.    And then you say:         "A group of              01:38:11
15      boys, possibly 30 to 40 of them from Covington                           01:38:13
16      ..."                                                                     01:38:15
17                   Why do you say "possibly"?                                  01:38:16
18               A   Again, first of all, I never stopped to                     01:38:17
19      count because I didn't think that was relevant to                        01:38:19
20      the case; and secondly because I didn't know --                          01:38:21
21      well, there are three reasons.           Secondly, I didn't              01:38:25
22      know which of the people that I saw in those                             01:38:27
23      frames were with the group versus just passersby                         01:38:30
24      who just happened to be dressed similar to the                           01:38:34
25      boys.                                                                    01:38:36


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                            Transcript of Craige Roberts, Ph.D.
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1                     And third, I knew from what I read in                      01:38:36
2       the deposition by Sandmann, that they had been                           01:38:38
3       told to gather there by a certain time, that they                        01:38:41
4       were going to be taken to buses, but I didn't know                       01:38:43
5       if all the boys were already there.            Some of them              01:38:46
6       might have been up in the Memorial or out looking                        01:38:49
7       at the reflecting pool, so I didn't know how many                        01:38:50
8       boys there were there.                                                   01:38:54
9              Q      And wouldn't the best way to get an                        01:38:55
10      estimate be to count them in the videos?                                 01:38:57
11             A      Again, I didn't think that was material                    01:39:00
12      or worth the time and money.                                             01:39:01
13             Q      But it would be a good way to do it if                     01:39:03
14      you wanted to go back and do it, right?                                  01:39:06
15             A      If you wanted to, that would be a                          01:39:07
16      start, yes.                                                              01:39:09
17             Q      Is it your assertion that if somebody                      01:39:16
18      did count the numbers that it would be at 30 to 50                       01:39:18
19      or could it be much larger than that?                                    01:39:21
20             A      I really don't know.        I was trying to                01:39:23
21      indicate that I had a vague idea of the group                            01:39:25
22      sizes and I was only doing this to set the scene.                        01:39:28
23             Q      You state that it was: quote, "Not                         01:39:31
24      clear exactly where they" -- referring to the                            01:39:34
25      Native Americans -- "were in the early parts of                          01:39:38


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                            Transcript of Craige Roberts, Ph.D.
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1       the videos."                                                             01:39:40
2                    Why, again, is that unclear from the                        01:39:41
3       videos?                                                                  01:39:42
4              A     Because they were -- the video in which                     01:39:43
5       I saw the circle dance, which you call the round                         01:39:44
6       dance, was taken, I believe, by the videographer                         01:39:47
7       for the Black Hebrew Israelites.                                         01:39:50
8                    There was no -- he didn't pan from the                      01:39:52
9       Black Hebrew Israelites across the scene to                              01:39:56
10      wherever it was that the Native Americans -- the                         01:39:58
11      indigenous people were dancing.           So all he did was              01:40:00
12      just -- I saw a shot of that group and part of --                        01:40:03
13      I didn't even see the entire circle, I don't                             01:40:08
14      think, as I recall.      And there was no context                        01:40:10
15      given that would permit me to say where they were                        01:40:13
16      vis-a-vis the Lincoln Memorial, the reflecting                           01:40:17
17      pond and the rest of the landscape there.                                01:40:20
18             Q     So continuing on page 9, the paragraph                      01:40:27
19      that starts "The Hebrew Israelites..."                                   01:40:31
20             A     Yes.                                                        01:40:37
21             Q     It is the third paragraph, if you will.                     01:40:38
22      In the last sentence you say that:            "The boys were             01:40:39
23      about 30 to 40 feet from the Hebrew Israelites                           01:40:43
24      facing them."                                                            01:40:47
25                   And then you state: "I cannot judge                         01:40:47


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                            Transcript of Craige Roberts, Ph.D.
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1       distances from the videos, so this is a very rough                       01:40:50
2       impression."                                                             01:40:52
3                    How did you reach that very rough                           01:40:54
4       impression, given that you can't judge distances                         01:40:56
5       from the videos?                                                         01:40:58
6              A     I just tried to think how big it was                        01:40:59
7       and it seemed to be bigger, at least twice as long                       01:41:02
8       as my living room, but it was hard to tell because                       01:41:07
9       of the angle at which the film was made.              So I               01:41:09
10      just guessed.     And I'm not very good at distances.                    01:41:12
11             Q     You don't have expertise in that area?                      01:41:18
12             A     No, I do not.                                               01:41:20
13             Q     I take did you don't have specialized                       01:41:21
14      training in analyzing distances on videos, then?                         01:41:24
15             A     No, I do not.                                               01:41:27
16             Q     Do you have any training in                                 01:41:35
17      videography?                                                             01:41:36
18             A     I believe I said I do not.                                  01:41:37
19             Q     So viewing the videos themselves then                       01:41:43
20      is not based on special expertise you have; right?                       01:41:45
21             A     That is correct.                                            01:41:47
22             Q     Let's look on page 9 again:           "At                   01:41:50
23      various points as filmed by the Black Hebrew                             01:41:51
24      Israelites' cameraman..."                                                01:41:57
25                   And you say: "I believe this is videoed                     01:41:57


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1       for Banyamyan video NS116." It's the sentence                            01:42:01
2       right above the sentence at the end there; do you                        01:42:13
3       see that?                                                                01:42:15
4              A     Yes.                                                        01:42:15
5              Q     Why did you state that you believed the                     01:42:15
6       cameraman was in video 4, rather than stating so                         01:42:18
7       affirmatively?                                                           01:42:23
8              A     I said that because I had watched the                       01:42:24
9       whole video and the person who took it seemed to                         01:42:28
10      be focusing on the Black Hebrew Israelites and I                         01:42:31
11      believe that he was there at their behest -- or                          01:42:35
12      maybe he wasn't, he was somebody who was                                 01:42:39
13      interested in that.       So he was the person who                       01:42:40
14      was -- videotaping their interaction with what was                       01:42:43
15      going on in that situation.                                              01:42:47
16             Q     Okay.    And are you referring then to                      01:42:48
17      the person filming that video?                                           01:42:51
18             A     Yes.                                                        01:42:55
19             Q     And on page 9 you refer to "racist                          01:42:56
20      slurs" again and racist and insulting language.                          01:43:00
21      Again, what language are you referring to?                               01:43:05
22             A     I would have to review the video                            01:43:08
23      carefully to remember exactly which slurs were                           01:43:10
24      used towards the African Americans at the time but                       01:43:13
25      I believe the N word might have passed the lips of                       01:43:15


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                            Transcript of Craige Roberts, Ph.D.
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1       some of these people and that's pretty racist and                        01:43:18
2       incendiary.                                                              01:43:21
3              Q      Any other words?                                           01:43:24
4              A      I don't remember.                                          01:43:25
5              Q      Did you ever hear anyone on the video                      01:43:26
6       say anything racist back to the Black Hebrew                             01:43:28
7       Israelites?                                                              01:43:31
8              A      You know, I don't remember that                            01:43:31
9       actually.     I don't think so but maybe somebody                        01:43:33
10      did.   There was hostility going both ways.                              01:43:35
11             Q      You don't contend that there's nothing                     01:43:39
12      audible in any of the videos where somebody said                         01:43:42
13      something racist back to them, back to the Black                         01:43:45
14      Hebrew Israelites?                                                       01:43:46
15             A      I'm not making that contention.             I              01:43:47
16      didn't -- (overspeaking) --                                              01:43:49
17             Q      What about insulting?        Did you hear                  01:43:53
18      anyone say anything insulting to the Black Hebrew                        01:43:57
19      Israelites?                                                              01:43:59
20             A      I don't remember.                                          01:43:59
21             Q      Are you contending that there was                          01:44:00
22      nothing audible in any of the videos that was said                       01:44:01
23      that was insulting to the Black Hebrew Israelites?                       01:44:04
24             A      No, I'm not.                                               01:44:06
25             Q      You just can't recall, sitting here                        01:44:07


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                             Transcript of Craige Roberts, Ph.D.
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1       today?                                                                   01:44:09
2                A    I'm telling you it didn't strike me and                    01:44:09
3       I don't remember it.        I didn't think it was                        01:44:11
4       material to the case so I did not review it.                             01:44:13
5                Q    Page 9, the last line continuing onto                      01:44:20
6       page 10, it says: "Finally, one of the Covington                         01:44:25
7       boys raced down the steps in front of the school                         01:44:30
8       ... faced the boys, tore off his shirt and led                           01:44:32
9       what seemed to be a sports cheer ... in which the                        01:44:35
10      boys enthusiastically took up, making a lot of                           01:44:40
11      noise, cheering, jumping up and down as if at a                          01:44:43
12      pep rally."                                                              01:44:47
13                    Do you see that?                                           01:44:51
14               A    Yes.                                                       01:44:52
15               Q    You appear to make an analogy to a                         01:44:53
16      school sporting event here.          Why?                                01:44:55
17               A    It was my impression that what that boy                    01:44:57
18      did might have been an actual pep rally cheer.                           01:45:00
19      The boys knew the cheer, the fellow who did it                           01:45:04
20      behaved as if he were kind of a cheer leader, so                         01:45:09
21      I had the impression that this was really                                01:45:13
22      something that they recognized immediately from                          01:45:14
23      sports rally.                                                            01:45:17
24               Q    And that's based on your personal                          01:45:17
25      experience at sports rallies.                                            01:45:19


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                             Transcript of Craige Roberts, Ph.D.
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1               A     I grew up in the midwest.          I saw a lot             01:45:21
2       of them.     Yes.                                                        01:45:24
3               Q     That's not based on your linguistic                        01:45:24
4       expertise?                                                               01:45:27
5               A     No, this is not based on my linguistic                     01:45:27
6       expertise?                                                               01:45:32
7               Q     Okay, don't cultural differences -- you                    01:45:32
8       say you grew up in the midwest matter in how                             01:45:33
9       people might view something like this?                                   01:45:36
10              A     Yes.                                                       01:45:38
11                    MR. McMURTRY:      Objection.                              01:45:39
12      BY MS. SPEARS:                                                           01:45:39
13              Q     Your answer is "yes"?                                      01:45:39
14              A     Yes, I said of course.                                     01:45:41
15                    THE COURT REPORTER:        Was there an                    01:45:49
16      objection there?       I believe there was.                              01:45:49
17                    MR. McMURTRY:      Yes.                                    01:45:49
18                    THE COURT REPORTER:        Thank you.                      01:45:49
19      BY MS. SPEARS:                                                           01:45:49
20              Q     And again, same thing, a pep rally is                      01:45:50
21      something you know about based on your own                               01:45:58
22      personal experience?                                                     01:45:59
23              A     Yes, I do not assume that others                           01:46:01
24      viewing the scene would have recognized it as                            01:46:04
25      such.                                                                    01:46:06


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                            Transcript of Craige Roberts, Ph.D.
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1              Q     You use the word in the next sentence                        01:46:07
2       "rowdy" spectators; why did you use the word                              01:46:07
3       "rowdy"?                                                                  01:46:11
4              A     Let me look at the sentence again.                           01:46:13
5                    Yes, the boys were acting as if they                         01:46:13
6       were rowdy spectators in a sports encounter,                              01:46:15
7       because that's what it looked like to me.                 And not         01:46:18
8       just on my basis of growing up in the midwest but                         01:46:20
9       on any television sporting event when they focus                          01:46:23
10      on a crowd, whether it is in Europe or the United                         01:46:25
11      States.                                                                   01:46:28
12             Q     You refer to this as an encounter                            01:46:29
13      between the boy's "team", you used the word, and                          01:46:33
14      the Black Hebrew Israelites?                                              01:46:37
15             A     I didn't say that's what it was.               I             01:46:38
16      said they acted as if they were rowdy spectators                          01:46:41
17      and it was their team versus the Black Hebrew                             01:46:44
18      Israelites, yes.                                                          01:46:47
19             Q     Do you think the boys had an "us versus                      01:46:48
20      them" mentality in that sense, watching it?                               01:46:52
21             A     I believe -- I can't attribute motives,                      01:46:54
22      again, I told you that's not my expertise, but                            01:46:56
23      usually sporting events are about an "us versus                           01:46:58
24      them" event.                                                              01:47:02
25             Q     And does it seem, watching the videos,                       01:47:03


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1       that that's sort of the mentality that they had in                       01:47:05
2       that moment?                                                             01:47:07
3              A      I had that impression, that it was like                    01:47:08
4       they were acting like they were at a sports event,                       01:47:09
5       yes.   This was their team and that was the other                        01:47:12
6       guy's team.                                                              01:47:14
7              Q      So an "us versus them" mentality?                          01:47:15
8              A      You want to put words in my mouth, I                       01:47:17
9       really don't want to accept them, no.                                    01:47:19
10             Q      That's -- but what you are saying is                       01:47:22
11      that it seemed to you that's what was going on at                        01:47:24
12      the time?                                                                01:47:27
13             A      It seemed to me that they felt like                        01:47:28
14      they were on one team.       They were acting as if --                   01:47:29
15      I don't know what they thought.           They were acting               01:47:33
16      as if they were -- they were rooting for their                           01:47:34
17      team, whatever that meant to them, and that they                         01:47:36
18      were doing this in response to what the Black                            01:47:39
19      Hebrew Israelites had been doing.                                        01:47:42
20             Q      And hence sort of a desire to root for                     01:47:43
21      their team?                                                              01:47:48
22             A      That's what people do at sporting                          01:47:49
23      events, yes.                                                             01:47:53
24             Q      And that's what it looked like to you                      01:47:53
25      they were doing?                                                         01:47:54


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1              A      It looked to me like that, yes.                            01:47:55
2              Q      And as you said a moment ago, others                       01:47:57
3       witnessing the boys' conduct might not have viewed                       01:47:59
4       that behavior as akin to a sporting event, right?                        01:48:02
5              A      Yes.                                                       01:48:05
6              Q      And they wouldn't be wrong if they                         01:48:05
7       didn't; right?                                                           01:48:08
8              A      I am -- yes, I am not attributing                          01:48:09
9       any -- that the one way you view it as a sporting                        01:48:11
10      event is the way you should view it or others                            01:48:15
11      should view it that way.         I was just trying to                    01:48:19
12      describe the -- the behavior of the boys.                                01:48:21
13             Q      To characterize it from what you saw?                      01:48:23
14             A      Yes, yes.                                                  01:48:26
15             Q      Could a person watching a large group                      01:48:27
16      of boys responding to the Black Hebrew Israelites                        01:48:29
17      by yelling loudly and jumping up and down and                            01:48:32
18      grunting with clenched fists that are held up                            01:48:36
19      toward them potentially perceive that as                                 01:48:40
20      expressing hostility towards the Black Hebrew                            01:48:43
21      Israelites?                                                              01:48:45
22                    MR. McMURTRY:      Objection, go ahead.                    01:48:46
23                    THE WITNESS:      I imagine they might,                    01:48:47
24      yes.                                                                     01:48:48
25      BY MS. SPEARS:                                                           01:48:48


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1              Q     Especially when it's a group of white                       01:48:48
2       teenagers --                                                             01:48:51
3                    MR. McMURTRY:      Objection to the --                      01:48:53
4       BY MS. SPEARS:                                                           01:48:54
5              Q     -- responding to five or six --                             01:48:54
6                    MR. McMURTRY:      Double objection.                        01:48:55
7       Triple objection.                                                        01:48:58
8                    MS. SPEARS:     You have to wait until I                    01:48:59
9       am done with the question.                                               01:48:59
10                   MR. McMURTRY:      (Inaudible) triple                       01:48:59
11      objection (overspeaking).                                                01:48:59
12      BY MS. SPEARS:                                                           01:49:00
13             Q     Especially when there is a group of                         01:49:00
14      large white teenagers responding to -- a large                           01:49:03
15      group of white teenagers responding to five or six                       01:49:05
16      black men?                                                               01:49:09
17                   MR. McMURTRY:      Triple objection, thank                  01:49:10
18      you.                                                                     01:49:11
19                   THE WITNESS:      As I said earlier in my                   01:49:12
20      comments, I recognize this as an interaction                             01:49:14
21      between three groups who had political interests                         01:49:16
22      that might be viewed as at odds with each other.                         01:49:19
23      So I think that it could be very possible in such                        01:49:22
24      a circumstance that someone from one group might                         01:49:24
25      interpret what other people were doing from                              01:49:27


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1       another group in a way that the other group didn't                       01:49:29
2       necessarily intend.                                                      01:49:31
3       BY MS. SPEARS:                                                           01:49:33
4              Q     In a way that would be hostile                              01:49:33
5       potentially?                                                             01:49:36
6              A     I could appreciate that might be the                        01:49:37
7       case in this case, yes.                                                  01:49:39
8              Q     Do you think the students' behavior                         01:49:42
9       might was appropriate?                                                   01:49:45
10             A     That would be a matter for my personal                      01:49:46
11      opinion and I didn't think that my expertise --                          01:49:47
12      that I have anything to say that about that.                             01:49:49
13             Q     You describe Phillips on the next -- on                     01:49:53
14      page 10, the next page, as chanting loudly in a                          01:49:55
15      language other than English; right?                                      01:50:01
16             A     Yes.                                                        01:50:03
17             Q     Do you know what led Phillips to chant                      01:50:04
18      loudly in a language other than English, as you                          01:50:06
19      say?                                                                     01:50:09
20             A     I can only surmise.        He had been                      01:50:09
21      performing what I took to be a Native American                           01:50:13
22      drum chant and typically those -- those chants are                       01:50:15
23      in the language of the tribe to which this is                            01:50:20
24      ceremonial behavior -- for which it is ceremonial                        01:50:24
25      behavior.    So I assumed that the chant and the                         01:50:30


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                            Transcript of Craige Roberts, Ph.D.
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1       language in which he spoke were the same.                 That           01:50:33
2       may or may not be correct but it's typical.                              01:50:35
3              Q      And --                                                     01:50:41
4              A      In ceremonial circumstances.                               01:50:41
5              Q      Is that based on your experience or                        01:50:44
6       expertise as a linguist or just your personal                            01:50:48
7       experience?                                                              01:50:50
8              A      I would say that is my personal                            01:50:52
9       experience watching people behave that way in                            01:50:53
10      powwows.                                                                 01:50:58
11             Q      And you state he was chanting words in                     01:50:59
12      the language of the tribe -- are you familiar with                       01:51:01
13      the American Indian movement song?                                       01:51:03
14             A      No, no.                                                    01:51:07
15             Q      Would it surprise you to know that this                    01:51:08
16      is what Phillips was chanting?                                           01:51:10
17             A      No, it would not.      I did not know.                     01:51:11
18             Q      Would it surprise you to know that the                     01:51:13
19      song does not have any words?                                            01:51:14
20             A      Not necessarily, no.                                       01:51:16
21             Q      Wouldn't, as a linguist, you be able to                    01:51:21
22      distinguish between the spoken word and sound?                           01:51:23
23             A      Especially not in a chant, no.                             01:51:26
24             Q      Why not?                                                   01:51:28
25             A      Every language has different sound                         01:51:29


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                             Transcript of Craige Roberts, Ph.D.
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1       patterns that they use.         A chant does have                        01:51:32
2       specific sounds that are regularly uttered in --                         01:51:35
3       usually typically jointly with -- rhythmically                           01:51:40
4       with the music and I couldn't say whether they                           01:51:44
5       were saying, like, an English, "Yes, yes, yes," or                       01:51:46
6       whether they were just saying, "Wah, wah, wah,"                          01:51:49
7       okay?       But the -- because I don't know what                         01:51:52
8       language it would be and I wouldn't know whether                         01:51:56
9       it was a word in that language.                                          01:51:59
10              Q       Do you think it's possible that                          01:52:00
11      Mr. Phillips was praying?                                                01:52:02
12              A       Oh, yes, definitely.       I think it                    01:52:03
13      likely.                                                                  01:52:05
14              Q       You state that Mr. Phillips was:                         01:52:11
15                      "... leading a group of Native                           01:52:12
16      Americans towards the boys."                                             01:52:13
17                      What do you mean by stating that                         01:52:16
18      Mr. Phillips was leading the group?                                      01:52:19
19              A       The reason I seemed to think he was                      01:52:21
20      leading was that he was the one who was doing the                        01:52:24
21      performance, which was the ceremonial chant,                             01:52:26
22      whatever its content, and beating the drum loudly                        01:52:32
23      to draw attention and that the others were                               01:52:35
24      trailing behind him or photographing him.                                01:52:37
25              Q       You say -- well, how did you make that                   01:52:41


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                             Transcript of Craige Roberts, Ph.D.
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1       determination?                                                           01:52:43
2                A      I watched the videos.                                    01:52:43
3                Q      You say on page 10:                                      01:52:45
4                       "It is not clear how many are in                         01:52:48
5       Mr. Phillips' group at this point and how many are                       01:52:50
6       mere onlookers following the show, but I might                           01:52:54
7       guess there are 10 or 20 people in that encourage,                       01:52:57
8       including a cameraman filming the situation."                            01:53:02
9                       I want to talk about a couple of things                  01:53:05
10      you say in there.       What do you mean by                              01:53:05
11      "Mr. Phillips' group," group of what?                                    01:53:07
12               A      I did not mean it was an organized                       01:53:08
13      group.       I have no idea how it came to follow along                  01:53:10
14      after him.       Some of the people who were there,                      01:53:13
15      given their behavior once the confrontation began                        01:53:16
16      were clearly members of the indigenous people's                          01:53:19
17      group given the arguments that they had with the                         01:53:23
18      boys and the things they were yelling at the                             01:53:27
19      Covington boys.                                                          01:53:29
20               Q      What do you mean by "indigenous                          01:53:29
21      people's group"?                                                         01:53:31
22               A      Well, they were dressed as if they had                   01:53:32
23      come for the ceremonial dance and so forth.                              01:53:34
24      Another one had another drum and was drumming                            01:53:36
25      along with Phillips.        And one of them was a                        01:53:40


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                             Transcript of Craige Roberts, Ph.D.
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1       cameraman who was -- who, like the Black Hebrew                          01:53:43
2       Israelites' videographer, focusing on them, one of                       01:53:47
3       the camera people in this group of people was                            01:53:51
4       focusing on Phillips and his group, so I assumed                         01:53:56
5       he was with them.                                                        01:53:58
6               Q       So that's based on your assumptions,                     01:53:59
7       though, you don't know for sure.                                         01:54:01
8               A       I could say -- yeah, I don't know for                    01:54:03
9       sure.       I only know what I saw in the videos.                        01:54:06
10              Q       And you are making an assumption about                   01:54:08
11      who was with who?                                                        01:54:10
12              A       Yes, I am -- on the bases of what I saw                  01:54:11
13      and their behavior in the group.                                         01:54:13
14              Q       But you don't know for sure?                             01:54:15
15              A       I think I do know what I saw and I do                    01:54:18
16      think those people were together.                                        01:54:21
17              Q       And again, those are based on                            01:54:25
18      assumptions you made about what they were wearing                        01:54:26
19      and watching the videos, correct?                                        01:54:29
20              A       On their -- an assumption about their                    01:54:30
21      behavior.                                                                01:54:34
22              Q       Mm-hmm.                                                  01:54:35
23              A       And when they entered the scene.                         01:54:35
24              Q       Why do you call it a "show"?         Why do              01:54:38
25      you use that word?                                                       01:54:41


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                             Transcript of Craige Roberts, Ph.D.
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1              A     I just meant that Phillips did that to                      01:54:42
2       draw attention, for whatever reason, he approached                       01:54:44
3       from outside.     There was an interaction going on                      01:54:47
4       between the boys and the Black Hebrew Israelites.                        01:54:50
5       And he came from the side, beating a drum loudly                         01:54:53
6       and chanting, in such a way as to draw attention.                        01:54:57
7       That's a show.                                                           01:54:59
8              Q     And you talk about an entourage, why                        01:55:00
9       did you use the phrase "entourage"?                                      01:55:04
10             A     I used it because I do believe from                         01:55:08
11      what I saw in the video that many of those people                        01:55:09
12      followed him to support him in what he was doing.                        01:55:11
13             Q     At one point you say 10 to 20 people in                     01:55:20
14      the entourage.       In what video did you see 10 to 20                  01:55:22
15      people in the entourage --                                               01:55:27
16             A     I didn't count, again, as in these                          01:55:29
17      other cases, I did not count, so that number is                          01:55:32
18      not intended to be accurate, but I did see a small                       01:55:34
19      clot of people following Phillips from different                         01:55:37
20      angles in the different videos and I assumed that                        01:55:40
21      those were the people with him.                                          01:55:44
22             Q     Okay.     And you referenced a cameraman,                   01:55:45
23      why do you call a person a cameraman?                                    01:55:47
24             A     Well, videographer.                                         01:55:49
25             Q     And who was the cameraman or                                01:55:51


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                              Transcript of Craige Roberts, Ph.D.
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1       videographer?                                                             01:55:53
2                A    I'd have to look at my records again to                     01:55:54
3       tell you, which video it was.                                             01:55:56
4                Q    Okay.    Let's pull up what we've marked                    01:56:02
5       as Exhibit 10, Video 10, which, for the record, is                        01:56:04
6       the Video 10 that is stipulated in the case.                              01:56:07
7                A    Not one of the ones I cite.                                 01:56:13
8                Q    It is one of the ones you cite.               It is         01:56:18
9       Video 10.                                                                 01:56:20
10               A    I am just looking for it.           Where do I              01:56:35
11      cite it?     Can you tell me?                                             01:56:35
12                    I mean, I say I watched it but I don't                      01:56:35
13      see in the report where I cite it.                                        01:56:37
14               Q    Okay, so let me ask you a question                          01:56:42
15      about that.                                                               01:56:43
16                    We already went through in the                              01:56:44
17      beginning of your report, you list the 10 videos                          01:56:45
18      that were given to you.          That's on page --                        01:56:49
19               A    Sure.                                                       01:56:51
20                    MR. McMURTRY:         5 or 6, I think.                      01:56:53
21                    MS. SPEARS:      5.                                         01:56:54
22                    THE WITNESS:       Of course I know I                       01:56:55
23      watched that but when I state the facts I don't                           01:56:56
24      believe I cited video 10 in the statement of                              01:56:59
25      facts.                                                                    01:57:02


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1       BY MS. SPEARS:                                                           01:57:02
2              Q      And what's the significance of that?                       01:57:02
3              A      Not -- nothing -- I'm not denying that                     01:57:04
4       I saw the video.     I'm saying that it was not the                      01:57:06
5       one which provided the scenes that I felt were                           01:57:08
6       most telling when I stated these things as facts.                        01:57:12
7       I'm perfectly willing to concede that I                                  01:57:15
8       watched it.                                                              01:57:17
9              Q      Okay, so for the record we just, to                        01:57:18
10      correspond with the videos that are stipulated in                        01:57:24
11      this case, marked exhibits to the deposition                             01:57:26
12      accordingly.     So this is Video 10, Exhibit 10, and                    01:57:29
13      why don't you start at the beginning and stop at                         01:57:35
14      around the 10 second mark.                                               01:57:41
15                    MS. MEEK:    I am playing Video 10,                        01:57:43
16      starting at the beginning.                                               01:57:50
17                         (Video 10 played.)                                    01:57:51
18                    MS. MEEK:    I just paused Video 10 at                     01:58:05
19      10 seconds.                                                              01:58:08
20      BY MS. SPEARS:                                                           01:58:08
21             Q      Do you see in that video who you refer                     01:58:08
22      to in your report as the cameraman?                                      01:58:11
23             A      I'm not sure, no.                                          01:58:13
24             Q      Let me go a second further and point                       01:58:14
25      the cursor.                                                              01:58:16


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                                Transcript of Craige Roberts, Ph.D.
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1                               (Video 10 played.)                                   01:58:17
2                A      I wonder if it's the fellow who --                           01:58:22
3       okay, so you see the fellow in the white hat?                                01:58:23
4       Yep, there.       Is it the fellow to his left?                No,           01:58:25
5       above.       Above and -- there, that guy, is that the                       01:58:28
6       fellow?                                                                      01:58:32
7                Q      I'm asking you.                                              01:58:35
8                A      Well, I don't know in this video.                I           01:58:36
9       haven't studied it as carefully as some of the                               01:58:36
10      others.                                                                      01:58:36
11                      I'd have look further at the video to                        01:58:38
12      decide whether I thought he had come in with that                            01:58:41
13      group.                                                                       01:58:43
14               Q      And why did you call him a cameraman as                      01:58:44
15      opposed to a person holding a camera; are you                                01:58:48
16      giving him an official title?                                                01:58:52
17               A      I wasn't trying to implicate that he                         01:58:54
18      was a professional or anything like that.                     He was         01:58:55
19      just a person holding a camera taking a video.                               01:58:57
20               Q      Okay.     So you weren't assuming it was                     01:59:00
21      his job --                                                                   01:59:03
22               A      No.                                                          01:59:03
23               Q      -- to video the --                                           01:59:03
24               A      No.                                                          01:59:05
25               Q      -- event?                                                    01:59:05


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                               Transcript of Craige Roberts, Ph.D.
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1               A       No.                                                      01:59:06
2               Q       Did you think the cameraman, as you                      01:59:08
3       called him, was somebody Mr. Phillips brought with                       01:59:10
4       him to film the video?                                                   01:59:13
5               A       I don't know, no.       He might have been               01:59:15
6       just somebody who just trailed along with him.                           01:59:17
7               Q       There were lots of people in the videos                  01:59:19
8       holding cameras up, correct?                                             01:59:21
9               A       Correct.                                                 01:59:22
10              Q       Students included?                                       01:59:24
11              A       Absolutely.                                              01:59:25
12              Q       Let's go back to -- you can take that                    01:59:34
13      down.       Thank you.                                                   01:59:36
14                      Let's go back to page 10 of your                         01:59:37
15      report.       You describe Mr. Phillips as walking up                    01:59:41
16      to the boys and ignoring, is the word you used,                          01:59:43
17      the BHI, the Black Hebrew Israelites.                                    01:59:47
18                      Why did you say "ignoring"?                              01:59:51
19              A       From what I could see when Mr. Phillips                  01:59:54
20      came on the scene, he, from what I described as                          01:59:55
21      the north of the steps, coming down, he passed                           01:59:59
22      between the boys and the Black Hebrew Israelites                         02:00:05
23      but his attention was focused on the boys, the                           02:00:09
24      direction he moved and the direction of his gaze,                        02:00:12
25      so it seemed to me that he -- that was his                               02:00:14


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1       intention in moving there was to direct himself to                       02:00:17
2       them.                                                                    02:00:22
3               Q       Are you implying that he should have                     02:00:28
4       paid attention to the Black Hebrew Israelites in                         02:00:30
5       some way?                                                                02:00:33
6               A       No.                                                      02:00:33
7               Q       No?                                                      02:00:34
8               A       No.                                                      02:00:34
9               Q       Do you know what Mr. Phillips was                        02:00:35
10      trying to do?                                                            02:00:36
11              A       No.    Not -- (overspeaking) --                          02:00:37
12              Q       Do you know whether he had a purpose in                  02:00:41
13      the moment?                                                              02:00:42
14              A       I suspect he did from his behavior but                   02:00:43
15      I'm not in a position to analyze it.                                     02:00:45
16              Q       You don't know what he was feeling in                    02:00:47
17      the moment, for example?                                                 02:00:48
18              A       No, of course I don't.                                   02:00:49
19              Q       You don't believe it to would be                         02:00:52
20      important to your opinions to know the answers to                        02:00:54
21      those questions?                                                         02:00:56
22              A       I have no expertise that would bear on                   02:00:56
23      that.       I would be telling pure -- purely on the                     02:00:58
24      basis of my surmise and I don't think I have the                         02:01:00
25      expertise to back it up.                                                 02:01:02


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                             Transcript of Craige Roberts, Ph.D.
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1                Q      You state you couldn't see from the                      02:01:06
2       videos whether Mr. Phillips climbed any of the                           02:01:08
3       steps and you assumed he was on the flat area,                           02:01:11
4       correct?                                                                 02:01:13
5                A      He did climb them later, after Sandmann                  02:01:14
6       left, you can see clearly in one of the videos and                       02:01:16
7       I had it on the summary sheet that I brought                             02:01:20
8       today, where Phillips climbs the steps to where                          02:01:25
9       Sandmann had been and turns around to face the                           02:01:29
10      crowd.       But I believe that's the only time he                       02:01:32
11      climbed a step that I could see in the videos.                           02:01:34
12               Q      When Mr. Phillips first approached the                   02:01:43
13      students and stood in front of them, how far away                        02:01:46
14      was Mr. Sandmann from him?                                               02:01:50
15               A      Well, it is difficult to say.          I told            02:01:51
16      you I'm not good at distances.           I would say that                02:01:53
17      initially Mr. Phillips was walking in front of a                         02:01:55
18      larger group of boys and not that close to him, so                       02:01:57
19      I would say maybe he was 2 or 3 feet out from the                        02:02:00
20      large group of boys and, in turn, Phillips --                            02:02:04
21      Sandmann was up two or three steps.             So, I don't              02:02:06
22      know, maybe 5, 6, 7 feet.                                                02:02:08
23                      I mean, he also came from the north and                  02:02:11
24      passed down along, so even when he was passing in                        02:02:13
25      front of Phillips he must have been 5 or 6 feet in                       02:02:16


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                                 Transcript of Craige Roberts, Ph.D.
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1       front of him.        That's a guess, I don't know how                    02:02:19
2       far he was.                                                              02:02:21
3                Q       Okay.    Weren't there multiple rows of                 02:02:22
4       students at first between Phillips and                                   02:02:25
5       Mr. Sandmann?                                                            02:02:27
6                A       Yes, yes, but some were on the ground                   02:02:28
7       and some were on the steps.                                              02:02:30
8                Q       And how did Mr. Phillips get to the                     02:02:36
9       place where Mr. Sandmann was standing?                                   02:02:37
10               A       From what I saw he walked along and he                  02:02:40
11      actually walked into the group of boys who were on                       02:02:43
12      the ground and some of them --                                           02:02:45
13                           -- (overspeaking) --                                02:02:46
14               Q       Sorry.                                                  02:02:50
15               A       It's okay, he walked into that group of                 02:02:51
16      boys.        He just began to walk past Sandmann and                     02:02:52
17      then for some reason Sandmann caught his                                 02:02:55
18      attention.        He turned around and faced Sandmann --                 02:02:59
19      face on, direct on, and walked up to him on the                          02:03:04
20      steps.                                                                   02:03:06
21               Q       That's your interpretation after                        02:03:07
22      reviewing the videos?                                                    02:03:10
23               A       I have it on the video there, yes.                      02:03:13
24               Q       That's your interpretation?                             02:03:15
25               A       That's what I saw on the video.                         02:03:16


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                            Transcript of Craige Roberts, Ph.D.
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1              Q     So you already testified and we saw in                      02:03:18
2       your report that on the videos you say that there                        02:03:20
3       were some other students who parted from                                 02:03:22
4       Mr. Phillips as he approached; right?                                    02:03:24
5              A     Yes, the ones who -- as he walked into                      02:03:26
6       the crowd, it parted to let him by.                                      02:03:28
7              Q     And so didn't Mr. Phillips get there by                     02:03:31
8       moving forward through this space that other                             02:03:33
9       students opened up to let him by, as you say?                            02:03:36
10             A     I believe so, yes.        I said that.                      02:03:39
11             Q     Let's discuss -- on page 10 you talk                        02:03:46
12      about -- I want to talk a bit more about what you                        02:03:49
13      were just talking about.                                                 02:03:51
14                   In Video 2 you mention on page 10 of                        02:03:56
15      your report -- do you see that there in the                              02:03:59
16      middle?                                                                  02:04:01
17             A     "At the beginning of Video 2", yes.                         02:04:01
18             Q     Yes.   So let's walk you through your                       02:04:04
19      description of what's happening.           You write there:              02:04:15
20      "At the beginning of Video 2, Phillips walks from                        02:04:17
21      the right along the front edge of the boys                               02:04:21
22      drumming and chanting loudly."                                           02:04:24
23                   What do you mean by that?          From whose               02:04:24
24      right and what direction are you claiming he's                           02:04:28
25      walking?                                                                 02:04:29


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                            Transcript of Craige Roberts, Ph.D.
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1              A      As I said at the beginning of the                          02:04:30
2       paragraph, it is shot from in front of the Hebrew                        02:04:31
3       Israelites and facing the Lincoln Memorial.                              02:04:34
4                     As I said earlier -- I'm going to have                     02:04:36
5       to get my directions right again, the Lincoln                            02:04:41
6       Memorial, I think, faces ... I said in which                             02:04:44
7       direction -- I looked it up, which direction the                         02:05:03
8       Lincoln Memorial faces.                                                  02:05:05
9                     I think it faces east across the                           02:05:06
10      reflecting pond.     Yes, I think it -- let's assume                     02:05:10
11      that it faces east along the reflecting pond and                         02:05:12
12      then -- so the steps of the Memorial would be then                       02:05:16
13      north/south, on a north/south axis, if I'm correct                       02:05:18
14      about that.     I'm trying to find the passage here                      02:05:21
15      and I'm not finding it.                                                  02:05:23
16                    So when I say that the cameraman in                        02:05:25
17      this particular video is -- and I mean by that,                          02:05:27
18      whoever took the shot, I don't mean they're                              02:05:30
19      professional, is looking with his back to the                            02:05:32
20      Black Hebrew Israelites facing the Lincoln                               02:05:36
21      Memorial, then he'd be facing west with the steps                        02:05:38
22      to his right, would be the north, coming along the                       02:05:44
23      north from the steps that -- along the steps.                            02:05:46
24                    So I saw Mr. Phillips and a group of                       02:05:49
25      people following him come, I first heard them from                       02:05:52


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                            Transcript of Craige Roberts, Ph.D.
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1       behind, from the right, that would be to the north                       02:05:57
2       of -- east, and then they come down in between the                       02:05:59
3       two groups in front of the person taking this                            02:06:03
4       video and go along the front of the boys.                 So             02:06:06
5       that's going from north to south along the front                         02:06:09
6       of the steps, from this cameraman's right to left,                       02:06:13
7       the Covington boys are more or less directly ahead                       02:06:17
8       and the -- Phillips walks into the crowd of boys                         02:06:24
9       which pours down from the steps onto the flat                            02:06:25
10      ground and as he does so, some of the boys who are                       02:06:30
11      on the flat ground part to let him go.             I never               02:06:33
12      saw any place where any of them they blocked him.                        02:06:36
13             Q     Let's go to Video 2.                                        02:06:38
14                   MR. McMURTRY:      Just so I'm clear, the                   02:06:44
15      numbers are the same in the report and our                               02:06:45
16      exhibits; right?                                                         02:06:47
17                   MS. SPEARS:     Correct.      Let's pull up                 02:06:50
18      what we've marked as Video 2, Exhibit 2 and start                        02:06:51
19      at the beginning and pause at -- one sec.                                02:06:55
20                   MS. MEEK:     I'm starting Video 2,                         02:07:10
21      Exhibit 2 at the beginning.                                              02:07:12
22                         (Video 2 played.)                                     02:07:13
23                   MS. MEEK:     I just paused Video 2,                        02:07:33
24      Exhibit 2, at 20 seconds.                                                02:07:35
25      BY MS. SPEARS:                                                           02:07:37


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                            Transcript of Craige Roberts, Ph.D.
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1               Q    So where in the video do you see                            02:07:37
2       Mr. Phillips walking from the right?                                     02:07:38
3               A    I might have the wrong video.            I have             02:07:41
4       to look at the other videos and find the one I                           02:07:58
5       saw.    I think it was Banyamyan maybe, I'm not                          02:08:02
6       sure.                                                                    02:08:03
7               Q    Because he's not walking from the                           02:08:04
8       right, that's incorrect.                                                 02:08:06
9               A    No, no, that's not the correct video,                       02:08:06
10      I've got the wrong video.                                                02:08:07
11              Q    So that's incorrect in the report?                          02:08:08
12              A    That is incorrect in the report.                            02:08:10
13              Q    Let's -- can you jump back to the                           02:08:11
14      beginning of this, play from beginning to pause                          02:08:13
15      about the 8-second mark?                                                 02:08:15
16                   MS. MEEK:     I'm starting Video 2 back                     02:08:20
17      from the beginning.                                                      02:08:21
18                         (Video 2 played.)                                     02:08:22
19                   MS. MEEK:     I just paused Video 2 at                      02:08:28
20      8 seconds.                                                               02:08:34
21      BY MS. SPEARS:                                                           02:08:35
22              Q    So for the first couple of seconds we                       02:08:35
23      don't see Mr. Phillips, at all?                                          02:08:37
24              A    No, we don't.      This is the wrong video.                 02:08:38
25                   MS. SPEARS:     Okay.     Then let's restart                02:08:41


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                            Transcript of Craige Roberts, Ph.D.
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1       it at the 8-second mark or where we are at right                         02:08:41
2       now and play on until the 20-second mark.                                02:08:45
3                     MS. MEEK:     Restarting Video 2 at 8                      02:08:48
4       seconds.                                                                 02:08:51
5                          (Video 2 played.)                                     02:08:51
6                     MS. MEEK:     I just paused Video 2 at                     02:09:03
7       20 seconds.                                                              02:09:06
8       BY MS. SPEARS:                                                           02:09:06
9               Q     Okay, and at these seconds that we just                    02:09:06
10      walked, Phillips just turns to his own right,                            02:09:08
11      correct?                                                                 02:09:10
12              A     Yes, to his right.                                         02:09:11
13              Q     And towards the right side of the crowd                    02:09:13
14      of boys, correct?                                                        02:09:15
15              A     Correct.                                                   02:09:16
16              Q     Do you know why?                                           02:09:17
17              A     I don't know where this -- the angle is                    02:09:18
18      on this one so I can't tell you what he's doing.                         02:09:19
19      I think he is just wading into the boys, but -- I                        02:09:21
20      don't know why, but he's wading into the crowd of                        02:09:24
21      boys.                                                                    02:09:27
22                    MS. SPEARS:     Okay, and restart it at                    02:09:27
23      where we just left off, the 20-second mark, and                          02:09:31
24      pause at the 32-second mark.                                             02:09:34
25                    MS. MEEK:     Restarting Video 2 at                        02:09:39


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1       20 seconds.                                                              02:09:41
2                          (Video 2 played.)                                     02:09:42
3                     MS. MEEK:     I just paused Video 2 at 32                  02:09:54
4       seconds.                                                                 02:09:56
5       BY MS. SPEARS:                                                           02:09:56
6               Q     Do you recognize some of the students                      02:09:56
7       as doing what's known as the tomahawk chop?                              02:09:59
8               A     Yes, I mentioned that in my report.                        02:10:02
9               Q     Are you familiar with the tomahawk                         02:10:04
10      chop?                                                                    02:10:04
11              A     I've seen it in sports games.                              02:10:05
12              Q     Then in your report you say it's a                         02:10:06
13      controversial gesture seen in Atlanta baseball                           02:10:09
14      games and other sporting events.           Why is it                     02:10:12
15      controversial?                                                           02:10:13
16              A     I believe it's regarded as offensive by                    02:10:13
17      many indigenous people, Native American people.                          02:10:15
18              Q     Did you consider whether Mr. Phillips                      02:10:18
19      could have viewed the tomahawk chop in this moment                       02:10:20
20      as offensive or mocking him?                                             02:10:23
21              A     That was not part of my expertise in                       02:10:26
22      writing the report.       I have no doubt that he would                  02:10:27
23      have.                                                                    02:10:29
24                    MS. SPEARS:     Can you restart it at the                  02:10:30
25      30-second mark and then pause just a little after                        02:10:37


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                            Transcript of Craige Roberts, Ph.D.
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1       the 41-second mark?                                                      02:10:39
2                    MS. MEEK:     I'm starting at 32 seconds,                   02:10:41
3       Video 2.                                                                 02:10:43
4                          (Video 2 played.)                                     02:10:44
5                    THE WITNESS:      Can we stop.                              02:10:57
6                    The guy in the red hat is the cameraman                     02:10:57
7       with Phillips.     That's what I was talking about.                      02:10:59
8       BY MS. SPEARS:                                                           02:11:00
9              Q     Where we just paused that?                                  02:11:00
10             A     No, just before that.         There, that's                 02:11:02
11      the guy.                                                                 02:11:03
12                   MS. MEEK:     For the record, the witness                   02:11:06
13      just pointed to 39 seconds in Video 2.                                   02:11:07
14                   THE WITNESS:      The guy in the red cap.                   02:11:11
15      That's the guy with Phillips.                                            02:11:12
16      BY MS. SPEARS:                                                           02:11:15
17             Q     Okay, let's talk about this for another                     02:11:15
18      second.    So you are referring to my earlier                            02:11:15
19      questions when I asked you who you were referring                        02:11:18
20      to as the cameraman --                                                   02:11:19
21                        -- (overspeaking) --                                   02:11:20
22             A     That's right.                                               02:11:20
23             Q     You got to wait until I'm done.              Sorry.         02:11:21
24      You were referring to the earlier questions where                        02:11:24
25      I asked you about the person you called the                              02:11:26


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                            Transcript of Craige Roberts, Ph.D.
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1       "cameraman" in your report; is that right?                               02:11:29
2              A      Correct.                                                   02:11:32
3              Q      And you are stating that the person you                    02:11:33
4       are referencing is the person depicted the red cap                       02:11:36
5       holding a camera at second 40?                                           02:11:41
6                     MS. MEEK:     39.                                          02:11:45
7       BY MS. SPEARS:                                                           02:11:47
8              Q      39 in Video 2?                                             02:11:47
9              A      That's now who I think -- in the other                     02:11:48
10      video I couldn't identify him because I wasn't as                        02:11:49
11      familiar with that video, but this is who I had                          02:11:52
12      assumed was with Phillips.                                               02:11:56
13             Q      And I was just going to ask that.           You            02:11:57
14      are assuming he was with Phillips but you have no                        02:11:59
15      idea whether he was with Phillips or not?                                02:12:02
16             A      I could be wrong.                                          02:12:04
17                    MS. SPEARS:     Okay.    So go back again in               02:12:04
18      this -- restart at 32 and pause again a little                           02:12:07
19      after 41, please.                                                        02:12:15
20                    MS. MEEK:     Restarting video 2 at                        02:12:18
21      32 seconds.                                                              02:12:22
22                         (Video 2 played.)                                     02:12:24
23                    MS. MEEK:     I just paused Video 2 at                     02:12:33
24      43 seconds.                                                              02:12:35
25      BY MS. SPEARS:                                                           02:12:36


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                             Transcript of Craige Roberts, Ph.D.
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1              Q      You described Mr. Sandmann, who we can                     02:12:36
2       see there, as laughing and grinning at his                               02:12:38
3       companions, correct?                                                     02:12:41
4              A      Correct.                                                   02:12:41
5              Q      What's a grin?                                             02:12:44
6              A      What do you mean, what's the grin?                         02:12:45
7              Q      What is a grin?                                            02:12:46
8              A      A grin is a smile of a certain sort.                       02:12:51
9       That's all I can tell you.          He was laughing,                     02:12:53
10      having fun with his buddies.                                             02:12:53
11             Q      So that's your characterization of                         02:12:56
12      Mr. Sandmann's expression at the time?                                   02:12:58
13             A      Yes.                                                       02:13:01
14             Q      Why do you use the word "companions"?                      02:13:01
15             A      By companions -- it looks like another                     02:13:04
16      boy from Covington, one of his schoolmates.                              02:13:04
17                    MS. SPEARS:     Okay, can you restart a                    02:13:06
18      little before this.       Start a little before 41 and                   02:13:07
19      pause a little after the 46 mark, please?                                02:13:11
20                    MS. MEEK:     Restarting Video 2 at                        02:13:16
21      39 seconds.                                                              02:13:19
22                           (Video 2 played.)                                   02:13:20
23                    MS. MEEK:     I just paused Video 2 at                     02:13:32
24      47 seconds.                                                              02:13:33
25      BY MS. SPEARS:                                                           02:13:37


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                            Transcript of Craige Roberts, Ph.D.
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1                Q   In your report in reference to Video 2,                     02:13:37
2       you say that between 41 and 46 seconds,                                  02:13:38
3       Mr. Phillips was continuing south; what do you                           02:13:40
4       mean by that?     Or is that incorrect?                                  02:13:43
5                A   Let's see what I say.                                       02:13:46
6                Q   Because you were referring to the wrong                     02:13:46
7       video.                                                                   02:13:48
8                A   (Reading):                                                  02:13:49
9                    "21 seconds one sees Sandmann one or                        02:13:49
10      two steps above Phillips in the crowd wearing his                        02:13:54
11      hat laughing, grinning.        Phillips continued south,                 02:13:56
12      nearly walks past Sandmann" -- I don't say how                           02:13:59
13      long it took -- "who is on his right and slightly                        02:14:02
14      above, still grinning.       Then Phillips pulls up and                  02:14:05
15      turns right to face Sandmann."                                           02:14:08
16               Q   Stop there a second.         Where -- I want                02:14:09
17      to ask you about it.       You say he's continuing                       02:14:10
18      south; what do you mean by that?           Continuing from               02:14:13
19      what?                                                                    02:14:15
20               A   For a while he had been walking from                        02:14:15
21      the right to the left.       If you back up to 40, you                   02:14:17
22      will see he had been walking from the right to the                       02:14:21
23      left and then for some reason he turned and went                         02:14:24
24      to face Sandmann.                                                        02:14:26
25               Q   Okay, so is it your contention that                         02:14:27


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                            Transcript of Craige Roberts, Ph.D.
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1       before Phillips got to where Mr. Sandmann was                            02:14:30
2       standing, he was not moving in the direction of                          02:14:33
3       Lincoln Memorial?                                                        02:14:36
4                A   No, that's not the direction -- yeah,                       02:14:37
5       he was walking in front of the boys, not up the                          02:14:39
6       steps.                                                                   02:14:42
7                Q   Okay, so --                                                 02:14:44
8                A   I never saw him go up toward the                            02:14:45
9       Memorial in this, until the end of the videos.                           02:14:46
10               Q   And that's --                                               02:14:51
11               A   I saw him walking into the group of                         02:14:51
12      boys along the front of the steps.                                       02:14:53
13               Q   And so it's your position that he was                       02:14:55
14      not walking towards the Memorial?                                        02:14:56
15               A   I cannot comment on his intentions.          I              02:14:59
16      can only say I did not see him go toward the steps                       02:15:00
17      to go up until after this encounter.                                     02:15:03
18               Q   You didn't see him going in the                             02:15:10
19      direction of the steps?                                                  02:15:11
20               A   No.    It looks to me like he's walking                     02:15:12
21      in front of the steps into the crowd of boys,                            02:15:14
22      until he turns and goes towards Sandmann.                                02:15:16
23               Q   And that's part of what informs your                        02:15:18
24      opinion that the blocking statement is false?                            02:15:21
25               A   That's only part of it.                                     02:15:25


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                            Transcript of Craige Roberts, Ph.D.
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1              Q     Let's go back to page 10 of your                            02:15:30
2       report.                                                                  02:15:31
3              A     You could review the video if you want                      02:15:32
4       to look one more time.       I don't see him going up                    02:15:33
5       the steps.                                                               02:15:36
6              Q     Well, hang on for a second.           In terms              02:15:37
7       of the direction he's facing, that's one thing.                          02:15:41
8       And then actually physically going up the steps                          02:15:43
9       that's another thing.                                                    02:15:45
10                        -- (overspeaking) --                                   02:15:46
11             A     -- the direction --                                         02:15:46
12                        -- (overspeaking) --                                   02:15:47
13             Q     Do you agree that he was facing --                          02:15:47
14      (overspeaking) --                                                        02:15:48
15             A     No, not until he turned to face                             02:15:49
16      Sandmann, no.                                                            02:15:51
17             Q     Let's go to page 10 in your report.                         02:15:54
18      You say:                                                                 02:15:57
19                   "Phillips nearly walks past Sandmann."                      02:16:01
20                   What does this mean?                                        02:16:04
21             A     The way I saw it in multiple videos,                        02:16:06
22      including this one, he's walking from north to                           02:16:08
23      south, roughly, along the front edge of the steps                        02:16:11
24      into the crowd of boys, many of whom are on the                          02:16:14
25      ground.    I didn't see him make a gesture to turn                       02:16:17


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                             Transcript of Craige Roberts, Ph.D.
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1       towards the west, toward the Memorial as if going                        02:16:20
2       up the steps, until he turns around and faces                            02:16:23
3       Sandmann.                                                                02:16:26
4                       So he was walking from north to south                    02:16:26
5       and -- Sandmann is facing east, so he's walking                          02:16:29
6       from north to south in front -- roughly, in front                        02:16:36
7       of -- perpendicular to the line of Sandmann's                            02:16:39
8       gaze.       He walks slightly past him and then he                       02:16:44
9       turns and goes up to face Sandmann directly.                             02:16:47
10      That's what I see in the video.                                          02:16:50
11              Q       That's your interpretation.                              02:16:51
12              A       It is not my interpretation; it's what                   02:16:52
13      I see in the videos.                                                     02:16:54
14              Q       Based on your personal review of the                     02:16:55
15      videos?                                                                  02:16:57
16              A       To use your language, it is what I see                   02:17:01
17      in the videos.                                                           02:17:03
18              Q       And you're saying -- when you say he                     02:17:06
19      nearly walked past Sandmann, you are talking about                       02:17:12
20      a moment when Phillips turns to his left, correct?                       02:17:14
21              A       No, he turns to his right.         He was                02:17:16
22      walking from north to south past -- slightly past                        02:17:20
23      Sandmann, then for some reason he turns back and                         02:17:24
24      comes to face him which is turning to his --                             02:17:26
25      toward his right.       So he was walking -- he was                      02:17:30


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                            Transcript of Craige Roberts, Ph.D.
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1       walking along the steps, Sandmann is over here on                        02:17:33
2       his right.     He slightly goes past him, he turns                       02:17:35
3       around and comes back and faces Sandmann.                 That's         02:17:38
4       what I see in the video.                                                 02:17:40
5              Q      Did you watch this -- this is your                         02:17:44
6       interpretation of Video 2?                                               02:17:46
7                     MR. McMURTRY:     Objection.                               02:17:50
8                     THE WITNESS:     This is what I see in                     02:17:51
9       Video 2.                                                                 02:17:52
10      BY MS. SPEARS:                                                           02:17:52
11             Q      Did you watch this same moment in time                     02:17:52
12      on any other video?                                                      02:17:54
13             A      I watched all the videos for this                          02:17:55
14      moment in particular.                                                    02:17:58
15             Q      Do you recall any other specific videos                    02:17:59
16      where you see this?                                                      02:18:01
17             A      I did not take notes on the numbers.                       02:18:02
18                    MS. SPEARS:     Let's restart at                           02:18:03
19      47 seconds and pause around 58 second.                                   02:18:37
20                    MS. MEEK:     Restarting Video 2 at                        02:18:43
21      47 seconds.                                                              02:18:44
22                         (Video 2 played).                                     02:18:45
23                    MS. MEEK:     I just paused Video 2 at                     02:18:59
24      58 seconds.                                                              02:19:01
25      BY MS. SPEARS:                                                           02:19:04


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                             Transcript of Craige Roberts, Ph.D.
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1              Q      Okay, you describe Sandmann as grinning                    02:19:04
2       earlier.     Would you characterize this look he's                       02:19:06
3       giving right now as a smirk?                                             02:19:09
4                     MR. McMURTRY:      Objection.      Go ahead.               02:19:11
5                     THE WITNESS:      A smirk attributes                       02:19:12
6       intention.     I cannot do that reliably.                                02:19:14
7       BY MS. SPEARS:                                                           02:19:18
8              Q      So it's a matter of interpretation?                        02:19:18
9              A      Correct.                                                   02:19:29
10             Q      In another of the videos you reference                     02:19:29
11      Video 14 here, Exhibit 14.                                               02:19:31
12             A      Yes.                                                       02:19:34
13             Q      Can you pull that up and just pause at                     02:19:35
14      the beginning, please?                                                   02:19:39
15             A      Yep.                                                       02:19:40
16             Q      You note that -- strike that.            You note          02:19:40
17      that Mr. Sandmann's hands are behind his back?                           02:20:21
18      Clasped behind his back.                                                 02:20:22
19             A      Correct.                                                   02:20:26
20             Q      Why did you note this?         What's the                  02:20:26
21      significance to you?                                                     02:20:27
22             A      Again, that had significance to me from                    02:20:28
23      my upbringing, that especially if a young man was                        02:20:31
24      in church or in a respectful situation, they were                        02:20:34
25      expected to put their hands behind their back to                         02:20:36


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                             Transcript of Craige Roberts, Ph.D.
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1       indicate lack of aggression and respect.                                 02:20:39
2              Q      Do you know why he has his hands behind                    02:20:43
3       his back?                                                                02:20:45
4              A      No, I don't.                                               02:20:45
5              Q      Let's go back to page 10 of your report                    02:20:48
6       here in the last paragraph.          You cite Video 16.                  02:20:50
7       Do you see that?                                                         02:21:05
8              A      Yes.                                                       02:21:06
9              Q      And -- just wait one second.           You talk            02:21:07
10      about a 3-foot corridor.         I want you pull up                      02:21:18
11      Video 16 and start it at the 6-second mark and                           02:21:23
12      pause it at the 11-second mark.                                          02:21:26
13                    MS. MEEK:     I am starting Video 16 at                    02:21:41
14      6 seconds.                                                               02:21:44
15                           (Video 16 played.)                                  02:21:45
16                    MS. MEEK:     I just paused Video 16 at                    02:21:53
17      11 seconds.                                                              02:21:56
18      BY MS. SPEARS:                                                           02:21:57
19             Q      Where do you see, as you state here, a                     02:21:57
20      "3-foot corridor between Sandmann and a group of                         02:21:59
21      the students to his left going up the stairs"?                           02:22:04
22             A      Well, if you look at the fellow in the                     02:22:07
23      red cap, who, by the way, was chanting with                              02:22:08
24      Sandmann earlier, but I don't want to interrupt                          02:22:11
25      your question, he's got a camera held high,                              02:22:11


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                            Transcript of Craige Roberts, Ph.D.
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1       photographing Sandmann.                                                  02:22:15
2                    Right behind him, there's at least -- I                     02:22:17
3       can't say exactly, of course, but quite a few                            02:22:19
4       steps going up where there is nobody between                             02:22:21
5       Sandmann and the group of boys to the north to                           02:22:25
6       Sandmann's left for at least three feet until you                        02:22:28
7       get quite a few steps higher.                                            02:22:31
8              Q     Okay, earlier in your report and we                         02:22:33
9       talked about it, you said you can't judge                                02:22:35
10      distances from the videos.         And you are a                         02:22:38
11      horrible, I think you said, judge of distances.                          02:22:42
12                   So how did you come up with this                            02:22:44
13      approximation?                                                           02:22:46
14             A     Well, that one is easier because that                       02:22:46
15      is wider than a yardstick, I can just tell, and I                        02:22:48
16      use yardsticks all the time, and that's 3 feet.                          02:22:51
17             Q     What do you use yardsticks for?                             02:22:55
18             A     I have done a lot of work,                                  02:22:58
19      construction, on five houses now, so yardsticks                          02:22:59
20      I'm good with, but 20 feet, I'm not.                                     02:23:02
21             Q     So it looks --                                              02:23:08
22             A     It looks like 3, it might be 4.              I was          02:23:09
23      being conservative.      That might be 4 feet, but at                    02:23:12
24      least 3 feet.                                                            02:23:14
25             Q     And that's based on your personal                           02:23:15


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                             Transcript of Craige Roberts, Ph.D.
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1       approximation?                                                           02:23:17
2                A      I could see putting a yardstick there                    02:23:18
3       between Sandmann's left shoulder and the boys to                         02:23:20
4       the right on the screen and there would still be                         02:23:24
5       room.                                                                    02:23:28
6                Q      But that's your approximation, you                       02:23:30
7       don't know for sure; right?                                              02:23:32
8                A      I'm pretty sure about that one.            I can         02:23:34
9       see it.                                                                  02:23:35
10                      MS. SPEARS:     Restart at the beginning,                02:23:36
11      and pause right at the beginning.                                        02:23:44
12                      MS. MEEK:     For the record, the                        02:23:49
13      television is displaying Video 16 at zero seconds.                       02:23:49
14      BY MS. SPEARS:                                                           02:23:54
15               Q      Would you agree with me at the start of                  02:23:54
16      this video there is no open corridor because there                       02:23:55
17      is another student standing to Sandmann's -- on                          02:23:57
18      Sandmann's left.       Can you see him there in the red                  02:24:01
19      shirt and Notre Dame hat?                                                02:24:04
20               A      I don't think he's immediately to                        02:24:10
21      Sandmann's left and everyone that Phillips had                           02:24:10
22      gone up to that point, as he move the boys moved                         02:24:13
23      aside.       So I think there was plenty of room, at                     02:24:13
24      least three or four steps above Sandmann, although                       02:24:16
25      it is not easy to judge exactly how many steps.                          02:24:19


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                              Transcript of Craige Roberts, Ph.D.
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1                Q    You don't see right here in this moment                    02:24:20
2       a 3-foot open corridor, do you?                                          02:24:23
3                A    Yeah, immediately to Sandmann's left, I                    02:24:25
4       do.     There's a group of boys, this ranging group                      02:24:27
5       of boys with a white cap, a red cap, a blue cap,                         02:24:29
6       the brown hair, that group is at least 3 feet to                         02:24:30
7       the -- away, more, away from Sandmann and you                            02:24:36
8       could go up several steps before you hit Notre                           02:24:39
9       Dame.                                                                    02:24:42
10               Q    But what you are saying is that space                      02:24:43
11      opens up because the other students, including                           02:24:46
12      that student in the Notre Dame cap, moves to the                         02:24:47
13      side, correct?                                                           02:24:52
14               A    All I can say is that right now                            02:24:53
15      Phillips could pass to his -- to the left of                             02:24:54
16      Sandmann, up several of the steps.                                       02:24:55
17               Q    Okay.                                                      02:24:58
18               A    Sandmann was not precluding him from                       02:24:59
19      moving up the steps.                                                     02:25:01
20               Q    You are not disagreeing with me                            02:25:05
21      though --                                                                02:25:06
22                        -- (overspeaking) --                                   02:25:07
23               A    The boys higher-up -- (overspeaking) --                    02:25:07
24               Q    Hold on a second.        You are not                       02:25:09
25      disagreeing with me, though, that there's a                              02:25:11


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                               Transcript of Craige Roberts, Ph.D.
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1       student in a Notre Dame hat to Sandmann's left                           02:25:14
2       that is in the space that you pointed out moments                        02:25:18
3       later, as the 3-foot corridor, correct?                                  02:25:21
4                A     I think you are misconstruing what I'm                    02:25:23
5       saying.      I think there is space for Phillips to                      02:25:32
6       move to the left of Sandmann up the steps, now, in                       02:25:34
7       this point in the video, clearly.                                        02:25:38
8                Q     And no, the space opens up after the                      02:25:42
9       student in the Notre Dame hat moves aside; is that                       02:25:49
10      what you are saying?                                                     02:25:54
11               A     The boy is not immediately -- the boy                     02:25:55
12      in the Notre Dame hat is not immediately to                              02:25:55
13      Phillips' left.        Sandmann could have moved up the                  02:26:00
14      steps.                                                                   02:26:02
15               Q     And what do you base that on?                             02:26:02
16               A     I can see.                                                02:26:05
17               Q     It's based on your perception of the                      02:26:06
18      video.                                                                   02:26:08
19               A     I think I see steps there between that                    02:26:08
20      boy's legs and Sandmann, gray steps.               That means            02:26:12
21      that boy is higher up on the steps than Sandmann.                        02:26:17
22                     MR. McMURTRY:       Can we take a break at                02:26:20
23      some point, in the next five minutes or so.                              02:26:24
24      BY MS. SPEARS:                                                           02:26:26
25               Q     Sure.    Do you think that Phillips could                 02:26:26


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                            Transcript of Craige Roberts, Ph.D.
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1       have felt surrounded in certain moments of the                           02:26:29
2       encounter, like this one?                                                02:26:31
3                A   I think he waded into the middle of a                       02:26:33
4       crowd of boys, so in a sense he was surrounded.                          02:26:35
5                Q   If he felt surrounded, would he be                          02:26:39
6       wrong?                                                                   02:26:41
7                A   No, he was surrounded by the boys.           He             02:26:41
8       walked into the middle of the crowd.                                     02:26:43
9                Q   And you believe that this part of                           02:26:46
10      Video 16, which you cite in your report here,                            02:26:49
11      supports your opinion that Phillips' statements                          02:26:51
12      that Sandmann was blocking him or sort of stopping                       02:26:55
13      him -- stopping his exit was incorrect?                                  02:26:58
14               A   There are two aspects to that                               02:27:01
15      statement.    One of them is that he was not                             02:27:05
16      passively blocking, meaning that his being there,                        02:27:07
17      where he was on the steps did not prevent Phillips                       02:27:09
18      from going further up the steps.           That is a fact                02:27:13
19      that you can see in this video, as well as in part                       02:27:15
20      of Video 2, which we didn't discuss when we saw                          02:27:18
21      it, as well as earlier in this video.                                    02:27:20
22                   Second, I see no evidence at all that                       02:27:23
23      Phillips has, in any way, moved to prevent --                            02:27:25
24                   MR. McMURTRY:      Sandmann --                              02:27:32
25      (overspeaking) --                                                        02:27:33


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                            Transcript of Craige Roberts, Ph.D.
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1                     THE WITNESS:     Sorry, I'm getting my                     02:27:34
2       names mixed up.                                                          02:27:35
3                     Sandmann has not done anything to                          02:27:37
4       prevent Phillips from moving up the steps.                That           02:27:39
5       is not to say he is not -- as an agent blocking                          02:27:40
6       Phillips.                                                                02:27:44
7                     So neither is he passively blocking                        02:27:47
8       him, there is room to his left, nor is he actively                       02:27:50
9       blocking him in the sense of his intention                               02:27:52
10      being -- putting himself in the way.            That's what              02:27:55
11      I'm saying.                                                              02:27:57
12      BY MS. SPEARS:                                                           02:27:58
13             Q      But you don't know of Sandmann's                           02:27:58
14      intent, you are not --                                                   02:28:02
15             A      It doesn't matter his intent.           He did             02:28:03
16      not move.                                                                02:28:05
17             Q      Let me ask you this.        Video 16 and this              02:28:06
18      3-foot corridor you say you see, you say that                            02:28:08
19      supports your opinion that Phillips' statements                          02:28:12
20      that Sandmann was blocking him or sort of stopping                       02:28:14
21      his exit is incorrect.       In other words, you are                     02:28:16
22      relying on this corridor you see in the video as                         02:28:19
23      part of your opinion, correct?                                           02:28:23
24             A      Part of the opinion.        That is not the                02:28:24
25      whole thing.     I want to emphasize that.                               02:28:25


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                              Transcript of Craige Roberts, Ph.D.
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1                     MS. SPEARS:      That's fine.       You want to            02:28:27
2       take a break?                                                            02:28:28
3                     MR. McMURTRY:       Yes, I do.      Ten minutes?           02:28:29
4                     MS. SPEARS:      Sure.                                     02:28:31
5                     THE VIDEOGRAPHER:        We are going off the              02:28:33
6       record.    The time is 2:28 p.m.                                         02:28:34
7            (Recess taken from 2:28 p.m. to 3:01 p.m.)                          02:28:35
8                     THE VIDEOGRAPHER:        We're going back on               03:01:03
9       the record.     The time is 3:01 p.m.                                    03:01:05
10      BY MS. SPEARS:                                                           03:01:08
11             Q      Okay.    Looking at your report we talked                  03:01:08
12      about Video 2 which you also have cited.                                 03:01:17
13             A      Yes.                                                       03:01:20
14             Q      And we talked a moment ago, before the                     03:01:20
15      break, about your reference to what you perceive                         03:01:23
16      as a 3-foot corridor, correct?                                           03:01:27
17             A      Yes.                                                       03:01:30
18             Q      And I take it your position is that                        03:01:31
19      Video 2 shows that same corridor that you believe                        03:01:34
20      you see?                                                                 03:01:40
21             A      Yes.                                                       03:01:41
22             Q      Okay.    So let's go -- (overspeaking) --                  03:01:42
23             A      So it's at 50 seconds (inaudible) --                       03:02:03
24                    THE COURT REPORTER:         I am sorry, I                  03:02:04
25      didn't hear that at all.                                                 03:02:04


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                             Transcript of Craige Roberts, Ph.D.
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1                    THE WITNESS:       At 50 seconds in Video 2                 03:02:04
2       you can see a passageway to Sandmann's left going                        03:02:04
3       up the steps and as I saw it, that passage way                           03:02:08
4       stays there until at least 1 minute 50 seconds                           03:02:11
5       when some of the other boys come down closer                             03:02:15
6       behind Sandmann.                                                         03:02:17
7       BY MS. SPEARS:                                                           03:02:18
8              Q     Okay.    So continuing on in your report                    03:02:18
9       on page 11, you state, and it's in the middle                            03:02:22
10      there, the first full paragraph:                                         03:02:35
11                   "After a couple of minutes of the                           03:02:41
12      face-to-face confrontation one of Phillips'                              03:02:43
13      companions (judging by his apparel and what he                           03:02:46
14      says) starts to argue with another boy."                                 03:02:49
15                   And you reference to Video 3.                               03:02:52
16                   I'd like to pull that up, Video 3,                          03:02:55
17      Exhibit 3.                                                               03:02:58
18                   Can you just jump to 147 and pause                          03:02:59
19      there so we can see the image.                                           03:03:01
20             A     According to me that already starts by                      03:03:13
21      1:48 on Video 3, for what it's worth.                                    03:03:15
22             Q     That's fine.                                                03:03:18
23             Q     So is this the "companion" you are                          03:03:23
24      referring to?                                                            03:03:26
25             A     Yes.                                                        03:03:26


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                              Transcript of Craige Roberts, Ph.D.
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1              Q      What do you mean by "companion" here?                      03:03:26
2              A      If you go back to the earlier videos                       03:03:30
3       watching Sandmann walk onto the scene he is there                        03:03:33
4       with the guy taking a video, he is there with this                       03:03:35
5       fellow, and there's several women, there's a group                       03:03:38
6       of people walking with Phillips up toward the                            03:03:40
7       group of Covington boys and this is one of the                           03:03:44
8       people among that group.                                                 03:03:45
9              Q      And what about his apparel made you                        03:03:46
10      describe him as a companion?                                             03:03:48
11             A      I think that the hat he's wearing might                    03:03:50
12      have a -- well, first of all, he has -- I think                          03:03:51
13      that's braids which is a very common kind of hair                        03:03:54
14      style for indigenous Native American men and I                           03:03:59
15      think he might have a hat that has an image on it,                       03:04:04
16      but I don't remember.                                                    03:04:07
17             Q      Okay.                                                      03:04:08
18             A      But his behavior was the principal                         03:04:11
19      thing here.                                                              03:04:14
20             Q      And --                                                     03:04:15
21             A      He was telling the boys to go back to                      03:04:19
22      Europe.                                                                  03:04:21
23             Q      And why would you associate that                           03:04:21
24      comment with Mr. Phillips?           Simply because                      03:04:23
25      Mr. Phillips is Native American?                                         03:04:25


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                             Transcript of Craige Roberts, Ph.D.
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1                A    No, I said he was one of the people                        03:04:27
2       with Phillips quite clearly all throughout the                           03:04:29
3       scene and he's arguing with these boys about who                         03:04:32
4       has more right to be here in the country.                                03:04:35
5                Q    Are you suggesting that he was speaking                    03:04:37
6       for Mr. Phillips?                                                        03:04:39
7                A    No.                                                        03:04:40
8                Q    Are you suggesting that Mr. Phillips                       03:04:41
9       approved what he was saying?                                             03:04:43
10               A    Of course not.                                             03:04:45
11               Q    And you are not sure whether he was                        03:04:46
12      even with Mr. Phillips; you are just making that                         03:04:48
13      assumption based on -- (overspeaking) --                                 03:04:51
14               A    I don't know whether Mr. Phillips knows                    03:04:53
15      him.     I know he accompanied Mr. Phillips onto the                     03:04:54
16      scene.                                                                   03:04:57
17               Q    And you are making an assumption --                        03:04:58
18      that's what you base your assumption on, that he                         03:05:02
19      was with Mr. Phillips based on --                                        03:05:03
20               A    He was in the group of people                              03:05:05
21      accompanying Mr. Phillips as they drummed and                            03:05:06
22      chanted walking up to the Covington boys.                                03:05:09
23               Q    What do you mean by "group"?                               03:05:13
24               A    There was a small group of people.            We           03:05:14
25      could go back to the last video we reviewed.               They          03:05:17


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                            Transcript of Craige Roberts, Ph.D.
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1       come on to the scene with Phillips.            Some of them              03:05:20
2       are drumming.     I think he might have been one of                      03:05:21
3       the ones drumming, but I don't remember, I'd have                        03:05:23
4       to look at the video again, and chanting, they                           03:05:25
5       were all chanting, and they were walking with                            03:05:27
6       Phillips in front of -- between the two groups,                          03:05:30
7       the Black Hebrew Israelites and the Covington                            03:05:32
8       boys, and he accompanied Phillips with that small                        03:05:34
9       group of people walking together into the middle                         03:05:37
10      of the group of Covington boys and then he follows                       03:05:40
11      him up the steps and above Sandmann there and                            03:05:43
12      turns and starts to argue with one of the other                          03:05:47
13      Covington boys.                                                          03:05:49
14             Q     And so your assumption that he's a                          03:05:50
15      companion is because he's walking behind                                 03:05:54
16      Mr. Phillips?                                                            03:05:57
17                   MR. McMURTRY:      Objection.      Go ahead.                03:05:58
18                   THE WITNESS:      I mean by "companion"                     03:05:59
19      he's one of the people who accompanied                                   03:06:01
20      Mr. Phillips into this group.                                            03:06:03
21      BY MS. SPEARS:                                                           03:06:05
22             Q     You have no idea whether he knows                           03:06:05
23      Mr. Phillips --                                                          03:06:08
24             A     I said I do not know.                                       03:06:09
25             Q     And your assumptions are based on                           03:06:13


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                            Transcript of Craige Roberts, Ph.D.
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1       watching the videos, correct?                                            03:06:15
2               A     All I know is from the videos, yes.                        03:06:16
3               Q     And you are not claiming that                              03:06:30
4       Mr. Phillips knew all the people in the -- what                          03:06:31
5       you call the group behind him, correct?                                  03:06:35
6               A     He very well may not have known them                       03:06:38
7       all.    I don't know.                                                    03:06:41
8               Q     He may not have known any of them; you                     03:06:42
9       don't know.                                                              03:06:44
10              A     I don't know.                                              03:06:45
11                    MS. SPEARS:     Let's go in that video to                  03:06:45
12      3:18 and pause at 3:33.                                                  03:07:03
13                    MS. MEEK:     I'm starting Video 3 at                      03:07:12
14      3:18.                                                                    03:07:14
15                        (Video 3 played.)                                      03:07:14
16                    MS. MEEK:     I just paused Video 3 at                     03:07:17
17      3 minutes and 33 seconds.                                                03:07:34
18      BY MS. SPEARS:                                                           03:07:36
19              Q     You described one of the companions as                     03:07:36
20      yelling something like "We won."           What does "we                 03:07:41
21      won" mean?                                                               03:07:44
22              A     I don't know.     That's what he says.                     03:07:44
23      The same guy in the red hat we were just                                 03:07:44
24      discussing, is a guy who then says, "We won,                             03:07:47
25      Grandpa, we won," and he shakes his hands in the                         03:07:48


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                            Transcript of Craige Roberts, Ph.D.
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1       air.                                                                     03:07:51
2                Q   Do you -- and you don't know what that                      03:07:52
3       means?                                                                   03:07:54
4                A   I know what it means in English.             It             03:07:54
5       means we, inclusive, him and grandpa and whatever                        03:07:56
6       else group he thought he was with, won some                              03:08:00
7       confrontation, or whatever he meant, that was at                         03:08:02
8       issue.                                                                   03:08:05
9                Q   That's your interpretation of what he                       03:08:06
10      meant?                                                                   03:08:07
11               A   That's what English means, "we won."                        03:08:08
12               Q   Do you know whether Mr. Phillips agreed                     03:08:10
13      with that statement?                                                     03:08:12
14               A   No, I don't.                                                03:08:13
15               Q   Is it possible different people were                        03:08:14
16      thinking different things in that moment?                                03:08:16
17               A   I have no idea what they were thinking.                     03:08:18
18               Q   You state that the group was                                03:08:25
19      "congratulating" Phillips, how do you determine                          03:08:27
20      that they were congratulating Mr. Phillips?                              03:08:30
21               A   Well, for one thing he said, "We won,                       03:08:33
22      grandpa," and grandpa, as I understand it, in many                       03:08:35
23      cultures is an honorific that you use for someone                        03:08:37
24      that you respect and by making this gesture with                         03:08:41
25      his arms in the air and saying, "We won" and doing                       03:08:44


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                            Transcript of Craige Roberts, Ph.D.
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1       the hoot, that's a celebratory gesture which he                          03:08:47
2       was sharing with this man he respects, calling                           03:08:51
3       "grandpa" which I think was Phillips.                                    03:08:54
4                Q   What are you -- what was he                                 03:08:57
5       congratulating him for?                                                  03:08:58
6                A   I'm not going to put words in his                           03:09:00
7       mouth.                                                                   03:09:02
8                Q   You don't know.                                             03:09:04
9                A   He thought there was an argument or a                       03:09:05
10      fight being engaged in and he believed that the                          03:09:06
11      group that he was with, which included him and                           03:09:09
12      Phillips and the other person banging the drum,                          03:09:10
13      had won that engagement.                                                 03:09:12
14               Q   Do you know that's what he thought?                         03:09:13
15               A   I know that's what he meant: "We won."                      03:09:15
16               Q   You state that Phillips yelled                              03:09:23
17      something to the crowd.                                                  03:09:24
18               A   Right.    I didn't hear what he said.                       03:09:27
19                   MS. SPEARS:     Can you jump to 3:53 and                    03:09:33
20      pause at 4:07.                                                           03:09:37
21                   MS. MEEK:     I'm restarting Video 3 at                     03:09:48
22      3:03.                                                                    03:09:52
23                         (Video 3 played.)                                     03:09:53
24                   MS. MEEK:     I just paused Video 3 at                      03:10:03
25      4:07.                                                                    03:10:06


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                               Transcript of Craige Roberts, Ph.D.
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1       BY MS. SPEARS:                                                               03:10:07
2               Q       I take it that you don't know what he                        03:10:07
3       was yelling there?                                                           03:10:09
4               A       No, I couldn't hear what he said.                            03:10:10
5               Q       And why do you reference that?                               03:10:12
6               A       It -- (overspeaking) --                                      03:10:16
7               Q       Was it -- (overspeaking) --                                  03:10:17
8               A       It seemed to me to be concluding                             03:10:18
9       remarks on Phillips' part but I don't know what he                           03:10:21
10      said.       The reason I say it was conclusive was                           03:10:25
11      after his friend had raised his arms in a                                    03:10:25
12      celebratory fashion, Phillips is doing this.                    He's         03:10:28
13      also looking slightly up.           Among many Native                        03:10:31
14      American peoples I've known, that can be a prayer                            03:10:35
15      to a god or a thanks to the great spirit.                    I don't         03:10:36
16      know if that's what Phillips was doing, but it                               03:10:39
17      seemed to me that was some kind of grateful or                               03:10:41
18      happy gesture on his part.                                                   03:10:44
19              Q       You don't know what was in Phillips'                         03:10:46
20      mind at that moment or what he was thinking?                                 03:10:48
21              A       No, I do not.      I do not.                                 03:10:50
22              Q       Let's look at section 11 in your report                      03:10:55
23      entitled "Relevant law."                                                     03:10:58
24              A       Yes.                                                         03:11:01
25              Q       You note that the firm that retained                         03:11:02


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                            Transcript of Craige Roberts, Ph.D.
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1       you, on page 11, provided you with explanations of                       03:11:04
2       falsehood under the law, followed by two                                 03:11:06
3       paragraphs there.                                                        03:11:09
4                    Are those paragraphs verbatim what the                      03:11:10
5       firm, Mr. McMurtry's firm provided you?                                  03:11:13
6              A     Yes.                                                        03:11:16
7              Q     And in the second paragraph you discuss                     03:11:16
8       substantial truth.      What does that mean to you?                      03:11:34
9              A     (Reading):                                                  03:11:36
10                   "The defense of truth overlooks minor                       03:11:36
11      inaccuracies and concentrates upon substantial                           03:11:45
12      truth."                                                                  03:11:48
13                   If somebody had said something like                         03:11:49
14      someone was 37 inches in front of me and in fact                         03:11:49
15      we could measure and it turned out that they were                        03:11:53
16      33 or 40 inches in front of them but everything                          03:11:54
17      else they said was true, then that would be                              03:12:00
18      substantially true.       That's my understanding.                       03:12:02
19      That the main force of what was considered in                            03:12:03
20      adjudging whether this was true or not was in                            03:12:06
21      keeping with the facts.                                                  03:12:10
22             Q     Did you consider whether the statements                     03:12:12
23      at issue were substantially true?                                        03:12:15
24             A     The statements at issue?          Yes.                      03:12:16
25             Q     Did you try to determine whether they                       03:12:18


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                            Transcript of Craige Roberts, Ph.D.
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1       were literally true?                                                     03:12:19
2              A     Literal has no meaning in linguistics.                      03:12:21
3              Q     You reference pleadings here.            Do you             03:12:27
4       understand what pleadings mean in a lawsuit?                             03:12:28
5              A     I probably don't understand what an                         03:12:33
6       attorney would mean by pleadings.                                        03:12:36
7              Q     Do you have any understanding of what                       03:12:40
8       the summary judgment phase of a case is?                                 03:12:41
9              A     No, I don't.      I mean, I've heard these                  03:12:44
10      terms bantered around but I don't believe I know                         03:12:49
11      what they mean in law.                                                   03:12:52
12             Q     On page 12 of your report you said you                      03:12:53
13      "kept these explanations in mind in forming my                           03:12:55
14      opinion on the questions posed."                                         03:12:58
15                   What does that mean?                                        03:13:04
16             A     Well, for example I told you that I                         03:13:06
17      based my assessment of these passages on the truth                       03:13:07
18      conditions, as I understood them as a linguist,                          03:13:12
19      and on the facts in the video.                                           03:13:14
20                   So when I talk about the truth                              03:13:17
21      conditions, as I said to you earlier today, I am                         03:13:19
22      interested in the plain meaning of the words as                          03:13:22
23      they would mean to any native speaker of the                             03:13:24
24      language and so when we talk about false having a                        03:13:30
25      different effect on the mind of the reader from                          03:13:33


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                            Transcript of Craige Roberts, Ph.D.
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1       that which the truth would have produced, I'm                            03:13:35
2       talking -- that, to me, is talking about truth                           03:13:37
3       conditions.     That's exactly what I am talking                         03:13:40
4       about.                                                                   03:13:42
5                     So I think I was keeping that in mind                      03:13:42
6       all along methodologically as well as in my                              03:13:44
7       conclusions, and when I talk about overlooking                           03:13:47
8       minor inaccuracies and not concentrating on                              03:13:49
9       substantial truth, if there was some minor                               03:13:52
10      discrepancy between what Mr. Phillips said and                           03:13:54
11      what is on the videos that didn't bear on the                            03:13:56
12      substantial truth of the statements I would have                         03:13:58
13      overlooked that or at least mentioned that as                            03:14:01
14      minor but not substantive, but I didn't find                             03:14:04
15      anything along those lines.                                              03:14:07
16               Q    Let's go to your report at page 12,                        03:14:09
17      section 7, "Analysis and reasoning."                                     03:14:13
18                    With respect to question 1 you analyzed                    03:14:32
19      whether the statement that's listed there was true                       03:14:34
20      or false.                                                                03:14:36
21               A    Right.                                                     03:14:36
22               Q    Correct?   And you said:                                   03:14:37
23                    "To answer this question" -- well,                         03:14:39
24      strike that:                                                             03:14:41
25                    To answer this question was it                             03:14:42


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                            Transcript of Craige Roberts, Ph.D.
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1       important to you to determine the truth conditions                       03:14:44
2       of the sentences?                                                        03:14:46
3              A     Yes.                                                        03:14:49
4              Q     And what did you determine to be the                        03:14:50
5       truth conditions of the sentences?                                       03:14:51
6              A     Well, let's look -- I mean, I could go                      03:14:55
7       clause by clause, blah, blah, but let's assume                           03:15:01
8       that Mr. Phillips was reporting accurately on what                       03:15:04
9       he was thinking.     I have no way of knowing.                           03:15:08
10      I know what this means and it says that he was                           03:15:10
11      concerned he'd never get out of there.             Yeah?                 03:15:12
12                   I'm not disputing that.                                     03:15:15
13                   Really, I think the question is about                       03:15:16
14      the meaning of the last two sentences of the                             03:15:19
15      passage:                                                                 03:15:22
16                   "I started going that way and that guy                      03:15:23
17      in the hat stood in my way and we were at an                             03:15:25
18      impasse.    He just blocked my way and wouldn't                          03:15:27
19      allow me to retreat."                                                    03:15:30
20                   Let me start with the last sentence:                        03:15:34
21                   "He just blocked my way and wouldn't                        03:15:35
22      allow me to retreat."                                                    03:15:37
23                   As I told you, I base this partly on my                     03:15:39
24      careful consideration of dictionary definitions,                         03:15:41
25      which gives me a more objective way of                                   03:15:44


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                            Transcript of Craige Roberts, Ph.D.
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1       characterizing what I think the plain meaning of                         03:15:46
2       the passage is.                                                          03:15:47
3                    And as I said, "wouldn't allow me to                        03:15:48
4       retreat," if you look in the Oxford English                              03:15:52
5       Dictionary, when you look at the negative of the                         03:15:54
6       past tense "wouldn't," that typically means that                         03:15:56
7       the person in question refused or declined to                            03:15:59
8       permit the other person to do what was going on.                         03:16:02
9                    So, if it's true -- if it were true                         03:16:05
10      that Sandmann wouldn't allow Phillips to retreat,                        03:16:10
11      then there was some way in which Phillips -- I                           03:16:13
12      mean Sandmann refused, but for that to be true it                        03:16:17
13      would have to be the case that Sandmann refused or                       03:16:21
14      declined to permit Phillips to retreat.                                  03:16:23
15                   Now, there's three ways you could                           03:16:27
16      understand "retreat" here.         It could be retreat                   03:16:28
17      the way he had come.       I don't think that's what he                  03:16:32
18      could have meant because the way he had come was                         03:16:34
19      not in the line where Sandmann stood.                                    03:16:36
20                   It couldn't mean retreat away from the                      03:16:41
21      Lincoln Memorial because that's where there                              03:16:45
22      were -- that -- so Sandmann was not in the way, so                       03:16:49
23      he couldn't have done anything that seemed to be                         03:16:53
24      offering the resistance to anybody going back away                       03:16:55
25      from the Lincoln Memorial.                                               03:16:59


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                                Transcript of Craige Roberts, Ph.D.
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1                       So the retreat had to mean more retreat                     03:17:02
2       from the situation, not retreat from the way he                             03:17:04
3       had come but retreat from the situation, so the                             03:17:07
4       only other thing I thought he could mean was that                           03:17:09
5       he wanted to go up the steps.                                               03:17:11
6                       But I couldn't -- so, that's -- that                        03:17:14
7       that passage.       He would -- it would have to mean,                      03:17:18
8       as I then say, Phillips' claims that he intended                            03:17:20
9       to exit -- this is on page 13A, he intended to                              03:17:24
10      exit the situation and finish his song -- I just                            03:17:28
11      take that verbatim from what Phillips said, I have                          03:17:30
12      no argument with that.           He intended to go to the                   03:17:33
13      top of the stairs to get away from the group of                             03:17:37
14      boys.       I take that -- yeah, he was going to finish                     03:17:39
15      his song at the Lincoln Memorial and then he was                            03:17:42
16      going to go up.                                                             03:17:43
17                      Then he says he started going up to the                     03:17:44
18      Memorial and found himself at an impasse with                               03:17:46
19      Sandmann.       I think that's pretty clear where that                      03:17:48
20      comes in, and that Sandmann intentionally blocked                           03:17:50
21      his way and therefore refused to allow Phillips to                          03:17:53
22      retreat, by which I meant -- I take it he means                             03:17:57
23      retreat from the situation up the stairs away from                          03:18:00
24      the group of boys.                                                          03:18:02
25              Q       Okay.    So let's break this down.            So in         03:18:02


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                            Transcript of Craige Roberts, Ph.D.
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1       analyzing question 1 you refer to dictionary                             03:18:06
2       definitions of "block," "will" and "impasse";                            03:18:08
3       right?                                                                   03:18:12
4                A   Yes.                                                        03:18:13
5                Q   Do you think you have a better                              03:18:13
6       understanding or knowledge of what those words                           03:18:14
7       mean, black, will, impasse than other people do?                         03:18:16
8                A   No.                                                         03:18:19
9                Q   Do you -- why did you examine those                         03:18:20
10      words, block, will, and impasse as opposed to                            03:18:23
11      other words in the first statement?                                      03:18:27
12               A   When I look at the statement the only                       03:18:29
13      thing that I thought could be in question, I can't                       03:18:30
14      question in any way what Mr. Phillips was                                03:18:32
15      thinking.    I am not privy to that, so I was not                        03:18:34
16      going to take that first passage -- that first                           03:18:38
17      part of the passage into consideration -- I just                         03:18:41
18      assume that's what he was thinking.            I have no                 03:18:44
19      reason to think otherwise.         Then the last two                     03:18:46
20      sentences are the things that we should have                             03:18:48
21      evidence for or against in the videos.                                   03:18:50
22                   So I considered the videos with respect                     03:18:53
23      to those sentences and what was at issue was not                         03:18:54
24      "I started going that way," he does turn towards                         03:18:57
25      the steps, I agreed about that.           "The guy in the                03:19:01


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                                Transcript of Craige Roberts, Ph.D.
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1       hat stood in my way."           Well, it happened that when              03:19:04
2       he turned he walked straight up to Sandmann, so                          03:19:08
3       Sandmann was standing there in the way that he                           03:19:11
4       says he was going to go.            "And we were at an                   03:19:13
5       impasse."       Well, that's where the question comes                    03:19:16
6       up.   What's an impasse and why does Sandmann stay                       03:19:18
7       -- Sandmann never moved, so why does Sandmann                            03:19:21
8       staying there, constitute being at an impasse?                           03:19:25
9       That's the question.                                                     03:19:27
10                          -- (overspeaking) --                                 03:19:28
11               Q      So you looked at --                                      03:19:29
12               A      The second part -- if I may finish my                    03:19:30
13      answer.                                                                  03:19:32
14               Q      Sure.                                                    03:19:32
15               Q      The second part is, "He blocked my way                   03:19:32
16      and wouldn't allow me to retreat."                                       03:19:34
17                      I said "wouldn't allow me to retreat"                    03:19:36
18      attributes to Sandmann agency in refusing to allow                       03:19:38
19      Phillips to retreat, and because of that, I took                         03:19:43
20      "block" to mean not passively block, but actively                        03:19:46
21      block.       I mentioned that and discussed that                         03:19:51
22      earlier.                                                                 03:19:52
23                      So those are the bases upon which --                     03:19:53
24      those are the reasons I looked at impasse, at                            03:19:55
25      block and I told you about wouldn't.                Yeah.     I          03:19:58


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                            Transcript of Craige Roberts, Ph.D.
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1       thought retreat was clear enough.                                        03:20:04
2              Q      Couldn't someone without a Ph.D. in                        03:20:06
3       linguistics look up the same words in the                                03:20:09
4       dictionary?                                                              03:20:11
5              A      Sure could.                                                03:20:12
6              Q      Okay, and apply those definitions to                       03:20:13
7       the facts as shown in the video?                                         03:20:14
8              A      Sure could.                                                03:20:16
9              Q      Are you offering an opinion on the                         03:20:19
10      meaning of the word block that's different than                          03:20:20
11      the dictionary definition of the word?                                   03:20:24
12             A      No, I'm not, that's the plain meaning.                     03:20:25
13             Q      You know that the Oxford English                           03:20:26
14      Dictionary definition of block and a full list of                        03:20:29
15      the senses of block in that dictionary and then                          03:20:33
16      you note comparable entries from Merriam Webster                         03:20:35
17      and from American Heritage Dictionaries in the                           03:20:39
18      appendix.     Why did you select the Oxford                              03:20:42
19      definitions to include in the main part of your                          03:20:44
20      report, as opposed to the other dictionaries.             Any            03:20:47
21      --                                                                       03:20:49
22                        -- (overspeaking) --                                   03:20:52
23             A      I thought it was clearest.                                 03:20:52
24             Q      You noted that the Merriam Webster and                     03:20:54
25      American Heritage are comparable --                                      03:20:56


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                                Transcript of Craige Roberts, Ph.D.
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1                A       Yes.                                                    03:20:58
2                Q       -- right?     Does that mean it's fair to               03:20:58
3       say you also think they have valid definitions of                        03:21:00
4       the word block in those two dictionaries?                                03:21:03
5                A       Sure do.                                                03:21:06
6                Q       Do you believe that lay persons and                     03:21:08
7       folks with without a Ph.D. in linguistics would                          03:21:11
8       generally agree with the definitions you provided                        03:21:14
9       for block and will, and impasse?                                         03:21:19
10               A       Well, what people tend to do -- first                   03:21:21
11      of all, I don't think any native speaker could                           03:21:22
12      doubt that the words have all the meanings that                          03:21:25
13      are given in those dictionary entries.                                   03:21:27
14                       I don't like the word "definition"                      03:21:30
15      because it -- that suggests the lexicographer is                         03:21:31
16      deciding what they mean, they are just discerning                        03:21:33
17      what they mean, it's the plain meanings of the                           03:21:37
18      words.                                                                   03:21:39
19               Q       Right, so -- but my point is anybody                    03:21:39
20      could go to a dictionary and look up those usages,                       03:21:41
21      correct?                                                                 03:21:44
22               A       Right, but I'm not just looking at the                  03:21:45
23      dictionary.        People think that's what a linguist                   03:21:47
24      does.        You've got it wrong.       You start with the               03:21:49
25      dictionary but I also look at the syntax and the                         03:21:52


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                            Transcript of Craige Roberts, Ph.D.
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1       context and all the things I'm doing here look at                        03:21:54
2       all three factors.                                                       03:21:56
3              Q     So if, hypothetically, one agrees with                      03:21:58
4       the definition of block that you chose, is the one                       03:22:00
5       that Phillips intended in his statement, what are                        03:22:03
6       you offering beyond that as a linguist?                                  03:22:06
7              A     Well, first of all, I don't think                           03:22:09
8       anybody else in this trial has said what I said,                         03:22:11
9       so you tell me.                                                          03:22:13
10                   Secondly, I think that the -- the                           03:22:15
11      understanding of what truth condition is -- this                         03:22:25
12      is the thing people don't understand.             Everybody              03:22:27
13      uses language, like everything drives a car but                          03:22:30
14      they don't know how it works, just like most                             03:22:32
15      people don't know how a car works.                                       03:22:35
16                   I spent 40 years learning a little bit                      03:22:37
17      about how it works.      We don't completely                             03:22:40
18      understand it yet.      It's very deep and very                          03:22:42
19      complex.    So, by bringing to bear these different                      03:22:44
20      factors it may seem perfectly natural and simple                         03:22:47
21      when I give you the explanation because I thought                        03:22:50
22      hard about how to try to explain it to a lay                             03:22:53
23      person, but it isn't obvious to everybody where                          03:22:55
24      the truth conditional meaning ends and other                             03:22:58
25      factors come in because, as I said, at an earlier                        03:23:01


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                             Transcript of Craige Roberts, Ph.D.
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1       point in this deposition, meaning is much richer                         03:23:04
2       than truth conditions, much richer.                                      03:23:07
3                    I gave the example of slurs.            But I'm             03:23:09
4       saying the truth conditional content of an                               03:23:11
5       utterance is where the rubber hits the road.                             03:23:13
6                    If the utterance is true, in virtue of                      03:23:15
7       the plain meaning, then there's something -- you                         03:23:20
8       can assess that by looking at the facts in the                           03:23:22
9       situation.    If it's false you can point to a                           03:23:25
10      particular fact and say, like in the other thing,                        03:23:27
11      "he wouldn't allow me to retreat."                                       03:23:30
12                   I said Sandmann's standing there, he                        03:23:33
13      doesn't move.     He's got his hands behind his back.                    03:23:35
14      Wait, so I'm saying I don't think so that's true                         03:23:38
15      that he wouldn't allow him to retreat.                                   03:23:40
16             Q     Okay.    So as I understand it, there are                   03:23:43
17      two parts to your analysis.          In the first part you               03:23:45
18      look at the passages --                                                  03:23:47
19             A     Yeah.                                                       03:23:49
20             Q     -- to determine the meaning of the                          03:23:49
21      usage of the words, right?          And then the second                  03:23:51
22      part --                                                                  03:23:55
23             A     Not just the words, the whole sentences                     03:23:56
24      in which they pertain.                                                   03:23:58
25             Q     The whole sentences.                                        03:23:59


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                            Transcript of Craige Roberts, Ph.D.
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1                    And then in the second part of your                         03:24:00
2       analysis you review the videos to determine the                          03:24:02
3       meaning -- whether the meaning of the two passages                       03:24:05
4       seems to be true?                                                        03:24:08
5                A   That it's consistent with the facts                         03:24:08
6       that I observed in the videos, yes.                                      03:24:09
7                Q   And you are not more qualified than                         03:24:13
8       anyone else to perform part 2 of the analysis,                           03:24:16
9       right?                                                                   03:24:19
10               A   No, I'm not -- (overspeaking) .                             03:24:19
11               Q   So once you've determined the meaning                       03:24:21
12      of the passages, that's where your expertise ends                        03:24:23
13      as a witness, right?                                                     03:24:26
14               A   Well, I understand what truth                               03:24:29
15      conditions are and I can see what's in front of my                       03:24:31
16      eyes, so I'm as competent as anybody else to                             03:24:33
17      assess whether, given the truth conditions, it is                        03:24:38
18      true or false.                                                           03:24:40
19               Q   But anyone could review the videos in                       03:24:41
20      the same way you did and determine whether the                           03:24:43
21      meaning you assigned to them seems to be true;                           03:24:46
22      right?                                                                   03:24:48
23               A   I think so.                                                 03:24:48
24               Q   Let's look at your report again and you                     03:24:54
25      also lay out the definitions from the dictionaries                       03:25:04


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                             Transcript of Craige Roberts, Ph.D.
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1       you've consulted or the usages -- and the                                03:25:09
2       dictionaries you've consulted for will and                               03:25:17
3       impasse, and you list a number then in the                               03:25:20
4       appendix, correct?                                                       03:25:23
5              A      Yes.                                                       03:25:23
6              Q      And those are valid possible                               03:25:24
7       definitions of will and impasse to a native                              03:25:25
8       speaker, correct?                                                        03:25:28
9              A      Yes.                                                       03:25:31
10             Q      And on page 13, if you flip to the next                    03:25:31
11      page there.                                                              03:25:44
12             A      Yes.                                                       03:25:45
13             Q      You state that: "Where there are two or                    03:25:45
14      more agents the word 'impasse" is typically used                         03:25:50
15      to imply a situation in which the agents are                             03:25:50
16      unable to negotiate movement, real or figurative,                        03:25:50
17      in this case about whether Phillips could proceed                        03:25:50
18      up the stairs to make his exit."                                         03:25:50
19                    Do you see that?                                           03:25:55
20             A      Yes.                                                       03:26:00
21             Q      And your basis for stating how the word                    03:26:00
22      impasse is typically use is the definitions that                         03:26:02
23      you've consulted in the dictionaries, correct?                           03:26:04
24             A      Yes.   The figurative use of impasse is                    03:26:06
25      the one that most people use today.                                      03:26:15


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                             Transcript of Craige Roberts, Ph.D.
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1              Q     And you've concluded on page 13 that                        03:26:16
2       Phillips is using the figurative --                                      03:26:20
3              A     Yes.                                                        03:26:22
4              Q     -- use of the word impasse, correct?                        03:26:22
5              A     Yes.                                                        03:26:25
6              Q     And the definition, the Oxford English                      03:26:26
7       Dictionary definition defines impasse in a                               03:26:29
8       figurative way as "affix"; right?                                        03:26:32
9              A     Yes.                                                        03:26:35
10             Q     So that's a valid possible definition                       03:26:36
11      of impasse to a native speaker, correct?                                 03:26:39
12             A     Yes.                                                        03:26:42
13             Q     And if we were look at the appendix on                      03:26:42
14      page 18, the American Heritage definition 2 for                          03:26:45
15      impasse is: a situation that is so difficult that                        03:26:50
16      no progress can be made.                                                 03:26:56
17                   Do you see that?                                            03:27:00
18             A     Yep.                                                        03:27:00
19             Q     Okay.    So that's a valid possible                         03:27:01
20      definition of impasse to a native speaker,                               03:27:03
21      correct?                                                                 03:27:06
22             A     Yes.                                                        03:27:06
23             Q     And then Merriam Webster's definition,                      03:27:07
24      one of them is, on the same page there: a                                03:27:11
25      predicament affording no obvious escape, as a                            03:27:14


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                            Transcript of Craige Roberts, Ph.D.
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1       definition of impasse, and that's a valid possible                       03:27:17
2       definition of impasse to a native speaker,                               03:27:20
3       correct?                                                                 03:27:22
4              A     All are native speaker meanings of                          03:27:23
5       impasse.                                                                 03:27:25
6              Q     Do you know whether Mr. Phillips felt                       03:27:26
7       he was in a fix in that moment?                                          03:27:28
8              A     May I say something?         It is not about                03:27:31
9       Mr. Phillips.     He didn't say, "I was at an                            03:27:34
10      impasse."    He said, "We were at an impasse."              And          03:27:37
11      that's an important factor.          Remember, I am not                  03:27:40
12      just looking at the definition of impasse.                You            03:27:42
13      have to look at the fact that this is --                                 03:27:44
14             Q     But my question is, do you know whether                     03:27:45
15      --                                                                       03:27:45
16                   MR. McMURTRY:      Can she finish her                       03:27:46
17      answer.                                                                  03:27:46
18                   MS. SPEARS:     Sure.                                       03:27:46
19                   THE WITNESS:      Your question is                          03:27:47
20      misguided.    It is not about -- Mr. Phillips                            03:27:47
21      doesn't say, "I was at an impasse," and that's                           03:27:50
22      very important.     He said, "We were at an impasse,"                    03:27:53
23      and the only "we" there was him and Nick Sandmann.                       03:27:55
24      So that has to mean that we, as two agents, were                         03:27:59
25      at an impasse, and that is what -- I've said that                        03:28:02


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                             Transcript of Craige Roberts, Ph.D.
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1       when it denotes -- when the subject denotes two or                        03:28:05
2       more agents it is typically used to imply a                               03:28:09
3       situation which they are unable to negotiate                              03:28:11
4       movement -- (overspeaking) --                                             03:28:14
5       BY MS. SPEARS:                                                            03:28:15
6              Q     So --                                                        03:28:15
7              A     Negotiate is the key.                                        03:28:16
8              Q     So let me rephrase my question.               Do you         03:28:17
9       know whether Mr. Phillips felt he was in a fix or                         03:28:20
10      a predicament vis-a-vis his position --                                   03:28:24
11      (overspeaking) --                                                         03:28:27
12             A     I'm not in a position to read his mind.                      03:28:28
13             Q     -- with Mr. Sandmann.                                        03:28:30
14                   And I think you would say the same with                      03:28:32
15      Mr. Sandmann, you don't know whether he felt he                           03:28:34
16      was in a predicament?                                                     03:28:36
17             A     No, I cannot.                                                03:28:37
18             Q     You did not know what Mr. Phillips                           03:28:39
19      perceived in those moments, correct?                                      03:28:43
20             A     No, I do not.       I only know what I see                   03:28:45
21      in the video.                                                             03:28:47
22             Q     Okay.     Let's talk a little bit further.                   03:28:50
23      You state on page -- let's go back to 13.                                 03:28:52
24             A     Mm-hmm.                                                      03:28:55
25             Q     You stated: "Sandmann did not move from                      03:29:03


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                            Transcript of Craige Roberts, Ph.D.
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1       where he had been standing prior to Phillips'                            03:29:05
2       approach."    What do you mean?                                          03:29:07
3               A    I reviewed every single video and                           03:29:10
4       looked where Nick Sandmann was standing and from                         03:29:12
5       the time that Mr. Phillips was anywhere near the                         03:29:15
6       front of the steps where Sandmann was standing, I                        03:29:18
7       never saw Sandmann move a foot, left, right, up or                       03:29:20
8       down.                                                                    03:29:25
9               Q    And which videos did you review to                          03:29:28
10      reach that conclusion?                                                   03:29:30
11              A    All of them.      All 18.     And in                        03:29:30
12      particular, I didn't see him move an inch from                           03:29:41
13      where he was standing from the time that                                 03:29:43
14      Sandmann -- that Phillips walked in front of him                         03:29:46
15      and then turned and walked away.                                         03:29:49
16              Q    Why do you say "in particular"?                             03:29:55
17              A    Because that's where it bears on                            03:29:56
18      whether they were at an impasse or whether                               03:29:58
19      Sandmann blocked Phillips way by moving, as he                           03:30:02
20      says in the second passage.                                              03:30:06
21                   I could also point out that from what                       03:30:16
22      -- (overspeaking) --                                                     03:30:20
23              Q    There's not a question pending.                             03:30:21
24              A    Well, it bears on one of the questions                      03:30:22
25      you've been asking me.       But you if you don't want                   03:30:24


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                            Transcript of Craige Roberts, Ph.D.
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1       to hear it, fine.                                                        03:30:28
2                    MR. McMURTRY:      That's okay.                             03:30:29
3       BY MS. SPEARS:                                                           03:30:34
4              Q     Your -- one second.        Okay.     So, you                03:30:34
5       wanted to say something.        Go ahead and say it.                     03:31:21
6              A     From Sandmann's perspective he could                        03:31:26
7       have known that immediately to his left there were                       03:31:28
8       no boys.    There was no reason for him to think                         03:31:30
9       that he was impeding Mr. Phillips' progress.                             03:31:33
10      Phillips could very readily have walked one step                         03:31:37
11      to the right and on up the stairs as long as                             03:31:40
12      Sandmann knew.                                                           03:31:44
13             Q     Do you know what Sandmann knew?                             03:31:46
14             A     I know what peripheral vision is and                        03:31:47
15      I know that if he had any idea in his peripheral                         03:31:49
16      vision what was to his left he would have known                          03:31:52
17      there was empty space.                                                   03:31:54
18             Q     And in the same moment your -- you are                      03:31:56
19      saying that once Phillips stood in front of                              03:32:01
20      Sandmann, he locked eyes with him, correct?                              03:32:04
21             A     That's what I see.                                          03:32:06
22             Q     So Phillips was locked eyes on Sandmann                     03:32:08
23      in that moment, correct?                                                 03:32:12
24             A     Yes.   He seemed to pick him out.                           03:32:12
25             Q     So you don't know whether Phillips had                      03:32:24


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                            Transcript of Craige Roberts, Ph.D.
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1       peripheral vision to his right or left if he was                          03:32:27
2       locking eyes on Sandmann; wouldn't that be true?                          03:32:31
3              A     If I was standing where Phillips was                         03:32:34
4       standing, looking at Sandmann I would be able to                          03:32:35
5       see that there was space to Sandmann's left but                           03:32:38
6       not to his right.      Yes.                                               03:32:40
7              Q     But you don't know what Mr. Phillips                         03:32:42
8       could see, do you?                                                        03:32:43
9              A     I do, as a human being, standing there,                      03:32:44
10      I could put myself in his position, and I know if                         03:32:47
11      he has good peripheral vision -- not even good                            03:32:50
12      peripheral, it's not that far peripheral.                 Looking         03:32:52
13      directly in Sandmann's eyes he could see no space                         03:32:53
14      to Sandmann right, space to Sandmann's left.                 I am         03:32:56
15      looking at you.      I can see all the way down to the                    03:33:00
16      end of the table.      I'm looking at you, I can see                      03:33:02
17      all the way over past the videographer.                                   03:33:05
18             Q     You are not an expert on visual --                           03:33:06
19             A     No, I'm a human -- (overspeaking) --                         03:33:08
20             Q     Hold on, you have to wait until I'm                          03:33:10
21      done with that.      You are not an expert on visual                      03:33:12
22      perception, correct?                                                      03:33:14
23             A     No.                                                          03:33:14
24             Q     And you are not an expert on peripheral                      03:33:15
25      vision; right?                                                            03:33:17


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                               Transcript of Craige Roberts, Ph.D.
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1                A      No.                                                      03:33:18
2                Q      And you don't know what specifically                     03:33:18
3       Mr. Phillips could see in that moment, do you?                           03:33:20
4                A      I know what Mr. Phillips could see if                    03:33:23
5       he were a normal human being standing where he was                       03:33:25
6       standing in that video with normal vision.                               03:33:28
7                Q      And that's based on your personal                        03:33:30
8       experience; it is not your expertise in any kind                         03:33:33
9       of visual perception, correct?                                           03:33:35
10               A      No, I think we all -- that's what we                     03:33:36
11      look at when we look at a video.              We know what's             03:33:37
12      there.       That's what I think.       It is not expertise.             03:33:41
13               Q      You don't have any expert --                             03:33:44
14                            -- (overspeaking) --                               03:33:45
15               A      I am not a perceptual psychologist,                      03:33:46
16      I am not a videographer.           I completely agree with               03:33:50
17      you.                                                                     03:33:54
18               Q      You agree with me that you have no                       03:33:55
19      expertise on visual perception or what somebody                          03:33:56
20      else could see peripherally, correct?                                    03:33:59
21               A      No.                                                      03:34:01
22               Q      As in yes, correct, you agree with me.                   03:34:04
23               A      Oh, yes, I agree with you.                               03:34:07
24               Q      So a little down in your report here                     03:34:10
25      you then say: "There was no publicly evident                             03:34:16


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                              Transcript of Craige Roberts, Ph.D.
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1       indication that Phillips wanted to go up the                             03:34:23
2       stairs."                                                                 03:34:25
3                     Now, you testified -- well, strike                         03:34:30
4       that.                                                                    03:34:34
5                     What's a publicly evident indication?                      03:34:35
6               A     If his trajectory had suggested that he                    03:34:38
7       was trying to get up the stairs, that would have                         03:34:40
8       been a publicly evident intention.                                       03:34:42
9               Q     Okay.    And if he had been walking in                     03:34:48
10      the direction of the Lincoln Memorial could that                         03:34:50
11      have been a publicly evident indication then?                            03:34:54
12      Hypothetically, if he had been?                                          03:34:56
13              A     Not -- it's more complicated than that.                    03:34:59
14      Just facing in that direction doesn't constitute                         03:35:02
15      walking there.                                                           03:35:05
16              Q     But if he was facing in that direction                     03:35:07
17      that could have been a publicly evident                                  03:35:09
18      indication?                                                              03:35:11
19              A     No, that's not sufficient.                                 03:35:12
20              Q     What do you base that on?                                  03:35:14
21              A     How I understand people's intentions.                      03:35:17
22      This is just normal human reading what each other                        03:35:19
23      are doing.                                                               03:35:22
24              Q     But that's not based on any specific                       03:35:23
25      expertise you have.                                                      03:35:25


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                               Transcript of Craige Roberts, Ph.D.
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1                A      I'm not an expertise.         I'm not an                 03:35:26
2       expert on public and human behavior, no.                                 03:35:28
3                Q      You are not an expert on publicly                        03:35:32
4       evident indications then, correct?                                       03:35:34
5                A      I guess not, except for the linguistic                   03:35:35
6       ones.                                                                    03:35:40
7                Q      You agreed that other students, we                       03:35:42
8       talked about before, were moving aside for                               03:35:44
9       Mr. Phillips; right?                                                     03:35:45
10               A      Yes.                                                     03:35:47
11               Q      And when they did, he walked into the                    03:35:47
12      space they left open, correct?                                           03:35:49
13               A      Yes.                                                     03:35:51
14               Q      Couldn't that be a publicly evident                      03:35:52
15      indication that he wanted to keep going?                                 03:35:54
16               A      If he were walking that way up the                       03:35:55
17      steps, yes.                                                              03:35:57
18               Q      You say that other students -- well,                     03:35:59
19      strike that.                                                             03:36:04
20                      Why do you think other students moved                    03:36:05
21      out Mr. Phillips' way?                                                   03:36:06
22               A      I'm not going to try to read their                       03:36:09
23      minds.       Evidently they wanted to let him through.                   03:36:12
24               Q      And other students moved to create a                     03:36:19
25      corridor; right?                                                         03:36:21


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                            Transcript of Craige Roberts, Ph.D.
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1               A    That's what I saw.                                          03:36:23
2               Q    That's what you believe you've seen.                        03:36:23
3               A    That's what I saw.                                          03:36:25
4               Q    And they did that for the same reason,                      03:36:26
5       correct?                                                                 03:36:28
6               A    As far as I could tell, yes.           Yep.                 03:36:28
7               Q    But Mr. Sandmann stayed put, correct?                       03:36:31
8               A    He stood still.                                             03:36:33
9               Q    Let's pull up Video number 2.            We've              03:36:41
10      looked at that one before.         Can you play, please.                 03:36:45
11                   She's going to play Video 2, Exhibit 2                      03:37:16
12      of this deposition.                                                      03:37:19
13                   Why don't you play from minute 3:28 to                      03:37:20
14      minute 3:32?                                                             03:37:24
15                   MS. MEEK:     Starting Video 2 at 3:28.                     03:37:27
16                         (Video 2 played.)                                     03:37:30
17                   MS. MEEK:     I just paused Video 2 at                      03:37:37
18      3:32.                                                                    03:37:39
19      BY MS. SPEARS:                                                           03:37:41
20              Q    Did you just hear on the video a                            03:37:41
21      student yelling, "you can't move him"?             We can                03:37:42
22      play it again for you.                                                   03:37:45
23              A    No, no, I didn't.       Let's hear it again.                03:37:45
24              Q    Okay, let's hear it again.           I should               03:37:46
25      have asked you that first before I played it.                            03:37:47


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                                 Transcript of Craige Roberts, Ph.D.
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1       Sorry.        Pardon me.                                                 03:37:49
2                        MS. MEEK:      Re-starting Video 2 at 3                 03:37:49
3       minutes and 28 seconds.                                                  03:37:49
4                                (Video 2 played.)                               03:37:49
5                        THE WITNESS:       I did that time.                     03:37:49
6       BY MS. MEEK:                                                             03:37:49
7                Q       Okay.     I take it you don't need                      03:37:49
8       linguistics training to understand what "you can't                       03:37:49
9       move him" means; right?                                                  03:37:49
10               A       Don't need it.                                          03:37:49
11               Q       Let's play again from 1:18 to 1:22 and                  03:38:12
12      this time I'd like you to tell me if you hear a                          03:38:12
13      student yelling, "He ain't moving."                                      03:38:12
14                       MS. MEEK:      Starting Video 2 at 1:18.                03:38:12
15                               (Video 2 played.)                               03:38:12
16                       MS. MEEK:      Just paused at 1:22 in                   03:38:12
17      Video 2.                                                                 03:38:12
18                       THE WITNESS:       I'm not sure what he                 03:38:36
19      said.        I could interpret that as "He ain't                         03:38:37
20      moving," but I'm not sure, and I didn't hear it                          03:38:41
21      previously.                                                              03:38:41
22      BY MS. SPEARS:                                                           03:38:41
23               Q       I'll play it once again.           Sometimes            03:38:41
24      it's easier once you've heard it once.                                   03:38:41
25                       MS. MEEK:      Re-starting at 1:18 in                   03:38:54


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                            Transcript of Craige Roberts, Ph.D.
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1       Video 2.                                                                  03:38:55
2                          (Video 2 played.)                                      03:38:57
3                    THE WITNESS:      I'm sorry.      I can't tell               03:39:04
4       what he said.     He ain't something, but I can't                         03:39:06
5       tell what it was.                                                         03:39:07
6       BY MS. SPEARS:                                                            03:39:08
7              Q     Let's play video 2, Exhibit 2 from                           03:39:08
8       1:22 to 1:29.                                                             03:39:11
9                    THE WITNESS:      Starting video 2 at 1:22.                  03:39:16
10                         (Video 2 played.)                                      03:39:18
11                   MS. MEEK:     Just paused video 2 at 1:29.                   03:39:25
12      BY MS. SPEARS:                                                            03:39:31
13             Q     Do you hear in there someone say "he's                       03:39:31
14      an unmovable object"?                                                     03:39:33
15             A     No, I didn't.                                                03:39:35
16             Q     So we talked about you did hear someone                      03:39:39
17      say, "You can't move him."         You might have heard                   03:39:43
18      somebody say "He ain't moving."           My question is,                 03:39:46
19      are statements in the moment, that's what the                             03:39:48
20      students said, what they were perceiving was                              03:39:51
21      happening at the time, based on outward behaviors;                        03:39:54
22      is that fair to say?                                                      03:39:58
23             A     I don't know.      I'm not joking.           I'm not         03:40:03
24      trying to evade your question.          That is to say, it                03:40:05
25      would reflect what they thought was important                             03:40:07


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                             Transcript of Craige Roberts, Ph.D.
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1       there in the standoff, in the confrontation.               I              03:40:09
2       will say that.                                                            03:40:12
3              Q     So it may be evidence of what they                           03:40:14
4       thought was important, in terms of what they                              03:40:16
5       were --                                                                   03:40:18
6              A     The confrontation.                                           03:40:20
7                        -- (overspeaking) --                                     03:40:20
8              Q     Seeing in the moment --                                      03:40:20
9                           -- (overspeaking) --                                  03:40:21
10             A     What was in issue.         What was in issue.                03:40:21
11                          -- (overspeaking) --                                  03:40:23
12             Q     You have to wait until I'm done with my                      03:40:25
13      question.                                                                 03:40:27
14             A     All right.                                                   03:40:29
15             Q     Sorry, just for the court reporter.               So         03:40:29
16      statements like those from students in the moment                         03:40:30
17      may be evidence of what they were perceiving as                           03:40:33
18      important to what was happening at the time?                              03:40:36
19             A     Yes.                                                         03:40:38
20             Q     And it -- it could be, you talk about                        03:40:39
21      outward behaviors, it could be an indication of                           03:40:43
22      what they believed the outward behaviors they were                        03:40:45
23      seeing at the time were, right?                                           03:40:48
24             A     Yes.     I'm conceding in my report that                     03:40:50
25      Nick Sandmann was one student that did not move.                          03:41:03


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                             Transcript of Craige Roberts, Ph.D.
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1       That's not an issue with me.          It is whether he                   03:41:06
2       intentionally blocked Mr. Phillips' path or                              03:41:08
3       refused to allow him to retreat and that's all I'm                       03:41:13
4       talking about.                                                           03:41:16
5              Q      Can you pull up Exhibit 17.           I'm sorry.           03:41:19
6       You're right, Exhibit 8, video 8.                                        03:41:28
7                     Can you play it -- play it from 34 to                      03:42:08
8       37.                                                                      03:42:11
9                     MS. MEEK:     Starting video 8, Exhibit 8                  03:42:14
10      at 34 seconds.                                                           03:42:16
11                           (Video 8 played.)                                   03:42:17
12                    MS. MEEK:     Just paused video 8 at 37                    03:42:22
13      seconds.                                                                 03:42:24
14      BY MS. SPEARS:                                                           03:42:24
15             Q      Do you hear a student say, "Surrounded                     03:42:24
16      you" there?                                                              03:42:29
17             A      No.                                                        03:42:30
18             Q      I'll play it again.                                        03:42:30
19                    MS. MEEK:     Restarting video 8 at 34                     03:42:36
20      seconds.                                                                 03:42:38
21                           (Video 8 played.)                                   03:42:38
22      BY MS. SPEARS:                                                           03:42:42
23             Q      Did you hear it that time?                                 03:42:42
24             A      No.    I'm serious.     I can't tell what                  03:42:44
25      they're saying.       I hear people yelling.         I don't             03:42:45


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                            Transcript of Craige Roberts, Ph.D.
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1       know -- and somebody says something started "su.."                       03:42:48
2       but I don't know what else they said.                                    03:42:54
3              Q     That's fine.       Let's go back to your                    03:42:57
4       report here on page 14.         One second.                              03:42:59
5              A     I'd also like to make it evident that                       03:43:16
6       in the video clip that you just pointed out to me,                       03:43:17
7       the corridor that I'm interested in was already --                       03:43:18
8       was available to Mr. Phillips at that point and it                       03:43:20
9       went up considerably behind Mr. Sandmann.                                03:43:23
10                   So, as far as I could tell, there was                       03:43:25
11      no inter -- there was no blockage of Mr. Phillips'                       03:43:28
12      path at that point, and it was behind Sandmann so                        03:43:34
13      Phillips could have seen that.                                           03:43:39
14             Q     Again, that's your interpretation of                        03:43:41
15      the video that we just watched?                                          03:43:43
16             A     Of what Sandmann -- of what Phillips                        03:43:46
17      could have seen if he was looking at Sandmann's                          03:43:48
18      face at that time.      Okay.                                            03:43:51
19             Q     Okay, let's go to page 14 of your                           03:43:59
20      report.    Give me one second.       Page 14 of the                      03:44:02
21      report you provide your analysis of the second                           03:44:49
22      passage, correct?                                                        03:44:55
23             A     Yes.                                                        03:44:57
24             Q     And then you offered two paragraphs                         03:44:58
25      analyzing passage 2, correct?                                            03:45:00


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                             Transcript of Craige Roberts, Ph.D.
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1              A     Yes.                                                         03:45:02
2              Q     Okay, and looking at those two                               03:45:03
3       paragraphs, you did not analyze the dictionary                            03:45:05
4       definitions of any of the words contained in                              03:45:07
5       passage 2, right?                                                         03:45:09
6              A     No, I did not feel that was necessary.                       03:45:10
7              Q     Okay.     All right.     You simply reviewed                 03:45:12
8       the videos to determine whether the passage was                           03:45:15
9       true or not?                                                              03:45:18
10             A     Given the truth conditions of the                            03:45:19
11      passage and plain English, yes.                                           03:45:21
12             Q     Okay, and you state that in --                               03:45:24
13             A     I didn't think that any of the word                          03:45:26
14      meanings would be at issue.          That's why I didn't                  03:45:28
15      offer any definitions.                                                    03:45:31
16             Q     So you just went on to the second                            03:45:33
17      part of your --                                                           03:45:36
18             A     Well, I analyzed this in terms of --                         03:45:36
19      for example, we have an intransitive verb:                 He             03:45:38
20      slided to the left.       He slided to the right.               I         03:45:41
21      slided to the left.       He slided to the left.                          03:45:43
22      There's slide.       I know what that means.         You know             03:45:46
23      what that means.       I don't think I needed to give                     03:45:47
24      you a dictionary definition.                                              03:45:47
25             Q     All right.      So, you just didn't look up                  03:45:51


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                            Transcript of Craige Roberts, Ph.D.
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1       any of the words that are in there in the                                03:45:52
2       dictionary, as you had with the others?                                  03:45:53
3              A     Not necessary.                                              03:45:56
4              Q     And so let's discuss, just a few points                     03:45:57
5       here in your review.       You state: "I saw no                          03:46:00
6       evidence that Sandmann moved as Phillips passed by                       03:46:06
7       and then turned back to approach him."                                   03:46:08
8                    What do you mean by that first                              03:46:12
9       sentence?    Is that just what we've talked about                        03:46:13
10      before that --                                                           03:46:17
11             A     Yes, that Sandmann -- as Phillips                           03:46:18
12      passed by and turned and then approached him, I                          03:46:20
13      saw no evidence that Sandmann moved his feet                             03:46:22
14      at all to -- in order to slide to the left or to                         03:46:24
15      the right or go up or go down.          I saw no evidence                03:46:27
16      that he moved in that way.                                               03:46:31
17             Q     Okay, and that's based on your                              03:46:32
18      review --                                                                03:46:35
19             A     Review of all the videos --                                 03:46:36
20             Q     You've got to wait until I'm done with                      03:46:37
21      the question.                                                            03:46:39
22             A     Sorry.                                                      03:46:39
23             Q     That's based on your review of the                          03:46:40
24      videos 1 to 18?                                                          03:46:42
25             A     Correct.                                                    03:46:44


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                            Transcript of Craige Roberts, Ph.D.
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1              Q      And you say in relation to that, "So                       03:46:44
2       far as I could see, Sandmann stood in one place                          03:47:06
3       throughout the incident."                                                03:47:09
4                     You used the phrase "So as far as I                        03:47:12
5       could see."     Why do you use that phrase?                              03:47:14
6              A      All the evidence that I saw, as                            03:47:19
7       presented in all the videos, that's so as far as I                       03:47:20
8       could see.                                                               03:47:22
9              Q      Because it's based on your personal                        03:47:24
10      view, as far as you could tell?                                          03:47:26
11             A      No, no, no, no.      I mean, I don't deny                  03:47:27
12      that no one video had Nick Sandmann in the camera                        03:47:30
13      100 percent of the time throughout the entire                            03:47:35
14      incident.                                                                03:47:37
15                    Every single camera must have moved                        03:47:38
16      somewhat to the left, somewhat to the right during                       03:47:40
17      the incidents, except for the very short clips.                          03:47:44
18                    However, the composite of them shows                       03:47:47
19      him in one place throughout.         That's what I'm                     03:47:49
20      saying.                                                                  03:47:51
21             Q      So, when you say so far as you could                       03:47:55
22      see, it's based on your personal review of the                           03:47:56
23      videos, what you saw in the videos?                                      03:47:58
24             A      My review of the videos.         What I saw.               03:48:00
25             Q      Okay, would your answer be the same                        03:48:02


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                              Transcript of Craige Roberts, Ph.D.
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1       with respect to your use of the phrase "It seems                         03:48:13
2       to have been..." where we say --                                         03:48:15
3              A      Where is this, please?                                     03:48:17
4              Q      "It seems to have been."                                   03:48:18
5              A      Where?                                                     03:48:20
6              Q      In the same paragraph.                                     03:48:22
7                     MR. McMURTRY:       How many lines down?                   03:48:24
8                     THE WITNESS:       Well, there's -- it's                   03:48:25
9       a long paragraph, so I'm trying to get where                             03:48:26
10      you're looking at.                                                       03:48:27
11      BY MS. SPEARS:        Sure.   The last sentence, "It                     03:48:29
12      seems to have been..." You're saying "It seems..."                       03:48:31
13             A      No, I don't see it.         Sorry.     Stop.               03:48:34
14             Q      Oh, I'm sorry.       The second to the last                03:48:36
15      sentence.                                                                03:48:37
16             A      Okay.     Thank you.     "While Sandmann                   03:48:39
17      stayed in one place, it seems to have been                               03:48:41
18      Phillips who aligned himself with Sandmann..."                           03:48:41
19             Q      And why do you use the phrase "seems                       03:48:48
20      have been"?     Again, that's because it's based on                      03:48:50
21      your --                                                                  03:48:51
22                        -- (overspeaking) --                                   03:48:51
23             A      Well, no --                                                03:48:51
24             Q      -- personal review?                                        03:48:51
25             A      -- when I say "...it seems to have been                    03:48:53


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                                Transcript of Craige Roberts, Ph.D.
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1       Phillips who aligned himself." Again, I can't read                       03:48:55
2       Phillips' mind.          I don't know why he went the                    03:48:59
3       direction he went from the point of view of his                          03:49:01
4       intentions.       Aligned is agentive verb.            In fact,          03:49:01
5       his movement aligned its -- was in such a way as                         03:49:05
6       to align itself, so as to walk straight up to                            03:49:08
7       Sandmann, okay?                                                          03:49:11
8                Q      And --                                                   03:49:14
9                A      He moved in such a way as to align                       03:49:19
10      himself with Sandmann.                                                   03:49:21
11               Q      And again, that's based on your --                       03:49:24
12               A      No, that's what I saw in the videos.                     03:49:26
13               Q      Wait.     You've got to wait until I'm                   03:49:27
14      done my question.          That's based on your review of                03:49:29
15      the videos, correct?                                                     03:49:34
16               A      Based on what I saw in the videos.                       03:49:37
17               Q      All right.      Why don't we take a short                03:49:44
18      break.       Maybe like five, ten minutes and come                       03:49:47
19      back?                                                                    03:49:51
20                      MR. McMURTRY:       Thank you.                           03:49:52
21                      THE VIDEOGRAPHER:        Going off the                   03:49:53
22      record, the time is 3:50 p.m.                                            03:49:53
23           (Recess taken from 3:50 p.m. to 4:05 p.m.)                          03:49:56
24                      THE VIDEOGRAPHER:        Going back on the               04:05:51
25      record, the time is 4:05 p.m.                                            04:05:52


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                            Transcript of Craige Roberts, Ph.D.
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1       BY MS. SPEARS:                                                           04:05:55
2                Q   All right.     Can you pull your report                     04:05:58
3       out one last time, please, page 2 of the report                          04:06:08
4       itself.                                                                  04:06:16
5                A   Yes.                                                        04:06:16
6                Q   Where you indicate your compensation in                     04:06:18
7       the case is $300 per hour --                                             04:06:19
8                A   Yes.                                                        04:06:22
9                Q   -- of work.     How many hours of work                      04:06:23
10      have you completed?                                                      04:06:25
11               A   Oh gosh, I don't know.         I think I                    04:06:28
12      billed for 17 and I've worked for another six or                         04:06:31
13      something.    I'm not sure.      That doesn't count                      04:06:36
14      today.                                                                   04:06:37
15               Q   And we talked earlier about                                 04:06:38
16      Mr. McMurtry was the person who initially reached                        04:06:42
17      out to you for this engagement, correct?                                 04:06:45
18               A   Yes.                                                        04:06:46
19               Q   When did Mr. McMurtry first reach out                       04:06:48
20      to you.                                                                  04:06:50
21               A   It was in September, this last year,                        04:06:51
22      September '21.      I don't have the exact date here.                    04:06:53
23      I can get it for you if you need to know.                                04:06:56
24               Q   Was -- do you know if -- yeah, I'd like                     04:06:58
25      to know the exact date.                                                  04:06:59


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                            Transcript of Craige Roberts, Ph.D.
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1              A     Okay, well you keep asking.           I'll                  04:07:01
2       just --                                                                  04:07:02
3              Q     We'll just pause for a second.                              04:07:03
4              A     Well ... whatever.        The 21st of                       04:07:12
5       September.                                                               04:07:31
6              Q     The 21st?                                                   04:07:32
7              A     Mm-hmm.     That day I worked about four                    04:07:33
8       hours for them, just to do some very preliminary                         04:07:35
9       review of those passages in the videos and I                             04:07:38
10      worked for a total of four hours, and then I                             04:07:41
11      started working again the 27th of October they                           04:07:44
12      commissioned this report.                                                04:07:47
13             Q     Do you have an engagement letter in the                     04:07:53
14      matter?                                                                  04:07:56
15             A     I believe I do.                                             04:07:56
16             Q     You came in this morning with some                          04:07:59
17      notes which you have dated December 7th, 2021.            I              04:08:01
18      want to mark them for the record.                                        04:08:07
19             A     Yes, of course.                                             04:08:08
20             Q     So we're going to call this Exhibit B.                      04:08:09
21                   Her report was Exhibit A and this will                      04:08:21
22      be Exhibit B, which I think is just easier to                            04:08:22
23      distinguish, given the video exhibits.                                   04:08:26
24                   (Exhibit B was marked for
25      identification.)


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                            Transcript of Craige Roberts, Ph.D.
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1       BY MS. SPEARS:                                                           04:08:28
2              Q     Just for the record, would you agree                        04:08:28
3       with me this is a two pages --                                           04:08:29
4              A     Yes, the first part is two pages.                           04:08:32
5              Q     Yes, it's -- and it's titled at the top                     04:08:37
6       "Craig Roberts, Sandmann deposition notes,                               04:08:39
7       December 7, 2021," is that correct?                                      04:08:46
8              A     Correct.                                                    04:08:55
9              Q     I do not have any further questions.                        04:08:56
10      Does anyone else?                                                        04:08:59
11                   MR. McMURTRY:      Thank you.      Anybody                  04:09:00
12      online?                                                                  04:09:00
13                   MS. SPEARS:     Does anyone online have                     04:09:02
14      any questions?     Okay, thank you for your time.                        04:09:04
15                   MR. McMURTRY:      Thank you.                               04:09:14
16                   THE VIDEOGRAPHER:       This marks the end                  04:09:15
17      of Craig Roberts.       We are going off the record at                   04:09:16
18      4:09 p.m.                                                                04:09:19
19      (Whereupon at 4:09 p.m. the deposition concluded.)
20
21
22
23
24
25


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                            Transcript of Craige Roberts, Ph.D.
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1         CERTIFICATE OF SHORTHAND REPORTER-NOTARY PUBLIC:
2                    I, Lisa M. Barrett, the officer before
3       whom the foregoing deposition was taken, do hereby
4       certify that the foregoing transcript is a true
5       and correct record of the testimony given; that
6       said testimony was taken by me stenographically
7       and thereafter reduced to typewriting under my
8       direction; that reading and signing was not
9       requested; and that I am neither counsel for,
10      related to, nor employed by any of the parties to
11      this case and have no interest, financial or
12      otherwise, in its outcome.
13              IN WITNESS WHEREOF, I have hereunto
14         set my hand this 11th day of December, 2021
15
16              __________________________________
17              Lisa M. Barrett, RPR, CRR, CRC, CSR
18                My commission expires:        06/23/2023
19
20
21
22
23
24
25


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